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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

 In re                                                                 Chapter II

 TRONOX INCORPORATED, et al.,                                          Case No. 09-10156 (ALG)

                       Debtors.                                        Jointly Administered
TRONOX INCORPORATED, TRONOX WORLDWIDE
LLC f/k/a Kerr-McGee Chemical Worldwide LLC, and
TRONOX LLC f/k/a Kerr-McGee Chemical LLC,

                               Plaintiffs,
V.


ANADARKO PETROLEUM CORPORATION                                        Adv. Pro. No. 09-01198 (ALG)
and KERR-MCGEE CORPORATION, KERR-MCGEE OIL
& GAS CORPORATION, KERR-MCGEE WORLDWIDE
CORPORATION, KERR-MCGEE INVESTMENT
CORPORATION, KERR-MCGEE CREDIT LLC, KERR-
MCGEE SHARED SERVICES COMPANY LLC, and
KERR-MCGEE STORED POWER COMPANY LLC,

                   Defendants.
THE UNITED STATES OF AMERICA,

                               Plaintiff-Intervenor,
V.


TRONOX, INC., TRONOX WORLDWIDE LLC, TRONOX
LLC, KERR-MCGEE CORPORATION and ANADARKO
PETROLEUM CORPORATION,

                              Defendants.



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             DEFENDANTS' BRIEF ON CERTAIN OBJECTIONS TO
    DESIGNATIONS FROM THE VIDEOTAPED DEPOSITION OF ROGER ADDISON

 TO THE HONORABLE ALLAN L. GROPPER,
 UNITED STATES BANKRUPTCY JUDGE:

             Plaintiffs have indicated that they intend to play the video deposition of Roger Addison

 ("Addison") at trial. Addison served as Tronox, Inc.'s General Counsel from the time of the IPO

 in 2005 until November 2007. In November 2007, Addison voluntarily retired from the role of

 Tronox's General Counsel but remained with Tronox for a period of time as a consultant.

             Plaintiffs have designated approximately 375 pages of Addison's deposition testimony

 for submission to the Court. Of this testimony, Plaintiffs seek to play approximately two hours

 worth of video testimony live at trial. A considerable amount of the "testimony" Plaintiffs

 submitted to the Court (equating to many hours), as well as much of the testimony that they seek

 to play live in the courtroom, should be excluded because it is inadmissible speculation about

topics on which Addison himself admits he has zero personal knowledge. Instead of simply

relying on the testimony of the witnesses who do have personal knowledge on these topics,

Plaintiffs seek to create a misleading record by effectively having Tronox's attorneys testify

through their questions to Tronox's former General Counsel—who has no personal knowledge

about those documents or their contents—as to what they would like to argue is the meaning or

import of certain documents.

            As to certain issues where Addison can offer competent testimony—for example,

statements made by Plaintiffs former management team—Plaintiffs lodge hearsay objections.

The Federal Rules of Evidence, however, do not support Plaintiffs' objections and, in fact,

specifically permit Addison's testimony on these issues.

           Ruling on these objections prior to playing the video live in the Court will avoid the

cumbersome and wasteful process of stopping the deposition video each time an objection is



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    lodged, proceeding with arguments on those objections mid-trial, obtaining a ruling from the

    Court, and re-editing the video in the courtroom on-the-fly based on the Court's ruling. There is

    no need for such a wasteful process when such matters are more efficiently handled in advance

    of trial.

                                                   BACKGROUND

                Addison served as Tronox's General Counsel from just before the [PO in September

    2005 until November 2007, when he voluntarily retired. 2 After his retirement, Tronox engaged

    Addison to stay on with the company as a consultant for a period of approximately six months. 3

    In his role as a consultant, Addison reported to Tronox's current general counsel, Michael

    Foster. 4 From 1977 until Tronox's IPO, Addison was employed as an in-house counsel with

    Kerr-McGee. 5 While at Kerr-McGee, Addison devoted "most of [his] attention to [the]

    Chemical Business since 1988. 6 In fact, from 2001 until the 2005 IPO, Addison served as the

    division counsel for the Chemical Division. 7

                After Plaintiffs filed their complaint in this lawsuit, Plaintiffs' counsel interviewed

    Addison regarding the allegations they had made against Kerr-McGee and Anadarko. 8 Addison

told Tronox's counsel that, based on his years as Tronox's General Counsel and as a Kerr-

McGee in-house lawyer where he devoted most of his attention to the Chemical Division, the



'       R. Addison Dep., 16:13-19, July 13, 2010, attached as Ex. A .
2       Id. at 38:25-39:16.
3       Id. at 42:8-17.
a
        Id. at 42:18-20.
5       Id. at 15:3-6; 16:2-7.

6       Id. at 22:19-23:11.
7       Id. at 18:2-6; 29:15-30:5.
8       Id. at 49:14-21; 50:1-23.




                                                           N
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     allegations and claims asserted in the complaint were inconsistent with the truthful facts that he

     personally witnessed. 9 Counsel for Plaintiffs then warned Addison that "[y]ou're either with us

     or you're against us. " 10

              After issuing this warning, Tronox deposed Addison over a three-day period for

    approximately 500 pages of examination. Plaintiffs spent the bulk of his deposition questioning

    him on the contents of documents about which Addison testified he has no personal knowledge.

    As a result, a substantial amount of Addison's testimony being proffered by Plaintiffs is pure

    speculation on topics about which Addison is not competent to testify.

             In particular, Plaintiffs elicited testimony from Addison about three different sets of

    documents of which he admittedly has no personal knowledge and had never even seen before

    his deposition. These documents are categorized and referred to in this motion as (1) the

    Lehman Documents; (2) the Simpson Thacher Documents; and (3) the B.J. Montgomery

    Document. Further, Plaintiffs repeatedly questioned Addison about the specifics and details of

 an internal reorganization undertaken by Kerr-McGee in 2002 after Kerr-McGee's acquisition of

a company named HS Resources, even though Addison testified that he had "very, very little

involvement" with Project Focus and did not spend much time on it."

             The egregiousness of Plaintiffs' effort to use Addison to testify about these documents

becomes apparent when the Court considers that Plaintiffs deposed the individuals who actually

drafted, prepared, and/or have personal knowledge about the documents. For instance, Plaintiffs

deposed Chris Watson, formerly of Lehman Brothers, about the Lehman Documents over a

period of three days. Likewise, Plaintiff deposed Peter Gordon from Simpson Thacher about the

9       Id. at 50:1-19.

10      Id. at 51:3-24.

11      Id. at 285:14-23.




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     Simpson Thacher Documents. And Plaintiffs deposed B.J. Montgomery regarding his document.

     Thus, Plaintiffs have the testimony of the individuals with actual personal knowledge about all of

     the subject categories and topics. Therefore, there is no evidentiary value in the testimony from

 Tronox's own former General Counsel on topics and documents about which he admitted he has

 no personal knowledge. 12

             Plaintiffs' also make various meritless objections to the testimony of Addison designated

 by Defendants, one of which warrants mention here. Specifically, Plaintiffs object to Addison's

 testimony about what two officers or executives of one of the Tronox Plaintiff entities told him

 about the rationale for acquiring certain chemical businesses. Plaintiffs' hearsay objections to

 that testimony should be overruled because the statements were made by officers or management

 of Plaintiffs while acting within the scope of their broad authority. As a result, under Federal

 Rule of Evidence 801(d)(2)(D) their statements to Addison, who was a primary in-house lawyer

 that worked on these acquisitions with Plaintiffs' management, are "opposing party statements,"

not hearsay.

I.          ADDISON'S TESTIMONY ABOUT THE LEHMAN, SIMPSON THACHER, AND
            B. J. MONTGOMERY DOCUMENTS, AND THE DETAILS OF PROJECT
            FOCUS, IS INADMISSIBLE BECAUSE HE LACKS THE PERSONAL
            KNOWLEDGE ABOUT THOSE TOPICS THAT FEDERAL RULE OF
            EVIDENCE 602 REQUIRES. 13

            Under Federal Rule of Evidence 602, a witness may testify to a matter only if evidence is

introduced sufficient to support a finding that the witness has personal knowledge of the

matter. 14 Thus, where a witness lacks personal knowledge, he is not competent to testify to the


12
        A complete list of Defendants' objections to Plaintiffs' proffered deposition testimony of Addison has been
        filed with the Court separately.
13      Defendants also object to much of this same testimony on the basis of lack of foundation and speculation.
14
        FED. R. EvID. 602; D.M. Rothman & Co., Inc. v. Korea Commercial Bank of New York, 411 F.3d 90, 97 (2d
        Cir. 2005) ("[U]nder the Federal Rules of Evidence witnesses may testify only as to matters within their




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 matter. 15 Similarly, when the witness lacks personal knowledge about a document, he is not

 competent to testify about the document. 16 Such is the case with the Lehman Documents, the

 Simpson Thacher Documents, and the B.J. Montgomery Document because Addison specifically

 and expressly testified he has no personal knowledge about those documents and had never even

 seen them before his deposition.

 A.        The Lehman Documents: Addison Exhibits 14, 15, and 16

           Addison Exhibits 14, 15, and 16 are Lehman Brothers pitch books relating to a Project

 Titan, dated September 2000, January 2001, and April 2001, respectively. 17 Plaintiffs designated

 considerable testimony from Addison regarding these documents and their substance (i.e.,

 Project Titan). Addison, however, unequivocally testified that he never saw those exhibits until

 his deposition, and that he has no personal knowledge whatsoever regarding them or their

contents:

                    Q:       You recognize these to be what Tronox's counsel
                             represented to you to be Lehman Brother documents from —
                             Addison 14, September 7, 2000; Addison 15, January 1st,
                             2001; and Addison 16, April 16, 2001; correct?

                    A:       Yes. 18




      personal knowledge."); Brown v. Keane, 355 F.3d 82, 90 (2d Cir. 2004) (citing FRE 602 and stating, "[ilt is
      one of the most basic requirements of the law of evidence that a witness's report may be admitted only where
      grounds exist for `a finding that the witness has personal knowledge of the matter.
                                                                                      ").



I5
      FED. R. EVID. 602; D.M. Rothman, 41.1 F.3d at 97; Brown, 355 F.3d at 90.
16    FED. R. EvID. 602; D.M. Rothman, 411 F.3d at 97; Brown, 355 F.3d at 90; Kern v. Levolor Lorentzen, Inc., 899
      F.2d 772, 780-81 (9th Cir. 1990) (former employer's personnel manager was not competent to testify. in
      wrongful termination action about letter that was written to former employee before manager worked for
      company); Belber v. Lipson, 905 F.2d 549, 552 (1st Cir. 1990) (physician who has no personal knowledge of
      records allegedly prepared by original treating physician was not competent to testify that records were
      business records).
17    See Addison Exs. 14, 15, and 16, filed separately with the Court.

18    R. Addison Dep., 790:20-25, July 15, 2010, attached as Ex. C.




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                     Q:       We can sort of short circuit this. You have no personal
                              knowledge about anything regarding exhibits —

                     A: I never saw them before today.

                     Q:       —Addison 14, 15, and 16; correct?

                     A:      Was it Tuesday? I have never seen them before, that I
                             know, that I recalL

                     Q: As a result of the—so you had no—you have no personal
                           knowledge regarding Adams JsicJ 14, 15, or 16 in any way
                           whatsoever other than that you saw them for the first time
                          on Tuesday of this week; correct?

                    A:        That's what I'm testifying, yes. 19

            Despite Addison's complete lack of knowledge of the Lehman Documents (Addison

 Exhibits 14-16), Plaintiffs questioned him extensively (for over 30 pages) about them and the

 substance of their contents in an attempt to establish, based on the mere reading of selectively

 excerpted portions of the Lehman Documents, that Lehman Brothers provided certain advice,

 representations, or statements related to Kerr-McGee:

                    Q.       Lehman Brothers was also telling Kerr-McGee in January of
                             2001 that a, quote/unquote, pure play E&P should trade at a
                             higher multiple than Kerr-McGee today.

                             Do you see that?
                                        0
                    A.       Yes.-
                                    ~




                                                  *       *

                    Q.      If you look at the third bullet, in January of 2001 Lehman
                            Brothers was telling Kerr-McGee that the legacy liabilities
                            with chemicals and discontinued operations was a structural



19    Id. at 792:15-793:3 (emphasis added) (objections omitted).
20    R. Addison Dep., 244:8-13, July 13, 2010, attached as Ex. A .




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                             consideration that Kerr-McGee needed to think about;
                             correct?

                    A.       Well, in PowerPoint speak I think that's what the bullet
                             [p]oint suggests, yes.''



                    Q.      If you look at slide I-I1, executive summary range of
                            strategic alternatives. It ends with Bates number 893 —

                    A.      Yes.

                    Q.      -- you'll notice that Lehman Brothers was telling Kerr-
                            McGee that after looking at a number of strategic
                            alternatives, they narrowed the list down to three options;
                            right?

                   A.       That is what it says. 22

           Addison's testimony about what presentations, advice, or representations Lehman did or

 did not give to Kerr-McGee should be excluded because Addison has no personal knowledge of
                                                                                                             23
 anything about Exhibits 14, 15, and 16 or their substance, rendering his testimony inadmissible.

 In fact, Addison admitted that his "testimony" relating to these documents consisted of nothing

 more than Plaintiffs' counsel reading words on the documents and asking Addison if those were

 the words written:

                   Q:       So any time Tronox's counsel asked you in any of his
                            questions based on these documents that Lehman Brothers
                            was recommending or pointing out or highlighting or
                            concluding certain things, you were merely reading what he
                            was pointing you to in these documents; correct?




21
     Id. at 245:20-246:2.
2z
     Id. at 258:19-259:2.
23
     FED. R. EVID. 602; D.M. Rothman, 41 1 F.3d at 97; Brown, 355 F.3d at 90; Kern, 899 F.2d at 780-81; Belber,
     905 F.2d at 552. In addition to the fact that Addison had no personal knowledge on the topics, much of the
     testimony Plaintiffs seek to admit also is inadmissible because it is speculation and lacks foundation.




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                     A:       Yeah. Essentially, yes. He was pointing out certain
                              sections and reading them and asking me if that's what I
                              saw or what it said and I would agree what it was. 2        24




            There is no basis to allow Tronox's former General Counsel, who has no personal

 knowledge about the Lehman Documents, to speculate about them, especially when the

 individuals who do have personal knowledge about the documents have been deposed 25

 Specifically, Plaintiffs have deposed Chris Watson, formerly of Lehman Brothers, as well as

 Kerr-McGree former executives, who have personal knowledge regarding the Lehman

 Documents and their contents. Plaintiffs even have designated for submission to the Court

 testimony from these depositions. As a result, precluding Addison from speculating about the

 Lehman Documents will not prevent testimony on them; it will merely ensure that testimony

 about the documents comes from the people with personal knowledge about them.


 B.        The Simpson Thacher Documents: Addison Exhibits 13, 18, and 22

           Addison Exhibits 13, 18, and 22 are draft memoranda from the Simpson Thacher &

 Bartlett LLP law firm. 26 Plaintiffs designated considerable testimony from Addison regarding

these documents and their substance. Again, Addison testified that he never saw Exhibits 13, 18,

or 22 until his deposition, and that he has no personal knowledge whatsoever about them:

                    Q:      I just want to be sure. Your testimony—when I referred to
                            "your testimony," your testimony in this deposition
                            regarding these documents was not based on your
                            personal knowledge but it was instead based on you reading
                            the selected excerpts of the Exhibits Addison 13, 22 and 18
                            that Tronox's counsel pointed out to you?



24    R. Addison Dep., 793:4-16, July 15, 2010 (objections omitted), attached as Ex. C.
25
      FED. R. EvID. 602; D.M. Rothman, 411 F.3d at 97; Brown, 355 F.3d at 90; Kern, 899 F.2d at 780-81; Belber,
      905 F.2d at 552.
26
      See Addison Exs. 13, 18, and 22, filed separately with the Court.




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                     A:       Yes, I testified and I still believe I had never seen these
                              documents before. 27

            Despite his complete lack of knowledge of Addison Exhibits 13, 18, and 22, during his

  deposition Plaintiffs questioned Addison about them extensively, mostly by characterizing or

  mischaracterizing what was on the page and having Addison agree with what was written on the

  pages of the document. For instance, Plaintiffs asked Addison to compare Exhibit 13 to a

  different exhibit—Exhibit 11—and draw conclusions based on Exhibit 13. Specifically,

 Plaintiffs asked Addison to compare a task discussed in Exhibit 13 (which he had never before

 seen) with a task discussed in Exhibit 11 and conclude—with no prior knowledge of

 Exhibit 13—that an action item listed in Exhibit 11 was actually derived from Exhibit 13:

                    Q:       (BY MR. KASSOF): And if you go to -- under 1-B-2 on
                             [Exhibit 13] that you didn't get in 2001, the movement of
                             allocation of assets or liabilities, you see that the entry says
                             "Verify that no assets or liabilities currently held by Spinco
                             need to be moved to Kerr-McGee and vice versa." Do you
                             see that?

                    MR. BILLECK: Object to the form.

                    A:       This is what it says, yes.28
                                                 *          *      *

                    Q:       And no one told you, at the time that you got this, that this
                             task that was identified in Project Focus in 2002 actually
                             was first derived to be a task under a proposed spinoff of
                             Project Titan, the Chemical operations; correct?

                    MR. BILLECK: Objection, form.

                    A:       I certainly never heard of it. No one explained that to me. 29



'-7   R. Addison Dep., 797:1-13, July I5, 2010 (emphasis added) (objections omitted), attached as
28    R. Addison Dep., 228:8-16, July 13, 2010 (emphasis added), attached as Ex. A.
29
      Id. at 228:24-229:6.




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            Similarly, with regard to Addison Exhibit l8, Plaintiffs attempted to use Addison's

 reading of words on a never-before-seen document as affirmative testimony about that

 document's meaning:

                    Q:       And then the next bullet [on Exhibit 18] says -- has a
                             reference to how to effectuate a straight spinoff of Titan, the
                             Chemical business, and how to effectuate that; right?

                    MR. BILLECK: Objection, form.

                    A:       That's what it seems to show, yes. 30

           But Addison's testimony about the Simpson Thacher Documents and what, if anything,

 they mean or are referring to should not be allowed because he has no personal knowledge of the

documents or their contents. As Addison admitted, he was merely reading specific words on the

page of a document he has no personal knowledge about and that he had never seen before his

deposition:

                    Q:       With respect to these Exhibits 13, 22 and 18, you had no
                             personal knowledge regarding these documents or their
                             contents prior to your testimony in this lawsuit this week;
                             correct?

                    A:       That is correct.

                    Q:      And your testimony in this lawsuit was based not on
                            personal knowledge but instead on reading the excerpted
                            portions of the documents that Tronox's counsel pointed
                            you to; correct?

                    A:       I think, yes. 3

          Again, there is no basis to allow Tronox's former General Counsel, who has no personal

knowledge about these documents, to speculate regarding them when the individuals with




?0    Id. at 287:2-8.
"     R. Addison Dep., 796:12-25, July 15, 2010 (emphasis added) (objection omitted), attached as Ex. C.




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 personal knowledge also have been deposed. 32 Specifically, Plaintiffs deposed Peter Gordon

 from Simpson Thacher, as well as Kerr-McGee former executives, who have personal

 knowledge regarding the Simpson Thacher Documents and their contents. Plaintiffs even have

 designated for submission to the Court testimony from those depositions. As a result, preventing

 Addison from speculating about the Simpson Thacher Documents will not prevent testimony

 about them; it will merely ensure that testimony about the Simpson Thacher Documents comes

 from people with personal knowledge of them and who are competent to testify on the topic.

 C.        The B. J. Montgomery Document: Addison Exhibit 30

          Addison Exhibit 30 is an unsigned memo or letter from B.J. Montgomery to Peter Nickels

 titled "Re: Summary of Kerr McGee Claims. "33 Again, Addison testified that he never saw

 Exhibit 30 until his deposition, and that he has no personal knowledge of it:

                    Q:       Okay. Let's look at Exhibit 30.

                             Do you have it?

                    A:       Yes, I do.

                    Q:       Do you recognize this to be an unsigned -- it appears to be a
                             letter of some sort by B. J. Montgomery.

                    A:       This appears to be an e-mail or something from -- to Peter
                             Nichols from B. J. Montgomery.

                    Q:      And prior to your deposition in this lawsuit this week, you
                            had never seen Addison Exhibit 30; correct?

                    A:      Even though I was heavily involved in the arbitration claim,
                            [to] which [it] relates, I don't recall ever having seen this
                            before this deposition.



32
      FED. R. EvID. 602; D.M. Rothman, 411 F.3d at 97; Brown, 355 F.3d at 90; Kern, 899 F.2d at 780-8I; Belber,
      905 F.2d at 552.
33
      See Addison Exhibit 30, filed separately with the Court.




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                        Q:     And you have no personal knowledge of whether
                               B. J. Montgomery actually drafted this document or not?

                        A:     No, I don't know that he did or not.

                        Q:     You have no personal knowledge as to whether or not these
                               were the opinions or conclusions or beliefs held by
                               B. J. Montgomery; correct?

                        A:     I don't think he ever confirmed to it personally and I don't
                               recall ever speaking with him about this. 34



                        Q:     So you do not have any personal knowledge as to whether
                               B. J. Montgomery holds the opinions or conclusions
                               contained in Addison Exhibit 30; correct?

                    A:        I'm going to say yes. 35

            Despite his complete lack of knowledge of Addison Exhibit 30, during his deposition

 Plaintiffs extensively questioned Addison about it. For example:

                    Q:        And he said: "I met with Rob Roberts, Bob Scanlon and
                              Graham Harcourt to get a feel for how the place was being
                              operated. I specifically asked about any problems with
                              OSHA. Roberts and Scanlon told me that OSHA pretty
                              much left them alone. There were two Hispanics named
                              Santiago and Sanchez as OSHA reps in the area. I spent a
                              lot of time walking around the chloride plant that week and
                              noted that either Kemira was lying or Santiago and Sanchez
                              must be blind."

                              Do you see that?

                    MR. BILLECK: Objection to form.

                    THE WITNESS: Yes. I see that language.

                   Q:         And this is the -- Mr. Montgomery indicating to Mr. Nickles
                              what he noticed before closing; true?

                   MR. BILLECK: Objection to form.
34
      R. Addison Dep., 798:14-799:16, July 15, 2010 (emphasis added), attached as Ex. C .
35
      Id. at 800:4-8.




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                     A:       Yes. It certainly appears to say that. 36
                                                  *

                     Q:       Another point that Mr. Montgomery noted to Mr. Nickles
                              that Kerr-McGee identified prior to closing; correct?

                     MR. BILLECK: Objection to form.

                     A:       That's what this says. Yes. 37

            Such testimony amounts to nothing more than a witness reading from a document of

 which he has no personal knowledge. As a result, Addison's testimony about the

 B.J. Montgomery Document should not be allowed because he has no personal knowledge of the

 document, and his testimony regarding what point Mr. Montgomery noted, or did not note, to

 Mr. Nickles is pure speculation. 38

            Further, Plaintiffs have deposed both Mr. Nickles and Mr. Montgomery in this lawsuit

 the alleged sender and recipient of the document. Indeed, Plaintiffs have designated testimony

 for submission in this trial from the depositions of both Mr. Nickles and Mr. Montgomery.

 There is no basis to allow Tronox's former General Counsel, who has no personal knowledge on

 the B.J. Montgomery Document, to speculate about it when the individuals who do have

personal knowledge also have been deposed. 39 Preventing Addison from speculating on the

B.J. Montgomery Document will not prevent testimony on the document; it will merely ensure

that the testimony comes from people with personal knowledge who are competent to testify on

the topic


36
      R. Addison Dep., 357:5-22, July 14, 2010 (emphasis added), attached as Ex. B.
37    Id. at 359:12-16.
38    FED. R. EVID. 602; D.M. Rothman, 411 F.3d at 97; Brown, 355 F.3d at 90; Kern, 899 F.2d at 780-81; Belber,
      905 F.2d at 552.
39
      FED. R. EVID. 602; D.M. Rothman, 411 F.3d at 97; Brown, 355 F.3d at 90; Kern, 899 F.2d at 780-81; Belber,
      905 F.2d at 552.




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     D.        The Specific Details Regarding Project Focus

               Plaintiffs spent considerable time questioning Addison about specific aspects of the 2002

     internal reorganization at Kerr-McGee that was referred to as Project Focus. Specifically,

     Plaintiffs repeatedly asked Addison about the specifics of Project Focus, to which Addison

     would oblige Plaintiffs' counsel by generally saying he had no reason to disagree with the

 "questions" from Plaintiffs' counsel:

                        Q.       Right. And it's all consistent with the work that was
                                 undertaken at Kerr-McGee in 2002 under Project Focus;
                                 right?

                       A.        I have no reason to disagree. 40



                       Q.        Okay. That's also consistent with the work that Kerr-
                                 McGee did in — under Project Focus; right?

                       A.        You know, I really don't know. It makes sense, though. 4 ~

               But as Addison testified, he had very little involvement in Project Focus and did not

 really spend any time on it:

                       Q.       And we're in — just again to orient ourselves on the time
                                line, we're in July 2002, which is smack dab in the middle
                                of Project Focus, right, which lasted from January 2002
                                through — well, at least the closing — I'll put that in quotes —
                                was December 31, 2002, right?

                       A.       I think so.

                       Q.       And this is —

                       A.        You keep asking me about Project Focus. My recollection
                                is, I had — even though I got these memos, I had very, very
                                little involvement. It was primarily Dwayne Morris.


i°        R. Addison Dep., 217:8-I 1, July 13, 2010, attached as Ex. A.
41        Id. at 217:20-23.




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                             This was the time I was moving from business transactions
                             to the Chemical Division assistant general counsel and was
                             tasked with trying to sell some assets there. I'd get copied
                             in on this stuff but did not spend much time or investment
                             or intellectual curiosity at all in it. 42

            Addison cannot be used by Plaintiffs' counsel as a mouth piece to agree with their

 questions when he admits he lacks personal knowledge upon which to basis his answers. Again,

 Plaintiffs have deposed individuals who actually were involved with and knowledgeable about

 Project Focus, including Peter Gordon from Simpson Thatcher. As a result, Defendants'

 objections to the testimony Plaintiffs' designated from Addison regarding the specific details of

 Project Focus should be sustained and the testimony excluded.

 H. PLAINTIFFS' OBJECTIONS TO ADDISON'S TESTIMONY ABOUT WHAT
      PETE WOODWARD AND JOE FLAKE TOLD HIM SHOULD BE OVERRULED
      BECAUSE THEY ARE STATEMENTS OF AN OPPOSING PARTY.

          Claiming hearsay, Plaintiffs object to Addison's testimony about what two executives or

 management of Plaintiffs - Pete Woodward and Joe Flake - told him about the rationale for

 making certain acquisitions. For example, Plaintiffs object to the following testimony as

hearsay:

                    Q.        Did Pete Woodward explain to you why he was a
                              proponent of the Kemira acquisition?

                    A.        Yeah. He and Joe Flake were both proponents. I'm not
                             sure I can keep them separate. It's almost like they were
                             jointly for it, very much so.

                   Q.         Why did you understand Mr. Woodward and Mr. Flake to
                              be big proponents jointly in favor of completing the
                              Kemira acquisition?

                   A.        They were very high on the potential of its titanium
                             dioxide, Ti02 business, and this would increase their
                             market share and give them economies of scale. I think
42
      Id. at 285:6-23. (emphasis added).




                                                     15
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                               they thought it would be very, very good for Kerr-McGee
                               Chemical.

                               I think they would become second or third largest and able
                               to better compete with DUPONT, who was the largest. 43

     Plaintiffs broadly objected as hearsay to this testimony of Plaintiffs' former General Counsel

     explaining what Plaintiffs' former management and executives said as to why they so strongly

 wanted to acquire Kemira. But an opposing party's statement is never hearsay. 44

             Under Federal Rule of Evidence 801(d)(2)(D), a statement is an "opposing party's

 statement," and not hearsay, if it is offered against an opposing party and was made by the

 party's agent or employee on a matter within the scope of that relationship and while it existed. 45

 Woodward's and Flake's statements to Addison fall well within the scope of Rule 801(d)(2)(D).

 First, both Woodward and Flake were part of Plaintiffs' management team. Specifically, from

 1997 through September 17, 2004, Woodward was President of Plaintiff Kerr-McGee Chemical

 LLC (k/n/a Tronox LLC) and Kerr-McGee Chemical Worldwide LLC (n/k/a Tronox WorldWide

 LLC)46 And Flake was head of Kerr-McGee's Chemical business development. 47 Thus, the

 statements Woodward and Flake made to Addison were made by agents of Plaintiffs in the

 course and scope of their duties as Plaintiffs' management in acquiring the Kemira chemical

plants. As a result, these are statements of an opposing party and, therefore, not hearsay. 48



13      Id. at. 96:15-97:6; see also id. at 94:24-95:9 ("My understanding--this is from discussions with Pete Woodward
        and Joe. Flake..").
44
        FED. R. EVID. 801(d)(2).
45
        FED. R. EVID. 801(d)(2)(D).
46
        R. Addison Dep. Ex. 2, Witness Statement of W.P. "Pete" Woodward, attached as Ex. D; see also R. Addison
        Dep. 82:4-1 I, July 13, 2010, attached as Ex. A (testifying that Woodward's title was vice president of Kerr-
        McGee for chemical operations).
47
        R. Addison Dep. 89:15-17, July 13, 2010, attached as Ex. A.
48
        FED. R. EVID. 801(d)(2)(D). Plaintiffs' also object to testimony where Addison detailed statements made by
        Tom Adams. Adams was Tronox Inc.'s President and made the statements in the course and scope of his




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                                               CONCLUSION

             Federal Rule of Evidence 602 provides that a witness may testify to a matter only if

 evidence is introduced sufficient to support a finding that the witness has personal knowledge of

 the matter. Here, Addison admitted in deposition that he has absolutely no personal knowledge

 of the Lehman, Simpson Thacher, or B.J. Montgomery Documents and very, very little

 knowledge about Project Focus. Therefore, his testimony based on those topics and documents

 should be excluded.

             Finally, both Woodward and Flake were part of Plaintiffs' management team when they

 made the statements about which Addison testified. Their statements were well within the scope

 of the broad authority of Woodward and Flake so, under Federal Rule of Evidence 801(d)(2),

 they are not hearsay. Plaintiffs' hearsay objections to Addison's testimony about what he was

 told or learned from Woodward and Flake should be overruled.

             For these reasons, Defendants respectfully request that the Court (1) sustain Defendants'

 objections to the testimony of Addison submitted by Plaintiffs; (ii) overrule the objections

 Plaintiffs lodged to the testimony from Addison submitted by Defendants; (iii) and award

 Defendants any and all other relief that the Court deems just and appropriate.




      duties as Tronox Inc.'s President, wherein he explained certain aspects of the negotiation of the Master
      Separation Agreement. R. Addison Dep. 683-684, July 15, 2010, attached as Ex. C .




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  Houston, Texas
  Dated: May 16, 2012

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                                  CERTIFICATE OF SERVICE
       I hereby certify that the foregoing Defendants' Brief on Certain Objections to
Designations from the Videotaped Deposition of Roger Addison was served on the following
counsel of record on May 16, 2012, as indicated below:

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Houston, Texas                                   /s/Jason Billeck
Dated: May 16, 2012                             Jason Billeck
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                                                                         Page 1
      1 UNITED STATES BANKRUPTCY COURT
          SOUTHERN DISTRICT OF NEW YORK
     2
         IN RE:
     3- IR NOX INC4RPOR EO, z--3 1., )-€Yap e
            Debtors.                  )No. 09-10156
     4                                )Jointly Administered

  5 TRONOX INCORPORATED, TRONOX
      WORLDWIDE LLC, f/k/a
  6 KERR-McGEE CHEMICAL WORLDWIDE)Adversary Proceeding
      LLC and TRONOX LLC, f/k/a   )No. 09-01198'(ALG)
  7 KERR-McGEE CHEMICAL LLC,'
         Plaintiffs,
  8          vs.                  )
      ANADARKO PETROLEUM
  9 CORPORATION and KERR-McGEE
      CORPORATION,
 10      Defendants.
                                          }



 11 THE UNITED STATES OF AMERICA,)
         Plaintiff-Intervenor,
 12          vs.
      TRONOX INC., TRONOX WORLDWIDE)
 13 LLC, TRONOX LLC, KERR-McGEE
      CORPORATION and ANADARKO
 14 PETROLEUM CORPORATION,
         Defendants.
 15                                 )
 16
 17
 18                              CONFIDENTIAL
 19                                VOLUME I
 20              VIDEOTAPED DEPOSITION OF ROGER ADDISON
 21                            JULY 13, 2010
22                     IN OKLAHOMA CITY, OKLAHOMA
23
24
25       REPORTED BY: SHERRI GRUBBS, CSR, RPR, RMR, RDR, CRR


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     1                                                                 1            APPEARANCES
                                                                       2
     2                                                                 3   WEILGOTSIIAL&MANGES,LLP
     3                                                                     Attomeys for Anadarko Parolaun Corporation and
                                                                       4   Kerr-McGee Corporation
     4                                                                        700 Louisiarq, Suite 1600
                                                                       5      Houatmt, Tines 77002
     5                                                                 6   BY. JASON W. BILLECIc ESQ.
     6                                                                WEti. GOTSHAL,k MANGES. LLP
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                                                                      Kcrr-McGee Corporation
     9                     JULY 13, 2010                            9    767 F1Ah Avamc
                                                                         New Yak. New York 10133.0119
     9                      9:18 a.m.                              10
10                                                                    BY: JESSIE B. MISHKIN, ESQ.
                                                                   12
11                Confidential videotaped
                                      1)e discovery
                                                cry                12                 ELLIS. LLP
12          deposition of ROGER ADDISON, held at the Hilton           Attorneys r« Tronco
                                                                   13    300 North LaSalte
13          Skirvin Hotel, Oklahoma City, Oklahoma, pursuant to          Clueago, IOinois 60654
                                                                   14
14          subpoena
               PO     before Sherri Grubbs, CSR, RPR, RMR, RDR,            BY: ANDREW A KASSOP, ESQ
15          CRR.                                                   15        DAVID H. DeCELLES, ESQ.
                                                                             JEFFREY FREEMAN, ESQ. {via telephone)
16                                                                 16
                                                                   17      KASOWITZ BENSON TORRES & PRIEDMANLP            ,L
17                                                                         Ataomeys for the Umecracd Creditors Comnrittae
18                                                                 18         1633 Broadway
                                                                              New Yrak. Now York 10019
19                                                                 19
2                                                                          BY: ROSS G. SHANK. ESQ.
                                                                   20
21                                                                 21      PILLSBURY WINTHROP SHAW PITTMAN, LLP
                                                                                  t for Official Commerce of Equ ty Secrecy
22                                                                 22       old
23                                                                           1540 Broadway
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24                                                                 24      BY: DAVID A CRJCHLOW. ESQ. (ve tckphcne)
                                                                             BRANDON JOHNSON, ESQ (via telephone)
25                                                                 25        KAREN Dl        ES        viatel

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           U.S. DEPARTMENT OF JUSTICE                              3       ROGER ADDISON
 4         Attorneys for the United States                         4       EXAMINATION BY MR_ BILLECK ..............
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 5            601 D Street, N.W.
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           Attorneys for the witness
              100 North Broadway                                  11       ADDISON EXHIBIT NO. 6 marked ........... .............178
10            Suite 1700                                          12       ADDISON EXHIBIT NO.7 marked ..........__..........186
              Oklahoma City, Oklahoma 73102
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12         KEVIN R. DONELSON, ESQ.                                15       ADDISON EXHIBIT NO. 10 marked .......................205
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15          Jennifer Edwards, Anadarko                            17       ADDISON EXHIB IT NO. 12 marked ...... .................211
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     I                   CONTENTS                                                            1           VIDEOGRAPHER: This is the start of tape                    09:18
     2                                                                                       2    labeled number! of the videotaped deposition of                   09:18
     3     ADDISON EXHIBIT NO. 21 marked .......................293                          3    Roger Addison in the matter ofTronox, Incorporated,                  09:18
     4     ADDISON EXHIBIT NO.22 marked ....._ ................295                           4    et al., versus Anadarko — Anadarko Petroleum                      09:18
     5     WITNESS SIGNATURE PAGE ..............................305                          5    Corporation in the United States Bankruptcy Court of                 09:18
     6     REPORTER CERTIFICATE PAGE ...........................307                          6    the Southern District of New York, Chapter I I; Case                 09:19
                                                               --                                emu 091Ut56.
     8                                                                                       8          This deposition is being hold at the         09:19
     9                                                                                    9       Skirvin Hotel in Oklahoma City, Oklahoma. Today is                    09:!
 10                                                                                      10       July the 13th, 2010. The time is taw 9:18 a.m.                 09:19
11                                                                                       11              My name is Robert Resets from TSG Reporting,                  09:19
12                                                                                       12       Incorporated, and I'm the legal video specialist.             09:19
13                                                                                       13       The court reporter is Sherri Grubbs, in association            09:19
14                                                                                       14       with TSG Reporting, as well.                           09:19
15                                                                                       15             At this time, Counsel will identify                 09:19
16                                                                                       16       themselves forthe record. Following, the court                 09:19
17                                                                                       17       reporter will swear in the witness.                       09:19
18                                                                                      18             MR. WAILERS: Jay Walters and Kevin                          09:I9
19                                                                                      19        Donelson for the witness, Roger Addison.                      09:19
20                                                                                      20              MR BILL ECK: Jason Billeck and Jessie                    09:19
21                                                                                      21        Mishkin from Weil, Golshal & Manges on behalf of                   09:1
22                                                                                      22        Kerr-McGee and Anadarko.                                  09:19
23                                                                                      23             MS. EDWARDS: Jennifer Edwards with                           09:19
24                                                                                      24        Anadarko and Kerr-McGee Corporation.                           09:19
25                                                                                      25              MS. KANE. Katherine Kane, U.S. Department                   09:19

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 1        oflustice, Environmental Enforcement, on behalf of              09:19          1              We do understand that Mr. Addison saved in                  09:20
 2        the United States.                           09:19                             2       a legal capacity with both the debtor in possession                09:21
 3               MR. SHANK: Ross Shank, Kasowitz, Benson,                      09:19     3       and the Defendant; and as such, we are going to rely                09:21
 4        Torres & Friedman, Committee of Unsecured Creditors.                   09:!    4       on you parties who hold the privilege to assert the             09:21
 5              MR. DeCELLES: Arvid DeCelles, Kirkland &                       09:20     5       privilege when it becomes — when or if it becomes                09:21
 6       ElisonbehalfofTronox.                        09:20                              6       necessary.                                     09:21
 7              MR. KASSOF: Andrew Kassof from Kirkland &                       09:2     7             Mr. Addison intends to answer all of the                09:21
 8       Ellis on behalf ofTronox.                    09:20                              8       questions. So were going to rely.on you for that.               09:21
 9              On the phone?                      09:20                                 9             MR BILLECK: Just so we're clear on the                    09:21
10              MR. CRICHLOW: David Crichlow, Pillsbury,                   09:20        10       record, I've seen the Creditors Committee has agreed              09:21
11       Winthrop, Shaw, Pittman on behalf of the Official               0920           11       to the privileged protocol with respect to the joint           09:21
12       Committee of Equity Security Holders.                        09:20             12       privilege documents. And my understanding is the                  09:21
13            MR. FREEMAN: Jeff Freeman, Kirkland &                       09-20         13       Equity Committee said they had, as well, before we                   09:21 i
14       Ellis on behalf ofTronox.                      09:20                           14       got on the record.                                 09:21
15              MR BI LLECK: Ls that all?                  09:20                        15              I just want to make clear on the record the           09:21
16              REPORTER: Would you raise your right hand,                    09:20     16       Equity Committee has agreed to the privilege protocol                 09:21
17       please.                                 09:20                                  17       for the production and discussion of joint privilege            09:21
16               (Witness duly sworn).                        09:20                     18       documents in the deposition; correct?                       09:2!
19             MR. WALTERS: If! could just real                       09:20             19            MR. CRICHLOW: This is correct. I will be                   09:2!
20       quickly — Jay Walters on behalf of the witness--we             09:20           20       forwarding all of the parties in interest a signed            09:21
21       were presented with a privileged protocol in the              09:20            21       letter that will be similar to Mr. Ross' letter that         09:21
22       case, and I'd talked to Counsel before the               09:20                 22       went to you a couple of days ago.                          09:22
23       deposition. We're new to this matter, and it seems          0920               23             My secretary has it in hand, but I want to             09:22
24       rather complex, and we don't understand all of the             09:20           24       state for the record, the Equity Committee has                 09:22
25       contours.                                    09:20                             25       agreed, with no reservations, to the amended                   09:22


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     1             A. Yes.                                      09:26                        1       believe June Ist of 1977, and I was there for my              09:27
     2             Q. What degree or degrees did you receive?                  09:26         2       entire career.                                  09:27
     3             A. It was politic science, a bachelor of-- I            09:26             3          Q. So from 1977 until the IPO ofTronox, you                09:27
         4     can't remember if it's arts or science, but it's            09:26             4      served in various capacities as an in-house lawyer at           09:27
     5         political science.                                 09:26                      5      Kerr-McGee? 09:28
     6             Q Okay_ And what year did you say you                      09:26          6          A. That is correct.                            09:28
  7            gad                                                                26    —    '1   —            n tii!i!flfleWtThflYonox, you                        :2$
  8                A. University.-                                 09:26                  8         served as a general counsel of Tronox; correct?               09:28
  9                Q. I'm sorry.                                 09:26                    9             A. That's correct. I'm sorry. When when
                                                                                                                                             —                   09:28
 10                A. I thought you said University of Chicago.               09:26      10         there was the IPO of Tronox and Tronox was eventually               092
 11                Q. No, University   —                             09:27               11         spun off, yes, I -- I went with the entity Tronox and          09:28
 12                A. It's University of Colorado.                      09:27            12         worked for them as an employee.                           09:28
 13                Q. Colorado, yes.                                09:27                13             Q. And so after the IPO ofTronox in November                 09:28
 14               A. Yes, 1973.                                   09:27                  14         of 2005, you were no longer a Kerr-McGee employee;                  09:2
 15                Q. And then did you attend law school?                    09:27       15         correct?                                       09:28
 16               A. Yes.                                       09:27                    16                MR KASSOF: Object to the form.                       09:28
 17               Q. When did you graduate from law school?                     09:27    17                MR. WALTERS: That's all right When he                    09:28
 18               A. 1977.                                      09:27                    18        objects, he's just preserving an objection to the            09:28
 19               Q. And where did you attend law school?                     09:27      19        question.                                        0928
 20               A. University of Oklahoma in Norman.                       09:27       20                WITNESS: Okay.                                 09:28
 21               Q. Upon graduation from law school, please                   09:27     21                MR. WALTERS: If there's a claim of                   09:28
 22           tell me your employment history.                            09:27          22        privilege, well stop. But otherwise, if he objects,          09:28
 23               A. Within a week or so after graduation,      ]           09:27        23        you just go ahead and answer the question.                   09:28
 24           started full-time at Kerr-McGee Corporation as an                 09:2     24            Q. (BY MR. BILLE(X): And I'll just rephrase                  09:28
 25           in-house lawyer, subject to passing the bar, 1                09:27        25        it. I'm not certain of the objection, so well try          09:28

                                                                        Page 16                                                                               Page 17
     1         it again.                                    09:28                        1          similar to that. It was anon--. well, never nt ind_            09:30
     2                Were you an employee of Kerr-McGee after               09:28        2            Q. In that position, were you primarily the               09:30
 3             the I PO of Tronox in November of 2005?                      09:28        3          legal counsel for the Chemical Division of                    0930
 4                 A. My understanding is, I was a Kerr-McGee                09:29       4         Kerr-McGee?                                          09:30
 5            employee until November28th, 2005. On that day, 1                09:29     5             A. That's hard to answer, if you want to know                09:30
 6            became an employee of Tronox, Incorporated, or one of              09:2    6         the truth. I was designated as a division counsel               09:30
 7            its operating subs.                               09:29                    7         for chemical and, yes, involved in many of the                   09:30
 8                 Q. Were you ever again an employee of                  09:29          0         business matters but with some exceptions to-- I'm                 09:31
 9            Kerr-McGee on or after November28th, 2005, to the                 09:29    9         going to say primarily in litigation and                    09:31
10            present?                                       09:29                      10         environmental areas.                                  09:31
11                 A. No.                                   09:29                       11             Q. Okay. When I say "the chemical business."                  09:31
12                Q. What position did you hold well, let me
                                                  —                       09:29         12         frequently I'll use that as a shorthand for the              09:31
13            ask you this: Do you recall when you became general              09:29    13         entities that ultimately became Tronox.                      09:31
14            counsel ofTronox?                                  09:29                  14                Is that consistent with your understanding?             09:31
15                A. I believe it was sometime in the September            09:29        15             A. No.                                      09:31
16           2005 time frame.                                   09:29                   16             Q. Okay. What do you understand the chemical                   0931
17                Q. Okay.                                   09:29                      17         business to be at Kerr-McGee?                             09:31
18                A. It may have been early October, but 1              09:29           18             A. At the time 1 was involved, it was the                09:31
19           believe it was mid to late September.                     09:29            19        titanium dioxide business and the -- I think they                09:3!
20                Q. Prior to becoming general counsel of               09:29           20        called it the electrolytic chemicals business at               09:31
21           Tronox, what position or title did you hold at as
                                                            —             09:30         21        Henderson, Nevada, and 1 think there was a little bit              09:31
22           a Kerr-McGee employee?                                  09:30              22        in Hamilton, Mississippi.                               09:31
23                A. Immediately prior, I think my title, which          09:30          23            Q. Okay.                                      09:32
24           was sort of long, was assistant general counsel/vice           09:30       24            A. And I think there may have been some                      09:32
25           president for chemical affairs or something very              09:30        25        leftover residual one called battery-type materials              09:32

                                                                                                                                5 (Pages 14 to 17)
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     1    at DeSoto Spring, Idaho.                                     09:32                       1       Q. So when Mr. Pitcher was promoted to general                     09:33
     2       Q. How tong did you serve in the role as                       09:32                  2    counsel, you were, I assume, promoted into his                       09:33
     3    divisional counsel for the Chemical Division?                       09:32                3    previously held position within the Kerr-McGee legal
     4       A. 1 guess about three years. I think it                    09:32                     4    department?                                  09:33
     5    started in, I wart to say, 2001, late in the year.               09:32                   5       A. Yes.                                0933
     6    1 — I don't remember exactly.                                09:32                       6       Q. At the time you became a — the general                    09:34

     a           What position did you hold immediately                        09:32               8    point in time you were an officer of the Tronox,                  09:34
     9    before you became division counsel to the Kerr-McGee                         09:3        9    Incorporated, entity; correct?                          09:34
 10       Chemical Division?                                09:32                              10          A. I didn't hear you. Were or were not?                    09:34
 11          A. I think t was — had a title of assistant        09:32                          11           Q. Were. I'll reask it.                       09:34
 12       general counsel for business transactions. Maybe it         09:32                    12           A. I — I was not a Kerr-McGee Corporation                   09:34
 13       was associate general counsel.                       09:32                           13       corporate officer. I was a — I believe a division              0934
 14         Q. And do you recall when you took that                09:33                       14       officer. You know, I don't know if I was an officer                  09:34
 15       position?                                   09:33                                    15       of Kerr-McGee Chemical, LLC or not I'm sure you              09
 16          A. I believe it was around September of 1999.                     0933            16       guys have a chart that shows. I had the title of       09:34
 17         Q. Do you recall what led to you taking on the                     09:33           17       division counsel, but — but...                   09:34
 18       title of -- did you say head of business                       09:33                 18          Q. You may have misunderstood my question_              09:34
19        transactions?                                        09:33                          19           A Okay.                                  09:34
20           A. Yes. The existing head of business              09:33                         20           Q. I think based on the way you're answering                  09:34
21        transactions was promoted to general counsel, and so        09:33                   21        it I think I was trying to ask something different,             09:34
22        That was a vacancy.                              0933                               22        so let me try again.                           09:34
23           Q. And who was that that was promoted to           09:33                         23              At the point in time you became general          09:34
24        general counsel?                            09:33                                   24        counsel of Tronox —                              09:34
25           A. A man named Greg Filcher.                   09:33                             25           A. Yes.                                  09:34

                                                                          Page 20                                                                                    Page 21
     1      Q. -- were you an officer of the Tronox                       09:34                    1      Q. Okay.                               09:36
 2       organization?                                 09:34                                       2         MR. BILLECK: Pll mark this as Addison 1.              09:36
 3          A. I'm going to say no.                       09:35                                    3          (Addison Exhibit No. I marked).                  09:36
 4          Q. Okay.                                  09:35                                        4     Q. (BY MR. BILLECK): Mr. Addison, do you have
 5          A. But — but when you use the phrase "Tronox                      09:35            5       what's been marked as Exhibit I?                       09:37
 6       organization," I don't know what that means.                       09:35              6         A Yes.                                     09:37
 7          Q. Well use Tronox to refer to Tronox,                        09:35                7         Q. Do you recognize Exhibit 1?                       09:37
 8       Incorporated, and the subsidiaries underneath Tronox                     09:35        8         A. I'm not sure 1 do or not.                     09:37
 9       that were spun oft.                                    09:35                          9         Q. The title of it is, 'The Witness Statement           09:37
10             Were you an officer of any ofthose               09:35                         10       of Roger Addison." Correct?                             09:37
11       corporations at the time you became general counsel          09:35                   11          A. Yes, yes, I mean, I do recognize that.              09:37
12       ofTronox?                                      09:35                                 12              MR. KASSOF: I'm sorry. I have the wrong                  09:37
13           A. I don't know. I think --I just really          0935                           13       exhibit.                                     09:37
14       don't recall.                                09:35                                   14            MR. BILLEC( Oh, did we give you the                        0937
15           Q. Okay. We'll try to find something and show          09:35                     15       wrong --                                09:37
16       it to you--                                  09:35                                   16            MR. KASSOF: No. I've got the wrong one.                     09:37
17           A. Okay.                                  09:35                                  17             WITNESS: He got the wrong one.                          09:37
18           Q. And see if it can--                       09:35                               18             MR. BILLECK. Oh, be got the wrong one.                     0937
19          A. Okay.                                     09:35                                19       You're correct.                                 09-37
20          Q. — refresh yourrecollectiort a little bit.               09:35                  20          Q. (BY MR. BILLECK): And if you look on the                        09 37
21             At the time you became general counsel at                   09:35              21       very last page of Exhibit I —                          0938
22       Tronox, how many years' experience did you have as an                     09:3       22          A. Uh-huh.                                   09:38
23       in-house lawyer at Kerr-McGee?                                  09:36                23          Q. -• I believe it is page 18, do you sec your          09:38
24          A. I guess shout 20--. 28 years or so: 27,                   09:36                24       signature?                                    09:38
25       28. From '77 to 2- — 2005.                               09:36                       25          A. Yes.                                    09:38


                                                                                                                                       6 (Pages 18 to 21)
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     1      Q. Is that your signature?                          09:38                       1   of this statement are true to the best of my               09:39
     2      A. It appears to be, yes.                         09:38                         2   information and belief ; correct?                        09:39
     3      Q. This document appears to be a witness                     09:38              3       A. It does state that, yes.                    09:39
     4   statement that you submitted in connection with an                   09:38         4       Q. I assume then that its true that you had            09:39
     5   arbitration by Kerr-McGee Chemical Worldwide, LLC and                     09:3     5   worked on legal matters involving both Kerr-McGee's             09:3',
     6   Kerr-McGee Chemical, LLC against Kemira Pigments                         09:38     6   Oil and Gas and Chemical Divisions, devoting most of            09:3'.
- -4Y anal KemiraOY3 coo ec                                             938                                                r rc`ai s business since t988? -- 09-39-
                                                                                                 iser tte Tltrtl t61t 8Ch'etT
 8   A. Thais what it states, yes.                              09:38                       8      A. I think that is correct, yes. It was not            09:40
 9   Q. Do you remember an arbitration that was                           09:38             9   exclusive Chemical, but —                              09:40
 10      initiated against these Kemira -- and I'm going to               09:38            10      Q. Sure.                                    09:40
 11      refer to Kemira. I'll refer to these organizations             09:38              11      A. -- primarily.                              09:40
 12      that are on the first page.                     09:38                             12       Q. Right, right.                             09:40
 13             Do you remember the arbitration that was         09:39                     13         And as a result, at the time of the IPO of           09:40
 14      commenced against Kemira?                            09:39                        14   Tronox, you had devoted most of your legal work to                  09:40
 15         A. Yes.                                  09:39                                 15   the attention of the Chemicals business for almost 20              09:40
 16         Q. if you look on the first page of — page         09:39                       16   years; is that correct, 1988 —                      09:40
 17      number 2 of your witness statement                    09:39                       17      A. Seventeen, 18, yeah.                          09:40
 18         A. Yes.                                  0939                                  18      Q. Okay. Based on the 25-plus years you had                   09:40
 19         Q. The third paragraph says, 'I worked on            09:39                     19   as an in-house lawyer at Kerr-McGee and the 17, 18                 09:40
 20      legal matters involving both Kerr-McGee's Oil and Gas         09:39               20   years you had devoting your attention to the                   09:40
 21      and Chemical Divisions, devoting most of my attention         09:39               21   Chemicals business, did you believe at the time that             09:40
 22      to Chemical business since 1988'; correct?              09:39                     22   you were elected to be the general counsel ofTronox                09:40
 23         A. That is what it states there, yes.                 09:39                    23   that you were prepared and competent and equipped to                 09:4
 24         Q. If you look on the very last page oryour               09:39                24   fulfill the duties associated with that role?        09:41
 25      witness statement, the last line says, "The contents           09:39              25       A. Yes, I — l believe so.                  09:41

                                                                         Page 24                                                                           Page 25

  1         Q. At the time you became general counsel of                       09:41        1   didn't consider them direct reports.                   09:42
  2      Tronox, and Tronox went through the IPO process, did                      09:41    2      Q. Were each of the six attorneys you just             0942
  3      you have any direct reports to you as the general                    09:41         3   identified former employees of Kerr-McGee prior to              09:42
  4      counsel of Tronox?                                    09:4!                        4   the IPO of Tronox in November ot'2005?                      09:42
  5         A. I -- I think, yes. Its — it's a —              09:41                         5      A. Yes, I believe so.                          09:42
 6       timing is difficult to answer. Clearly, after the            09:41                 6      Q. And at that point in time, do you recall           09:42
 7       IPO I did.                                      09:41                              7   who yorr •- I'm sorry. Let me be clear about the             09:42
 8          Q. Okay. Let's justtalk about after the IPO.              09:4i                 8   time.                                        09:42
 9              In connection with the IPO, once Tronox was               09:41             9      A. Okay.                                    09:42
10       IPO'd in November of 2005 —                               09:41                   10      Q. Prior to the lPO and prior to becoming              09:43
11          A. Yes. We're talking about November 28th and                  09:41           11   general counsel of Tronox, when you were divisional             09:43
12       forward?                                         09:41                            12   counsel for the chemicals division, do you recall who          09:43
13          Q. Yes, sir_                                  09:41                            13   your actual employer was?                          09:43
14          A. Yes, yes.                                   09:41                           14      A. I'm trying to think what the paycheck said.        09:43
15          Q. Did you have any direct reports at that                09:41                15      Q. Okay.                                  09:43
16       point ass general counsel of Tronox?                        09:41                 16     A. fm pretty sure it said 'Kerr-McGee." 1            09:43
17          A. Yes-                                  09:41                                 17   think it was "Kerr-McGee Worldwide Corporation -- or                09:43
18          Q. And who were your direct reports?                         09:41             18   Kerr-McGee Worldwide, LLC' or it could have been —                  09:43
19          A. I think it was six attorneys; Michael                    09:41              19   you probably know.                            09:43
20       Foster, there was a Bill Miller, Dwayne Morris, Tony                    09:42     20         1— I can't remember. It — it was not       09:43
21       Ellington, Myron Cunningham, Don Shandy. I guess 1                        09:4    21   Kerr-McGeeChemical. ltsaid'Kerr-McGee' — I think                   09:43
22       had a secretary, slash, assistant, who was a direct               09:42           22   it said "Kerr-McGee Worldwide, LLC."                        09:43
23       report, Earls Brady.                                   09:42                      23      Q. I'll ask you to see if it refreshes your         09:43
24         Q. Okay.                                 09:42                                  24   recollection.                                  09:43
25         A. And there were some paralegals, but I                      09:42             25          Do you recall a company that was referred           09:43


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                                                                         Page 38                                                                                  Page 39
     1        Q. (BY MR. BILLECK): When you say you agreed                      10:0        1         from Tronox?                                      10:04
     2     with it completely, your— I want to make sure I'm              10:02             2             A. Yes.                                   10:04
     3     clear, you say you completely agreed with the                10:02               3            Q. When was that?                                10:04
     4     decision that these would be the individuals who               10:02             4            A. My last day of work — I resigned on                  10:04
     5     would transition from Kerr-McGee Shared Services to                10:02         5        November 29th, 2009.                                  10:04
     6     Tronox, Inc. as in-house lawyers to support you?               l002              6            Q. 2009?                                    10:04
              A-1-i m f I f meant to say was, I thel                - 1002                      -   A 313 I say Hfo                      o aysl                 I0 0 —
  8        object to anyone on the list being there.                10:02                   8        Sorry.                                      . 10:04
  9           Q. Were you comfortable and believed that this             10:02              9            Q. Okay. !just went to make sure.                    10:04
 10        was a qualified group of in-house lawyers that were             10:02          10                So it was November -- your last day of work             10:04
 11        prepared and competent to support you as the in-house             10:02        11         as general counsel of Tronox was November 29th, 2007;                10:
 12        lawyers for Tronox, lnc.?                            10:02                     12         correct?                                      10:04
 13           A. Yes.                                    10:03                            13             A. Correct.                                 10:04
 14           Q. And, you know, to be more direct, I guess              10:03             14             Q. Were you fired or involuntarily terminated              10:04
 15       one of the questions I'm asking, you didn't feel like         10:03             15         from your position as general counsel?                      10:04
16        you were given the bottom-tiered performers at                 10:03            16             A. No.                                    10:04
17        Kerr-McGee Shared Services legal department and stuck                10:03      17             Q. You, of your own accord, decided that you               10:05
16        with people that were not competent, qualified, and             10:03           18         would like to retire at that point in time.              10:05
19        experienced to support you and perform the roles                10:03           19             A. That is correct                            10:05
20        necessary as in-house lawyers for Tronox, Inc.?               10:03             20             Q. What led you to the conclusion that you               10:05
21            A. That is correct. They were alt good                10:03                 21         were ready to retire in November of 2007?                     10:05
22        attorneys.                                     10:03                            22             A. The primary reason was, I was just tired, l           10:05
23            Q. During your tenure as the general counsel             10:04              23         was burned out or something                             10:05
24        after the IPO, did the actually, strike that.
                                 --                                10:04                  24             Q. Okay. You had just reached that point in              10:05
25               Do you recall when you ultimately retired            10:04               25         yourcareer.                                     10.05
                                                                        Page 40                                                                                  Page 41
  1               How long had you been practicing law as an               10:05            1                 At any point during the time that you were           10:06
  2        in-house lawyer at the point that you retired?                10:05              2         general counsel of Tronox, did you believe that                I0:06
  3            A. Almost 31 years.                              10.05                       3         Tronox was not a viable business?                         10:06
  4           Q. And at that point you decided that you had               I0:05             4             A. No.                                     10:06
  5        done it long enough and were just tired of practicing            10:05           5             Q. So during your time as general counsel of              10:06
  6        law as an in-house lawyer and ready to do something                 10:05        6         Tronox, you always believed that Tronox was a viable                 10:
 7         else?                                         10:05                             7          business?                                       10:07
  8           A. Yes.                                     10:05                            8                 I'm just saying it inversely because I            10:07
 9            Q. Was there anything else that motivated your               10:05            9         think the record is a little —                      10:07
10        decision to retire from Tronox?                           10:05                 10              A. Well, I'm not sure what you mean by                   10:07
11            A. I'll say yes, there were attributing               1006                  11          "viable."                                      10:07
12        factors.                                       10:06                            12             Q. Okay. Let me ask it another way, then.                10:07
13            Q. Did you retire from Tronox in 2007 because                 10:06         13                 Did you believe at any time, either before          10:07
14        you believed that Tronox was doomed for failure and                 10.06       14          you became general counsel of Tronox or while you                   10:07
15        bankruptcy?                                       10:06                         15          were general counsel of Tronox, that Tronox was, at               10:07
16            A. No.                                      10:06                          16          the time of the lPO or subsequent to there, while you             10:07
17            Q. In 2007, when you retired, did you believe               10:06          17           were general counsel of Tronox, doomed for failure?                10:07
18        that Tronox was an insolvent company that was doomed                   10:06   18                  MR. KASSOF: Object to the form, only                   10:07
19        for failure?                                    10:06                          19          because you put in a couple of different timetables.            10:07
20               MR. KASSOF: Object to the farm of the                    10:06          20              Q. (BY MR. BILLECK): Let's be more clear.                    10:07
21       question. Lacks foundation.                              10:06                  21              A. Okay.                                     10:07
22               WITNESS: I did not.                            10:06                    22              Q. From the time you became general counsel of               10:07
23            Q. (BY MR. 01 LLECK): At any point while you                    10:06      23          Tronox in September of 2005 to the time that you                 10:07
24       were the general counsel of Tronox, did you believe                 10:06       24          retired in September 01 2007, during that time, did             10:07
25       that it was a -- strike that.                        10:06                      25          you believe that Tronox was an insolvent company that                10:0

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       1      was doomed for failure?                              10:08                      1         A. What title did you ask, presidency or               10:09
       2             MR. KASSOF: Objection. Lacks foundation_                 10:08           2     German CEO —or what did you ask again, I'm sorry?                  10
       3      Object to the form.                               10:08                         3         Q. Let's try it a different way.                 10:10
       4             WITNESS: Do I get to answer that?                   10:08                4         A. Okay.                                   10:10
       5            MR. WALTERS: Yeah.                                10:08                   5        Q. What was Mr. Adam, Tom Adams' title at the                 10:10
       6            WITNESS: No, I did not. I never thought               10:08               6     time of the IPO ofTronox?                             10:10
           --iTwas-tinned for-rsntst                              108        —                                guess ewers rresidenr --              ---ID_i"0
   8             Q. (BY MR. BILLECK): When you retired from                     10:0          8        Q. President of Tronox?                           10:10
   9         Tronox officially in November of 2007, did Tronox ask              10:0          9        A. Yes.                                    10:10
  10         you to stay on as a consultant fora period of time?            10:09            10        Q. Were you generally familiar with Mr. Adams                 10-10
  11             A. Yes-                                    10:08                           11      and his reputation at Kerr-McGee prior to the 1pO of             10.10
  12             Q. And did you agree to do that?                    10:08                   12     Tronox?                                        10:10
  13             A. Yes.                                    10:08                           13         A. Yes.                                    10:10
  14             Q. And how long did you act as a consultant               10:08            14         Q. And prior to the (P0 ofTronox, what was                 10:10
  15         for Tronox after you were your retirement?
                                          —                               10:09             15     Mr. Adams' reputation inside of the Kerr-McGee                   10:10
  16             A. Fora period of-- right at about six              10:09                  16     organization?                                    10:10
 17          months.                                        10:09                           17         A. He was a very smart, excellent employee                10:10
 18              Q. Who did you report to during that time               10:09              18     that had come over from something called Oryx, and                 10:1
 19          period, if anyone?                                10:09                        19     that he just had a high reputation of being an              10:I0
 20              A. Technically, Mike Foster.                      10:09                    20     excellent, smart employee.                            10:10
 21              Q. Okay. Do you know who was the president                  10:09          21         Q. Did you believe that Mr. Adams was                    10:11
 22         and CEO of Tronox at the time ofthe 1P0?                      10:09             22     competent and qualified to serve as the president of           10:11
 23              A. The title president and CEO?
                              —                                      10:09                  23     Tronox, lnc. after the 1PO?                           10:11
 24              Q. You're certainly free to correct me on the          10:09               24         A. Yes, I believe so. He had a number of                10:11
 25         title.                                       10:09                              25     months as head of the Chemical Division and being                 10:11
                                                                          Page 44                                                                              Page 45
   1         groomed. I think he learned the business quite well.              10:11          1        A. Asa very sharp cracker jack                      10.13
   2             Q. And then after the IPO, did you have                   101.11             2    accountant/CPA-typo financial-officer type.                    1013
   3         occasion to work with Mr. Adams at Tronox?                         10:11         3        Q. And in connection with the IPO of Tronox,                10:13
   4             A. Oh, yes.                                   10 I[                          4    Mary Mikkelson became the CFO of Tronox; correct?                     1013
   5            Q. And in your firsthand witnessing of his                 10:11              5        A Yes.                                     10:13
   6         performance as the president ofTronox, how would you                   10:1      6        Q. Did you believe that Ms. Mikkelson was                   1013
   7         describe his performance?                               10:11                    7    competent and qualified to fulfill and perform the              10:13
   8            A. Very good.                                   10:12                         8    duties as CFO of Tronox?                              10:13
   9            Q. Did you think that Mr. Adams competently                    10:12          9        A. Yes.                                   10:13
 10          and professionally satisfied and fulfilled the               10:12             10         Q. Did you have occasion to work with                    10:13
 11          obligations and duties that he had as the president             10:12          11     Ms. Mikkelson after the IPO of Tronox?                       10-13
 12          ofTronox?                                         10:12                        12        A. Yes.                                    1013
 13             A. Yes. I've always thought so.                       10:12                 13        Q. Describe tome how you viewed                          10:13
 14             Q. Did you ever think Mr. Adams was not                      10:12          14     Ms. Mikkelson's performance in the fulfillment of her             10:13
 15         competent or qualified or failed to fulfill his              10:12              15     duties as the CFO ofTronox.                            10. 13
16          duties as the president ofTronox after the 1PO?                 10:12           16        A. Very well. She was one of the most                   10:13
17              A. I got a little confused there, but I always           10:12              17     professional and competent people I've ever met.                10:13
18          thought he did a fine job.                             10:12                   18         Q Did you view Ms. Mikkelson as an honest                    1014
19             Q. Okay. What about Mary Mikkelson? Did you                        10:12    19     person?                                        10:14
20         have any familiarity with Mary Mikkelson prior to the                 10:12     20         A. Yes.                                    10:14
21         IPO of Tronox?                                       10:12                      21         Q_ Did you ever witness her in any way to try              10:14
22             A. Yes.                                      10:12                          22     to misrepresent or mislead Tronox investors, Tronorfs              1014
23             Q. And what was Mary Mikkelson's reputation                     10:12       23     banks, Tronox's auditors?                             10:14
24         inside of Kerr-McGee, from your perspective, prior to                10:12      24         A. No.                                    10:14
25         the 1PO of Tronox?                                    10:13                     25        Q. Did you ever see Mr. Adams did you ever
                                                                                                                                        —                          10:14

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   1     witness or think Mr. Adams had misled,                        10:14            1          Q. Okay. And that is counsel you have with                10:16
   2     misrepresented, or was being less than honest with               10:14         2     you here today?                                     10:16
   3     Tronox's investors, banks, Ernst & Young, in                   10:14           3          A. That is correct.                            10:16
   4     connection with performing his duties as the                  10:14           4           Q. Did you review any documents?                        10:16
   5     president ofTronox?                                  10:14                    5           A. Documents? Yeah, I did. I mean, I had a                10:16
   6        A. No.                                      10:14                          6      copy of the petition and the adversary complaint, and              10:16
                  uu-Irnow-R4r'ivlikkelsorr ssat-Mr.—Azlams-have              IO1      't  —  1- sere d-tlfst.                                    rorr6 --
  8      been sued in a class action security lawsuit, do you            10:15         8           Q. Okay. Did you talk with anyone other than                10:16
  9      not?                                          10:15                           9      your counseltogr   eready for the deposition today,              10:16
 10         A. That is my understanding. yes.                      10:15              10      as far as substantively prepare for your testimony?              10:16
 11         Q. You are tot a defendant and have not been                 10:15       11            A. I — I—I have spoken with you in the                10:16
 12     sued in any lawsuit regarding your role either as an             10:15       12       past informally, and I've spoken with this other               10:16
 13      employee of Kerr-McGee Shared Services or as a                    10:15     13      counsel, Kirkland Ellis, I think a Jeffrey Zeiger, 1           10:16
 14     general counsel forTronox; correct?                         10:15            14       spoke with him informally some months ago, but that                 10:1
 15         A. Not as far as 1 know.                          10:15                  15       wasn't, I didn`t think, really in association with          10:16
 16        Q. As the generat counsel of Tronox, who did                 10:15        16      this. I t was just deep background or something.                 10:16
 17     you report to?                                    10:15                      17           Q. Okay, right. So the meetings — the                  10:16
 18        A. Tom Adams.                                     10:15                   18      informal meetings you've had with the Kirkland &                    10:16
 19        Q. Just a little more background on sort of               10:15           19      Ellis law firm and with Well Gotshal, your deposition               10:17
 20     the deposition.                                   10:15                      20      hadn't even been noticed at that point; correct?               10:17
 21            Did you do anything to prepare for your               10:15           21           A. That is correct.                            10:17
 22     deposition today or—                                 10:15                   22           Q. And you didn't view that as a preparation              10:17
 23        A. Yes.                                      10:15                        23      for your deposition, either the meeting with Kirkland              10:17
 24        Q What did you do?                                 10:15                  24      or with Weil Gotshal?                                  10:17
 25        A. I hired counsel.                             10:16                     25           A. That is correct                             10:17

                                                                   Page 48                                                                                   Page 49
   1        Q. Other than the meeting-- informal meeting               10:17           1     your confidentiality and privilege obligations to                 10:18
   2    you had with Mr. Zeiger, was there anyone else that              10:17         2      make sure you didn't improperly disclose something                    10:18
   3    attended on behalf of Kirkland & Ellis?                    10:17               3     you weren't supposed to disclose.                           10:18
   4        A. Yes.                                   10:17                            4             Is that what the substance of that                 10:18
   5        Q. Who was [fiat? I can probably help you                 10:17            5     conversation was?                                      10:18
   6        A. David Zott, I believe.                        10:17                     6        A. That is correct. Being counsel, I was very '               10:18
   7        Q. Okay.                                   10:17                           7     concerned — with protecting my clients' confidences,                  10:18
   8       A. is that — well — is that correct? 1             10:17                    8     privileged material.                                  10:18
  9     don't think that was his name.                         10:17                   9        Q. And you've taken the steps you believe                     10:18
 10        Q. That is a name that could be correct, so             10:17             10      necessary to fulfill that obligation; correct?                10:18
 11     191 assume that --                               10:17                       11         A. I certainly believe so. You all heard the                10:18
 12        A. Okay.                                    10:17                         12      opening statement by my counsel where we've agreed                       10:1
 13        Q. --it is.                               10:17                           13      that basically there's been a general waiver of this.             10:18
 14            Did you talk with anyone from Kirkland &               10:17          14         Q. You referenced a complaint filed in this                  10:19
 15    Ellis substantively about the case since that               10:17             15      lawsuit.                                       10:19
 16    informal meeting?                                   10:17                     16             Did you receivea copyofitatsome point                   10:19
17         A. l was sitting in on — on a -- on a phone            10:18             17      after it was filed?                                10:19
18     call that my counsel had with Mr. Zeiger yesterday               10:18       18          A. Yes.                                      10:19
19     regarding some procedural issues, but I don't think             10:18        19          Q. Were you consulted in any way regarding the                    10:19
20     it was substantive.                               10:18                      20      complaint prior toil being filed?                          10:19
21         Q. Okay. And what did that phone call deal                10:18          21          A. No.                                      10:19
22     with?                                         10:18                          22          Q. Did you receive the complaint and review it                  10:19
23        A. Privilege issues.                            10:18                     23      before you spoke with the lawyers for Kirkland &                      1019
24        Q. And I think, as you explained to me when we                10.18       24      Ellis or the lawyers for— I'm sorry. Not the                  10:19
25     met informally before, you are taking very seriously             10:18       25      lawyers for Kirkland & Ellis. Let me rephrase that.                  10:19

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     1           Did you receive and review the complaint              10:19        1  allegations in the complaint were accurate and that              10:21
     2     before you had your informal meeting with the lawyers             10:1   2  they could prove it.                               10:21
     3     from Kirkland & Ellis and with lawyers for Anadarko               10:19 3       Q. Did they attempt to persuade you of their               10:21
     4     and Kerr-McGee?                                    10:19                 4 opinions and beliefs?                                 10:21
     5        A. Yes.                                   10:19                       5      A. I'm not sure I know how to answer that.                 10:21
     6        Q. What was your initial reaction when you                10:19       6 The final comment said, "You're either with us or                  10:21
           received     complaint and read toh      a
                                                 t allegations             :      7agarnt u"
  8        and claims contained in the complaint?                    10:19          8     Q. Either Mr. Zott or Mr. Zeiger said to you,              10:21
  9           A. I'm going to say, I was surprised.               10:19             9  "You're either with us or you're against us"?                 10:21
10            Q What do you mean "surprised"?                       10:20          10     A. Yes.                                     10:21
11            A. You asked what my reaction was. That's                 10:20      11     Q. What was your response?                            10:21
12         what it was. It just didn't seem like— this            10:20            12     A. I don't think I responded.                       10:21
13         doesn't sound like what happened to mc.                    10:20       13      Q. Do you view yourself as either with or                  10:22
14            Q. So by 'surprised," you meant, based on your             10:20    14  against either Tronox or Kerr-McGee or Anadarko in                    10
15        years as an in-house lawyer at both Kerr-McGee and as              10:2 15  this case?                                      10:22
16        the general counsel of Tronox, the allegations and             10:20    16      A. No.                                      10:22
17        claims in the complaint were inconsistent with what             10:20 17        Q. How do you view yourself?                            10:22
18        you personally witnessed occurring?                       1020          18      A. Neutral, just try and tell the truth and            10:22
19            A. That's a big mouthful, but I would say yes.           10:20      19  state the facts as 1 know them.                          10:22
20            Q. Did you generally express that opinion to             10:20      20      Q. How did you view or how did you interpret                  10:22
21        Mr. Zeiger and Mr. Zott when you informally met with               10:2 21  the statement "You're either with us or you're                  10:22
22        them?                                        10:21                      22  against us"?                                     10:22
23            A. I believe) did.                          10:21                   23      A. I don't know how to answer that. I just.-              1022
24            Q. What was their reaction?                       10:21             24  the comment surprised me, I'll just say that.                 10:22
25           A. They indicated they — they thought the               10:21        25      Q Back to the question before. What did you                  10:22
                                                                      Page 52                                                                              Page 53
  1       mean by "surprised you"?                              10:22                   1    effectively saying they would commit perjury.                    10:24
  2          A. I don't know how to answer that, I guess.             10:23             2            Did you ever make that statement?                   10:24
 3        You know, I really don't know how to answer that                 10:23        3        A. I cant imagine my — me ever saying that                 10:24
 4                         --
          other than to say no, I don't know what to say.              10:23            4    no.                                           10:24
 5           Q. You re familiar with an individual named                10:23           5        Q. Do you believe that Mr. Corbett would                   10:24
 6        Robert Gibney. is that correct?                        10:23                  6    commit perjury in a lawsuit?                            10:24
 7           A. Yes.                                    10:23                           7            When I say M r. Corbett, Luke Corbett.                10:24
 B           Q. You're aware that after you retired from             10:23              8            Do you have any basis to believe that               10:24
 9        Tronox, Mr. Adams was fired by Tronox; correct?                   10:23       9    Mr. Luke Corbett would commit perjury in this                     10:24
10           A. Yes, E heard that.                          10:23                      10    lawsuit?                                        10:24
11           Q. And after your retirement from Tronox, do                10:23         11        A. No,1 have no basis for that.                     10:24
12        you understand that Tronox also fired Mary Mikkelson?               10:23    12        Q. Do you have any basis or belief that                 10:25
13           A. Yes.                                   10:23                          13     Mr. Wohleber, Bob Wohleber, would commit perjury or                     I0:2
14           Q. And do you understand that Mr. Gibney still              10:23        14     lie on the stand in this lawsuit?                      10:25
15       works forTronox?                                    10:23                    15         A. I don't know either of those gentlemen very              10:25
16           A. Yes.                                   10:24                          16     well, but I have no basis for thinking they would do              1025
17           Q. I want to ask you about something. Let me               10:24         17    any of that, commit perjury.                            111.25
18       ask this. Have you seen the depositions from                  1024           18         Q. In the time that you worked at Kerr-McGee,                10:25
19       Mr. Adams, Ms. Mikkelson, or Mr. Gibney?                         10:24       19    1 know you may not have interacted with them on a                   10:25
20          A. No.                                     10:24                          20    daily basis, but did you ever see Mr. Wohleber or                 10:25
21          Q. In the deposition of Mr. Gibney, he said              10:24            21    Mr. Corbett conduct themselves in an unethical or                  1025
22       that at some point after the IPO you made the                 10:24          22    dishonest fashion?                                   10:25
23       statement that "Some day there'd be a lawsuit against            10:24       23         A. Never.                                   10:25
24       Kerr-McGee by Tronox and that Luke Corbett and Bob                    10:    24        Q. All right. Let's talk about--do you                 10:25
25       Wohleber would lie on the stand in that lawsuit,"              10:24         25    remember the acquisition by Kerr-McGee Chemical                       10:25

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     1    Exhibit 2 prior to today?                          1121                       1    witness statement, at the top there's a statement          11:23
     2       A. I don't recall. It wouldn't surprise me if        1 121                 2    that says — actually, look on page 5 to son— the          11:23
     3    1 had. I just don't recall.                      11:21                        3    section is entitled "Limitations imposed by Kemira on          11:2:
     4       Q. At the time of the Kemira acquisition, what           11:21         4        the due diligence process'; correct?                  1 1:23
     5    was Mr. Woodward's position or title inside of              11:21         5             A. That's what the style says, yes.                11:23
     6    Kerr-McGee?                                       11:22                       6       Q. And in talking about those limitations,               11:23
         —
             ~T s
                t complicate r e. they aiways hart                   Fi22                      r. WootIwarsi says , Whrle such restnetrons are not              117.
  8       funny titles. I think it was senior vice president       11:22          8          unusual in the business world, they do inhibit a               11:23
  9       of Kerr-McGee for chemical operations. He was a               11:22     9          purchase's ability to develop its own insights into            11:23
 10       Kerr-McGee corporation employee in charge of chemical             11:2 10          the business that is being purchased.                     11:23
 11       group.                                         11:22                   11                "These kinds of restrictions forces the             11:23
 12              He was not a Kerr-McGee Chemical employee.              11:22   12         buyer to rely on the accuracy of the seller's               1123
 13       He was a Ken-McGee Corporation employee.                      11:22    13         information and, therefore, require that strong               11:23
 14          Q. But his primary responsibilities were for          11:22         14         contractural warranties, representations,                   11:23
 15       the operations of Kerr-McGee — of the Chemical               1122      15         indemnifications be included in the purchase                    11:23
 16       Division of Kea-McGee; correct?                        11:22           16         agreement"; is that correct?                           11:23
 17          A. Yes.                                      11:22                  17             A. Yeah, that appears to be a quote from the               11:23
 18          Q. Did you believe Mr. Woodward to be                  11:22        18         wimess statement, yes.                                11:23
 19       competent andqualified in that role?                  11:22            19             Q. And that is consistent with your                   11:23
20            A. Yes.                                   11:22                      20       understanding -- well, strike that.                      1123
21           Q. We talked earlier about some of the timing            11:22        21              Is that consistent with your understanding            11:23
22        limitations or due diligence limitations placed on          11:22        22       in the business world that these types of limitations           1123
23        the Kemira transaction. Do you recall that?                11:22         23       are not unusual, but that they require the sell- —           11:23
24           A. Yes.                                     11:22                     24       thepurchasertoobtainstrongcontraetual                        11:24
25           Q. If you look on page 6 of Mr. Woodwards                11:23        25       warranties, representations, and indemnifications in             11:24

                                                                     Page 84                                                                          Page 85
  1      the purchase agreement?                              11 :24                1          A. Yes, but not personal knowledge. I mean, l              11:25
  2         A. Yeah. I mean, it depends on the deal. I              11:24           2       was told that I didn't go out and personally               11:25
  3      will say yes. But ifyou cannot — representations             11:24         3       inspect girders and pipes and things —                    11:25
  4      and warranties can substitute for due diligence .            11:24         4             Q. Right.                                 11:26
  5             Ideally, you get the maximum of both, but            11:24          5          A. But, yeah — but, yeah, our guys told us               11:26
  6      you can't always negotiate that.                      11:24                6       that the thing had some problems that were sort of              11:26
 7          Q. Was it your opinion --or is ityour                11:24              7       hidden. And I believed them. I had no reason not                11:26
 8       opinion that Kerm - -- that Kemira intentionally —            11:24        8       to.                                         11:26
 9       not intentionally. Strike that.                     11:24                  9          Q. Who were the guys that told you some things                 11:26
10              Was it your opinion that Kemira did not             11:24          10       were hidden, if you recall?                         11 :26
11       provide honest, truthful, and full representations          11:25         11          A. Those are my words and they sound funny                     11:26
12       and warranties regarding the plant equipment and its            11:25     12       when they're repeated to me, but I guess engineers.               11:26
13       compliance with laws in the purchase agreement?                 11:25     13       There was an additional due diligence period between                 1126
14          A. You said a mouthful, but I —                    11:25               14       contract signing and closing, and I think they sent              11:26
15           Q.   You can restate it.                        11:25                 15       some people down there at that time to — 'down                   11:26
16           A. Kerr -- Kerr-McGee believed that Kemira                 1125       16        there."                                      11:26
17       breached its representations and warranties in that            11:25      17               There were two plants involved. This               11:26
18       regard, that they were incorrect as to their               11:25          18       primarily relates to the Savannah, Georgia, plant 1           11:26
19       compliance with the law. They were not in compliance               11:2   19       believe, some process engineers and people that                11:26
20       with law, as represented.                             11:25               20       worked at our Hamilton plant that knew about the                11:26
21          Q. And that the plant equipment was not as                11:25        21       equipment and stuff went down there and looked at it             11:26
22       represented by Kemira, as well; correct?                    11:25         22           Q. And after the transaction closed, they              11:26
23          A. Correct.                                  11:25                     23       discovered that the plant and equipment was not as              11:26
24          Q. And you said Kerr-McGee believed those                    11:25     24       represented?                                    11:26
25       things. You also believed time things, did you not?             11:25     25              MR. KASSOF: Objection. Misstates the                   11:27

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  1   testimony. Object to the form.                           11:27                1   that came upon the night of closing related to the               11:28
  2           WITNESS: Certainly after the closing, I               1127            2   date by which Kemira would fully remedy the problems                    11:28
  3   know they were discovering problems that — I don't                11:27       3   referenced in the OSHA complaint?                             1128
  4   recall were latent defects, nothing obvious. But we              11:27        4       A. It-- it could have been. I don't                  11:28
  5   started investigating, and they were finding                 11:27            5   remember. I almost think it was something else, but                 11:28
  6   problems. I'm not an engineer. I don't really know               11:27        6   1 just don't recall.                               11:28
      how it happened,but ere werera                     ems. Hz /                 -        Q.        y.        s        t says to th              fl2W'--              —

  8       Q. (BY MR. BILLECK): Let me just ask it this                  11:27       8   witness statement, you would have no reason to                     11:28
  9   way: Were there material defects and problems with                 11:27      9   believe that's inaccurate; correct?                       11:28
 10   the Kemira plant that you and Kerr-McGee knew about                   11:2   10       A. If this is an accurate representation of              11:28
11    in advance of closing the purchase agreement that you              11:27     11   the witness statement I signed, I remember carefully                11:28
12    merely ignored or did not care about?                       11:27            12   reviewing it and thinking it was perfectly accurate               11:29
13           MR KASSOF: Object to the fort of the                    11:27         13   when I signed it, so, yes,                             11:29
14    question. Compound.                                    11:27                 14       Q. And after looking at i1 here today, I think            11:29
15           WITNESS: I don't recall being aware of any               11:27        15   you said — you can tell me — do you have any reason                 11:29
16    big problems prior to the closing.                       11:27               16   to believe that this is not an accurate copy ofthe             11:29
17           Let me qualify it. It seems like there's           11:28              17   witness statement you signed?                              11:29
18    one little blurb that happened the night before               11:28          18       A. I mean, I have no reason to believe that               11:29
19    closing and I think it was mentioned in this witness             11:28       19   its not accurate, but it's not like I've initialed          11:29
20    statement I can't recall now exactly what it was,              11:28         20   every single page or something, but, you know...                  11:29
21    but I think it was a qualifier on asbestos or               11:28            21          MR WALTERS: And I'm sorry. Just for                        11:29
22    something.                                        11:28                      22   clarification, were talking about Exhibit I now, his             11:29
23       Q. (BY MR. BILLECK): You're welcome to look at                    11:2    23   witness statement?                                   11:29
24    the witness statement to refresh your recollection as           1128         24          MR. BILLECK: His witness statement, yes.                    11.29
25    you refer to it, but could it have been the issue            11:28           25          WITNESS: Okay.                                   11:29

                                                                  Page 88                                                                             Page 89
  1            MR. WALTERS: The witness was looking—                      11:29     1   not?                                         11:30
  2            WITNESS: I was at the --                         11:29               2       A. Pete Woodward, yes, yes.                          11:30
  3            MR. WALTERS: -- at Mr. Woodward's.                         1 129     3       Q. Did behave a substantial involvement or                 11:30
  4            WITNESS: He's right.                            11:29                4    limited involvement?                                1130
  5            MR. BILLECK: I apologize for the                      11:29          5       A. I would say very substantial.                     I l30
  6    confusion.                                        11:29                      6       Q. Was Mr. Woodward, as the individual in                   11:30
  7            WITNESS: Okay. But you're right. No —                   11:29        7   charge of the Chemical Division at Kerr-McGee, a                    11:3
  8    if this, in fact, is my -- a copy, a true and              11:29             8   proponent of completing the Kemira acquisition?                   1 131
  9    accurate copy of my original witness statement, t                 11:29      9       A. 1 believe, yes.                            11:31
10     reviewed it very carefully before I signed it. And I             11:29     10        Q. Was there anyone else that you can recall              11:31
11     then and now still feel comfortable it was accurate.              11:29    11    that was a proponent or in favor of completing the               11:31
12         Q. (BY MR. BILLECK): And sitting here today,                     11:2 12     Kemira acquisition?                                  11:31
13     you have no basis to believe that is not a true and             11:29      13        A. Yes.                                    1131
14    accurate copy ofthe witness statement you submitted;                 11.29 14         Q. Who else?                                  11:31
15    correct?                                         11:30                      15        A. Certainly a gentleman named Joe Flake, who                 11:31
16         A. That is correct.                             11:30                  16    was Chemical's head ofbusiness development or                     11:31
17         Q. Let's mark this --actually, we don't need              11:30        17    something at that time, and — I mean, I heard no one             11:31
18    to mark it It's marked as Adams Exhibit 2. This is                11:30     18    who was against it. I heard no objection voiced                11:31
19    a copy -- a current copy of the complaint filed in              11:30       19    against it from anyone.                              11:31
20    the lawsuit.                                      11:30                     20        Q. What about — do you know an individual                   11:31
21         A. Okay.                                     11:30                     21    named Bobby Brown?                                      11:31
22         Q. Will you turn to page 12?                         11:30             22        A. Oh, yes.                                 11:31
23        A. Okay.                                      11:30                     23        Q. Do you recall if Mr. Brown was in favor of              11:31
24        Q. Let me ask this: Mr. Woodward was involved                    1 1:30 24    completing the Kentira acquisition at the time?                11:31
25    in connection with the Kemira acquisition, was he                   11:30 25          A. I'm not even sure he knew about it. He                11:3 I

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  1    question. I'm not sure how it's going to read.             11:37            1    assets?                                      11:39
  2           When you talk about "they may have paid                11:37         2       A. My understanding — this is from                  11:39
  3    more for the asset or left money on the table," that          11:37         3    discussions with Pete Woodward and Joe Flake — were              11:3
  4    is a conclusion that was reached after the deal             11:37           4    that — I have no personal knowledge of this, but           11:39
  5    closed, or was that something that was known before              11:37      5   that the Kerr-McGee board in the late '90s time frame          11:39
  6    the Kemira deal closed?                              11:37                  6    thought it would be appropriate to have the overall         11:39
                        SOF-OI>jEd =o ec                          I t37            7 -- busmess~e ne- oiht tchemical
                                                                                                            a          and             oil and        1139
  8    Foundation. You're asking him personally or the                11:38        8   gas because they tended to naturally hedge                 11:39
  9    company?                                         11:38                      9     themselves.                                       11:39
10            MR. BILLECK: I'm asking Itim, to the best            11:38         10              When oil and gas prices were up, chemical              11:39
11    of his knowledge.                                  11:38                   11      was sometimes down. When oil and gas prices were                     11:39
12            WITNESS: No, I — I don't know. I don't            1138             12      down, chemical was up. And that's why they                      11:39
13    have any personal knowledge of that.                     11:38             13      authorized buying the Bayer or Byer Chemical thing in                11:40
14        Q. (BY MR. BILLECK): Did you ever hear anyone                  11:3    14      '98, and it sold them up to the one-third weight, and            11:40
15     in advance of the Kemira transaction closing say or          11:38        15      so they wanted to get some more assets.                       11:40
16    do anything to give you the impression that                11:38           16              And — and Kemira's Ti02 assets fit the               11:40
17    Kerr-McGee was intentionally overpaying for the                11:38       17      bill. It was we hard to build the brand new ones               11:40
18    assets of Kemira?                                 11:38                    is      because of environmental permitting or something,                  11:40
19        A. Overpaying, no.                             11:38                   19      they called them, planes. So it was easier to buy              11:40
20        Q. Do you believe the purpose of the Kemira              11:38         20      existing assets.                                  11:40
21    transaction was to allow Kerr-McGee to foist legacy            11:38       21          Q. Had the one-third chemicalitwo•thirds oil               11:40
22    liabilities onto Kerr-McGee Chemical?                     11:38            22      and gas hedging strategy gotten out of whack, meaning                11:40
23        A. No.                                    11:39                        23      they weren't two-thirds/one-third at some point prior             11:40
24        Q. What did you understand to be the driver             11:39          24      to the Kerrrira acquisition?                            11:40
25    for Kerr-McGee to want to acquire additional chemical            11:39     25          A. No. Well, maybe. l don't know. I                     11:40

                                                                 Page 96                                                                             Page 97
  1    don't — I know afterwards it seemed to get out of             11:40         1    increase their market share and give them economies                 11:42
  2    balance, but I'm not sure about before.                  11:40              2    ofscale. I think they thought it would be very,               11:42
  3        Q. Well, prior to the Kemira acquisitios did            11:40           3    very good for Kerr-McGee Chemical.                             11:42
  4    Kerr-McGee acquire a company called Oryx?                        11:40      4           I think they would become second or third               11:42
  5        A. Yes.                                     11:41                       5    largest and able to better compete with DUPONT, who                   11:4
  6        Q. Was Oryx an oil and gas company?                     11:41           6    was the largest.                                   11:42
  7        A. Yes.                                     11:41                       7        Q. Did you view their basis for wanting to                11:42
  8        Q. Do you recall if the acquisition of Oryx           11:41             8    complete the Kemira acquisition as good faith efforts              11:42
  9    may have disturbed the two-thirdslone-thirds balance             11:41      9    to better and to improve the Chemical company?                     11:43
10     desired for the hedging of the markets?                  11:41            10         A. Yes, I did.                                11:43
11         A. I think it may well have. I don't remember            11:41        11         Q. Do you recall whether or not there was                 11:43
12     ever giving it much consideration. I think Oryx was             11:41     12     anything particular or unique with respect to the               11:43
13     a big company, it was a big merger, but I don't              11:41        13     technology that the Kemira facilities employed that               11:43
14     remember the relative values.                         11:41               14     made it particularly valuable to Kerr-McGee?                     11:43
15         Q. Did Pete Woodward explain to you why he was                 11:4   15         A. Yes.                                     11:43
16     a proponent of the Kemira acquisition?                    11:41           16         Q. What was that?                                11:43
17         A. Yeah. He and Joe Flake were both                   11:41           17         A. I was told it was based on Kerr-McGee's                  11:43
18    proponents. I'm not sure I can keep them separate.              11:41      18     base technology for producing TiO2 pigment.                      11:43
19    It's almost like they were jointly for it, very much         11:42         19         Q. When you say "it was based," what is the                 11:43
20    so.                                            11:42                       20     "it" you're referring to, the two plants that were           11:43
21        Q. Why did you understand Mr. Woodward and                     11:4    21     being acquired?                                     11:43
22    Mr. Flake to be big proponents jointly in favor of             11:42       22         A. I'm sorry. Two plants are being acquired,              11:43
23    completing the Kemira acquisition?                        11:42            23     both made titanium dioxide. Clearly, the one in                 11:43
24        A They were very high on the potential of its            11:42         24     Botlek, the Netherlands, was based on Kerr-McGee's                  11:43
25    titanium dioxide,1102 business, and this would                  11:42      25     proprietary license technology.                          11:43

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     1    next page, page 3 of the exhibit, do you see it says              03:31                1      A. No, I believe it was written in April or                03:32
     2    'movement or allocation of assets and liabilities"?                03:31               2    May of 2005.                                  03:32
     3    Do you see that heading?                                 03:31                         3      Q. Right. Then the assignment, assumption and                     03:32
     4      A. Okay- Roman numeral I at the very top,                       03:31                4    indemnity agreement was backdated to be effective                    03:32
     5    yes.                                           03:31                                   5    December 31, 2002, consistent with the Project Focus                  03:32
     6       Q. Yes.                                      03:31                                  6    closing date; right?                                03:32
     /
             A. yes.           --     —                03)T                                      7                           3octton omt.                            3:3
     8        Q. And that's consistent with some of the work                 03:31               8          WITNESS: Yes, that, I think, is correct.               03:32
  9       that was done on Project Focus; right? Thee were a                   03:31          9          Q. (BY MR. KASSOF): And movement and                               03:3
 10       movement — there was a movement and an allocation of                      03:31    10       allocation of assets and liabilities, the description         03:32
 11       assets and liabilities between Kerr-McGee Oil & Gas                    03:31       11       in Addison Exhibit 11, that's consistent with the              03:33
 12       and what was at the time Kerr-McGee Chemical                           03:31       12       work that was done and agreed to in connection with                  03:33
 13       Worldwide; correct?                                     03:31                      13       the assignment agreement and the assignment,                        03:33
 14         A. I think that is correct to some extent,                 03:32                 14      assumption and indemnity agreement; correct?                         03:33
 15       yes.                                      03:32                                    15         A. Pm not certain. I believe probably yes,         03:33
 16          Q. And, in fact, we even saw the assignment,                   03:32           16       but I don't recall — what you're calling Addison        03:33
 17       assumption and indemnity agreement and the assignment                      03:3   17       Agreement 11, 1 do not yet recall what was done about        03:33
 18       agreement, both of which were backdated to be as —                  03:32         18       movement and allocation of assets and liabilities.       03:33
 19       effective as ofDecember 31, 2002; right?                        03:32             19           Q. Let's look at it. Under the fast one, A,              03:33
 20              MR. BILLECK: Objection, form.                           03:32              20       it talks about preparing a comprehensive chart,                 03:33
 21              WITNESS: There was such a document and it                     03:32        21       right, showing all existing corporations, companies               03:33
 22       was dated as of December 31st, 2002.                           03:32              22       and partnerships —                                03:33
 23         Q. (BY MR. KASSOF): We'll come back to that                      03:32          23           A. Yes.                                   03:33
 24       document, but it wasn't -- it wasn't written as of            03:32               24           Q. And indicating the ownership interest in                0333
 25       December 2002; correct?                                  03:32                    25       such entities.                                03:33

                                                                         Page 216                                                                              Page 217

     1        Do you see that?                     03:33                                     1       different liabilities and assets that would need to            03:34
 2         A Yes.                               03:33                                        2       be allocated consistent with the heading "moved or                   03:34
 3         Q. Do you know who was assigned that work at                          03:33       3       allocated" under Project Focus; correct?                      03:34
 4       Kerr-McGee under Project Focus?                                   03:33             4              MR. BILLECK: Objection, form.                          03:34
 5          A. No, but probably someone in the tax                          03:33            5              WITNESS: It does appear to list a number                 03:34
 6       department                                        03:33                             6       of things that might be at located among different               03:34
 7          Q. And then the second one, I-B, talks about                    03:33            7        entities.                                       03:35
 8       identifying all business assets, liabilities, and               03:34               8           Q. (BY MR. KASSOF): Right. And it's all                  03:35
 9       legal entities which will comprise each of the new                  03:34           9       consistent with the work that was undertaken at              03:35
10       intermediate holding companies of Kerr-McGee at the                     03:3       10       Kerr-McGee in 2002 under Project Focus; right?                  0335
11       time of the reorganization. Do you see that?                      03:34            11           A. I have no reason to disagree.                   03:35
12          A Uh-huh.                                 03:34                                 12           Q. And under 1-132, "verify that no assets or           03:35
13          Q. Do you know who was assigned that task at                       03:34        13       liabilities currently held by a direct or indirect        03:35
14       Kerr-McGee?                                    03:34                               14       subsidiary of a Kerr-McGee operating corporation                03:35
15          A. I do not recall, no.                              03:34                    15         needs to be moved to another subsidiary." Do you see             03:35
16          Q. And then B-I talks about determining                         03:34         16         that?                                           03:35
17       whether items reflected on the Kerr-McGee operating                        03:34 17            A Uh-huh.                                    03:35
18       corporation balance sheer are to be held at that                   03:34           18          Q. That's correct? You see that; right, sir?              03:35
19       level, that company's level, or allocated among its                 03:34          19          A I see that, yes.                           03:35
20       direct and indirect subsidiaries-                          03:34                   20          Q. Okay. That's also consistent with the work               03:35
21          A Uh-huh.                                   03:34                               21       that Kerr-McGee did in -- under Project Focus; right?             03:35
22          Q. Identify and allocate corporate level under                 03:34            22          A. You know, I really don't know. It makes                  03:36
23       shared assets and liabilities among the entities;                 03:34            23       sense, though.                              03:36
24       right?                                          03:34                              24          Q. It especially makes sense since there was                03:36
25                Then underneath it lists a whole host of               03:34              25       an assignment, assumption and indemnity agreement                      03:3 .̀


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                                                                  Page 226                                                                              Page 227
   I     A. Okay.                                       03:45                            1    with the work that was shown to you in Project Focus             03:46
   2     Q. If you look at heading 1, it says 'Movement               03:45              2    of Exhibit 11, and then you look back at I -B, which            03:46
   3  or allocation of assets and liabilities"; right?            03:45                  3    is the work described by Si mpson Thacher under the               03:46
  4      A. Yes, it does.                                 03:45                          4    Project Titan spinoff, its almost the same except            03:46
   5     Q. And that's the same heading in the Project               03:45               5    you'll notice that the reference to "spin company'            03:46
   6  Focus, Exhibit II document, II months later; right?               03:45            6   and" spinoff" was deleted from the version that you              03:46
— T1tlooks1ikh11, yes.                            -'---03` 5             —               I   got m rojec fF ocus in 2002.                           03r46        --
  B      Q. And ifyon look at 1-A in both documents,                  03:45          8               Do you see that, sir?                       03:47
  9   the Project Titan checklist and the Project Focus               03:45          9           A. Tell me exactly where. I see a Spinco in              03:47
 10   checklist, Simpson Thacherbasically put the exact                03:45        10       capital B paragraph.                                03:47
 11   same description for the work to be done; correct?               03:45        11           Q. You're looking under 1-Ban Exhibit 13,                 03:47
 12      A. Looks like it to me, yes.                         03:45                 12        which is the Project Titan spinoff document, correct?           03:47
 13      Q. And you've got no reason to believe you                  03:46          13           A. Yes.                                    03:47
 14   ever got this Project Titan spinoff checklist;               03:46            14           Q. If you look at 1-8 on the Project Focus              03:47
 15   correct?                                         03:46                        15       reorganization document, which is the one that you               03:47
 16      A. I have no reason to believe that, and I               03:46             16       got from 2002, you'll notice that the references to           03:47
 17   don't remember ever receiving it                          03:46               17       Spinco and spinoff were deleted from that entry;               03:47
 18      Q. And when you got that Project Focus                     03:46           18       correct?                                       03:47
 19   check list that was forwarded from Simpson Thachcr, no               03:4     19               MR. BILLECK: Objection, form.                       03:47
 20  one ever told you That there was this other Project             03:46          20               WITNESS: Correct.                             03:47
 21  Titan checklist floating around from II months                   03:46         21           Q. (BY MR. KASSOF): And then if you look under                  03:4
 22  earlier, truce                                     03:46                       22        1-B-(,'Movement orallocation ofassets; where it                 03:47
 23      A. I sure don't recall, sot think that's              03:46                23       talks about determining the allocations among the               03:47
 24  true.                                           03:46                          24       various businesses, if you start chronologically with          03:47
 25      Q. And if you look at 1-B, why don't we start               03:46          25       the Project Titan spinoff document, you'll see lots           03:47

                                                                 Page 228                                                                               Page 229
    1    of lists of items that we talked about earlier that         03:47           1        Project Focus in 2002 actually was first derived to              03.49
  2      was identical to the work to be done under Project              03:47       2        be a task under a proposed spinoff of Project Titan,              03:49
 3       Focus reorganization; correct?                         03:47                3        the Chemical operations; correct?                          03:49
 4               MR. BILLECK: Objection, form.                       03:48           4               MR. BILLECK: Objection, form.                          03:49
 5               WITNESS: They look very similar. I've not              03:48        5               WITNESS: I certainly never heard of it.                03:49
 6       read each - every A through whatever it is, Q, R, S.            03:48       6       No one explained that to ntc.                              03:49
 7       compared them, but they look very similar.                    03:48         7            Q. (BY MR. KASSOF): Then if you look at 1-D,                     03:4
 8           Q (BY MR. KASSOF): And if you go to -- under                   03:48    8        "determine tax liability allocations," that's how              03:49
 9        1-B-2 on the Project Titan spinoff document that you             03:48     9        its described under the Project Focus checklist in              03:49
10       didn't get in 2001, the movement of allocation of              03:48       10       2002.                                             03:49
11       assets or liabilities, you see that the entry says         03:48           11            A. Uh-huh.                                      03:49
12       "Verify that no assets or liabilities currently held         03:48         12            Q. It's almost the exact same thing as what's              03:49
13      by Spinco need to be moved to Kerr-McGee and vice                    03:4   13       described a year earlier by Simpson T teacher in                  03:49
14      versa.' Do you see that?                              03:48                 14       connection with the Project Titan spinoff analysis;               03:49
15              MR. BILLECK: Object to the form.                     03:48          15       correct?                                          03.49
16              WITNESS: This is what it says, yes.                03:48            16            A. This looks a little dif1 rent than the              03:49
17          Q. (BY MR_ KASSOF): All right. Then if you                    03:48     17       other tab, but there's some similarity there.                 03:49
18      look at - go back to the Project Focus, Exhibit 1 i             03:48       1B            Q. Then you go to heading 2, 'potential                   03:50
19      checklist, you see that again? It's almost identical          03:48         19       impediments to movement, allocation of assets and                   03:50
20      in the tasks, except from - except forthe fact that           03:48         20       liabilities,' that's what it says on Exhibit 13, the          03:50
21      the version that you got in 2002 for Project Focus              03:48       21       Project Titan spinoff document in 2001; right, sir?               03:50
22      deletes the reference to "Spinco"; correct?                 03:48           22            A. I'm looking. It appears to be the same,               03:50
23          A. Yes. it refers to KMOC instead.                    03:49             23       yeah                                             03:50
24          Q. And no one told you, at the time that you             03:49          24           Q. Okay. When you say 'it appears to be the                  03:50
25      got this, that this task that was identified in           03:49             25       same," you mean that its the exact same language                   03:50

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                                                                   Page 242                                                                                    Page 243
     1        A. The way you keep saying that, I think                0406               1            A. That's certainly what this slide suggests.            04:07
     2    you're going to try and surprise me with something,             04:06          2        that's what it states.                              04:07
     3    but I don't recall ever hearing about Titan or any of         04:06            3            Q. I'm going to mark as Exhibit 15 the second               04:07
     4    this stuff, no.                                 04:06                          4        Lehman presentation we have dated January 5, 2001 _                 04:0
     5        Q. To kill all the suspense, I'm going to tell        04:06                5        It's a presentation from Lehman Brothers to                    04:08
     6    you now that I don't have a document that says that             04:06          6        Kerr-McGee titled 'Update on Project Titan."                    04:08
         you were in any way io theoop on any o t 1s sOrtS.              0406'"              —              kddison             o.                            04:08
  B      okay?                                           04:06                       8                Q. (BY MR. KASSOF): Do you have that, sir?                     04:08
  9           A. Okay, good, because I never heard any of              04:06         9                A. I do, yes.                                 04:08
 10      this.                                         04:06                        10                Q. I take it, consistent with your testimorry            04:08
 11           Q. And then if you look at page 2-19, it says           04:06         11            earlier, you don't recall ever seeing this while you           04:08
 12       'Project Titan two-step spinoff transaction," do you           04:06      12            were working on Project Focus or working in                      04:08
13       see that, sit?                                   04:06                     13            connection with the spinoff at Kerr-McGee; correct?                04:08
 14          A. Yes.                                     0407                       14                A. Let me try and quickly look at it.                  04:08
15            Q. Have you ever heard anybody talk about a               04:07       15                Q. Please do.                                  04.08
16       spinoff of the Chemical Division as a two-step                04:07        16                A. If the cover sheet date is correct, I don't          04:08
17       spinoff transaction at Kerr-McGee?                         04:07           17            think I've seen this or anything like that.                04:08
18           A. No. I've heard of"dual track," but I've             04:07           18                Q. All right. And if you can ask you to look              04:08
19       not heard of two-step.                               04:07                 19            at page Roman numeral 1-I of the January 5th, 2001                 04:09
20           Q. Would you agree with me that in August of                04:07      20            Lehman presentation, do you see that?                        04:09
21       2000 Lehmau Brothers was describing a possible IPO                  04:0   21                    At the top it says "executive summary,               04:09
22       and spinoff of the Chemical Division as a two-step              04:07      22            strategic alternative considerations.' Are you with             04:09
23       transaction —                                    04:07                     23            me?                                            04:09
24               MR. BILLECK: Objection, form.                       04:07          24                A. Yes. Page 973?                                 04:09
25           Q. (BY MR KASSOF): — correct?                           04:07          25                Q. Yes, sir.                                 04:09

                                                                  Page 244                                                                                    Page 245
 1            A. Yes, I see it.                            04:09                         1        a pure play E&P business and that it was being                  04:10
 2            Q. Ifyoa look under "market considerations, -           04:09          2            penalized in the marketplace for its chemical                 04:10
 3        you see that in January of 2001 Lehman Brothers was              0409      3            exposures, that's consistent with everything you were             04:10
 4        advising Kerr-McGee that investors continue to                04:09        4            hearing during the dual-track process in 2005;                 04:10
 5        penalize Kerr-McGee for its chemicals exposure.                04:09       5            correct?                                       04:10
 6               Do you see drat?                           04:09                    6               A. When you say "everything," that covers an                 04:10
 7            A. Yes.                                    04:09                       7            awful lot ofstuff.                                04:10
 a            Q. Lehman Brothers was also telling Kerr-McGee              04:09      8               Q. Sure.                                     04:10
 9        in January of 2001 that a, quote/unquote, pure play           04:09        9               A. I think that generally is correct                 04:10
10        E&P should trade at a higher multiple than Kerr-McGee             04:0    10               Q. And you had no idea that the notion ofa                 04:10
11        today.                                        04:09                       11            pure play E&P business that would trade at a higher               04:11
12               Do you see that?                           04:09                   12            value then the combined Oil and Gas and Chemical                   04:11
13           A. Yes.                                     04:09                      13           Operations of Kerr-McGee was being proposed by Lehman                    04.1
14           Q. First question: Were you aware that Lehman              04:09       14            Brothers all the way back in January of 2001?                  04:11
15        Brothers, Kerr-McGee's outside investment banker, was             04:C    15               A. I had no idea_                              04:11
16       advising it that it was being penalized in the             04:09           16               Q. If you look at page Roman numeral 1-2 of                 04:11
17       marketplace by investors for its chemical exposure as           04:10      17           the January 2001 presentation under "structural                 04:11
18       early as January of2001?                              04:10                18           considerations," do you see that?                         04:11
19           A. Certainly not that early_. Somewhere along            04:10         19               A. Yes.                                     04:11
20       the line this became kind of the company mantra. The             04:10     20               Q. If you look at the third bullet, in January          04:11
21       outside investors were saying we would be more                 04:10       21           of 2001 Lehman Brothers was telling Kerr-McGee that                   04:11
22       valuable as a pure play oil and gas company, and it           04:10        22           the legacy liabilities with chemicals and                   04:11
23       wasn't getting full value for the chemical business,         04:10         23           discontinued operations was a structural                     04:11
24       but I think that was for later than January 2001.           04:10          24           consideration that Kerr-McGee needed to think about;                04:11
25           Q. Right. The company mantra that it would be             04:10        25           correct?                                        04:11

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 1        A. Well, in PowerPoint speak I think that's              04:1 I           1   considerations," do you see that, third row down?               04:13
 2    what the bullet joint suggests, yes.                     04:12                2       A. Oh, oh, okay: Yes, l do see it.                  04:13
 3        Q. That's what you would read that to mean                 04:12          3       Q. One of the issues and considerations that             04:13
 4    looking at the document; right?                          04:12                4   Lehman Brothers was flagging for Kerr-McGee in 2001                  04:1
 5        A. It's something to consider, yes.                  04:12                5   was that the legacy environmental issues could                 04:13
 6        Q. And in January of 2001 Lehman Brothers is                 04:1:        6   possibly be left with Titan — that's left with the          04:13
      telling err-        ee to consider an    m about, in           — 0"                      tcal business-- shoo     en c(, <eeh se to spin
 0    your strategic alternatives for the Chemical                 04:12           8    off the E&P business instead.                           04:13
 9    Division, the legacy liabilities with chemicals and             04:12        9           Do you see that?                             04:13
                                                                                                                                                                   i
10    discontinued operations; correct?                         04:12             10           MR. BILLECK: Objection, form.                        04:13
11        A. Yes.                                     04:12                       11           WITNESS: I see that. That's what it seems              04:13
12        Q. Then ifyou look at -- let's go to page              04:12            12    to suggest                                       04:13
13    Roman numeral I-10 of the January 2001                         04:12        13        Q. (BY MR. KASSOF): And did you know, at the                    04:13
14    presentation —                                    04: 12                    14    time that you were working on Project Focus, that               04:13
15        A. Yes.                                    04:12                        15    Lehman Brothers, long before then, a year before                 04:13
16        Q. --there's a discussion of a summary of                04:12          16    exactly, was talking about strategic alternatives and          04:13
17    alternatives. On the right-hand side of the chart is          04:12         17    spinoffs for Kerr-McGee that would allow Kerr-McGee                  04:1
18    something called a "straight splitoff or spinoff."            04:12         18    to possibly leave the legacy environmental issues              04:14
19    Do you see that?                                   04:12                    19    with the chemical business and not the E&P business?               04:14
20        A. Hang on a second I may have the wrong                    04:12       20           MR. BILLECK: Objection                             04:14
21    page. You said it was oh, on the right side?
                               --                                  04:13          21       Q. (BY MR. KASSOF): Were you aware of that?                      04:14
22        Q. Yes, sir.                                04:13                       22           MR. BILLECK: Objection, form.                        04:14
23        A. I m isunderstood.                             04:13                  23           WITNESS: 1 was not aware of that.                    04:14
24           Yes, 1 see that.                          04:13                      24       Q. (BY MR. KASSOF): And did you know that that                    04:14
25        Q. And if you l ook under "issues and                   04:13           25    was known to Kerr-McGee at the time that you were                  04:14

                                                               Page 248                                                                           Page 249

  1    doing — and others were working on Project Focus?                 04:14      1       A. I see those wads, yes.                          04:15
  2          MR_ BILLECK: Objection, form_                         04:14            2       Q. Then underneath it, where it talks about                04:15
  3          WITNESS: No, I did not know that.                     04:14            3   issues and considerations, Lehman Brothers, as early                04:15
  4       Q. (BY MR. KASSOF): If you look at the very                    04 :14     4   as January of 2001, is raising as an issue and                 04:15
  5    next page -- right now were talking about on I-10               04:14        5   consideration, quote, what is the Titan story for               04:15
  6    discussions about a straight spinofT'or splitoff            04:14            6   investors?                                         04:15
  7   option; right?                                     04:14                      7           Do you see that?                              04:15
  8          Then if you look at the I- I 1 of the January         04:14            8       A. No. What do you mean? What is the                        04:15
  9   2001 presentation, can you look down at the issues                04:14       9   Titan —                                         04:15
10    and considerations, do you see that?                       04:14            10        Q. Third bullet down under the IPO splitoff--               04:15
11        A. I see the heading. Which column?                      04:14          11        A. There it is. I'm sorry. I was looking at              04:15
12        Q. On the executive summary on the left-hand                 04:15      12    the wrong line.                                      04:15
13    side, sir.                                      04:15                       13        Q. Do you see that?                                04:15
14        A. Al I right.                                04:15                     14        A. Yes.                                       04:15
15        Q. Again, we're under the IPO splitoff or                04:15          15        Q. So in January of 2001, when there's all                 04:15
16    spinoff option; right?                               04:15                  16    this talk about a splitoff or spinoff, one of the             04:16
17        A. Ub-huh.                                     04:15                    17    issues or considerations that Lehman Brothers flagged                04:16
18        Q. In fact, before we even get to the issues,           04:15           18    for Kerr-McGee was, as a question, what is the Titan                04:16
19    if you look under the advantages, the second row?                 04:15     19    story for investors? Do you see that?                        04:16
20        A. Yes.                                      04:15                      20            MR. BILLECK: Objection, form.                          04:16
21        Q. You seethe third bullet says that one of             04:15           21            WITNESS: Yes, I see that.                         04:16
22    the advantages of this spinoff, back in January of             04:15        22       Q. (BY MR. KASSOF): They put "story" in                         04:16
23    2001, would be that it would provide a complete                  04:15      23    quotes; right?                                      04:16
24    separation, evidencing strategic clarity.                  04:15            24       A. Its in quotation marks, correct.                     04:16
25           Do you see that?                             04:15                   25       Q. Meaning, as a person looking at this                    04:16

                                                                                                                63 (Pages 246 to 249)

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     1              WITNESS: When you say back to back,                  04:26             1  to three options; right?                        04:28
     2       they're, what, four, five months apart, but, yes,!        04:26               2      A. That is what it says.                    04:28
     3       guess you can say that's back to back.                  04:26                 3      Q. And one of the ones that they eliminated         04:28
     4          Q. (BY MR KASSOF): Right.                             04:26                4  was the tracking stock alternative; true?             04:28
     5              This theme that investors were penalizing          0426                5         MR. BILLECK: Objection, form.                   04:28
     6       Kerr-McGee for its chemical exposure and that a pure           04:2           6         WITNESS: I mean, its on this chart, but         04:28
         —   p1sy     Ptst7smti55~v lti'tt~ite xhighEt ittltltPple,.--     04.         ~I — it dCtwiitir32 istide —                                  ---
 8        that's the same theme as you mentioned earlier that            04:27         8          Q. (BY MR. KASSOF): Ifyou look at slide I-12,                04:28
  9       would be consistent with the mantra that Kerr-McGee               04:2       9       which is the next slide —                           04:28
10        was touting in 2005; true?                           04:27                  10          A. Oh, okay-                                  04:28
11            A. It appears to be, yes.                      04:27                    11          Q. — I think it will be clear to you that the        04:28
12            Q. And every time you heard that mantra, you              04:27         12       tracking stock alternative was eliminated as one of           04:28
13        had no idea that it was told to Kerr-McGee as a              04:27          13       the proposed strategic options?                        04:28
14        consideration for them to assess all the way back in          04:27         14          A. Okay. Do you want me to look at 1-12 or--              04:28
15        2001; right?                                   04:27                        15          Q. Father one.                                04:28
16               MR. BILLECK: Objection, form.                       04:27            16          A. Okay. Let me look at 1-12.                       04:28
17               WITNESS: I'm very surprised that those               04:27           17              Yes, I agree, it looks like they deleted         04:28
18        words were used in that time frame.                      04:27              18       the tracking stoat on page 1-12.                       04:28
19            Q. (BY MR KASSOF): if you look at slide 1-I 1,              04:27       19          Q. The option that Lehman Brothers told                  04:28
20        executive summary range of strategic alternatives.            04:27         20       Kerr-McGee — the strategic alternative for the              04:28
21        It ends with Bates number 893 —                        04:27                21       Chemical Division that would still allow the oil and           04:28
22             A. Yes. ,                                  04:27                       22       gas assets to be attached to the legacy liabilities             04:28
23             Q. — you'll notice that Lehman Brothers was                04:27       23       was eliminated by Lehman Brothers as an alternative          04:21
24       telling Kerr-McGee that after looking at a number of                04:27    24       as of April 2001; right?                         04:28
25       strategic alternatives, they narrowed the list down               04:28      25              MR- BILLECK: Objection, form.                   04:29

                                                                    Page 260                                                                                 Page 261

     1         Q. (BY MR. KASSOF): That's what it appears to                  04:29    1       page jogged my memory on.                                 04:30
 2       you, doesn't it, sir?                              04:29                      2          Q. Sure.                                    04:30
 3          A. I'm sorry. I got distracted by the spinoff         04:29                3          A. I may be totally wrong. My testimony                     04:30
 4       Kronos- I don't know how that got in there. I just          04:29             4       earlier -- speaking at one time I thought Kerr-McGee               04:30
 5       got confused- I'm sorry.                           04:29                      5       was looking at Kronos, and it was unsuccessful                   04:30
 6          Q. Do you wars me to reask my question?                  04:29             6       because of environmental issues or something. I see               04:30
 7          A. Would you, please?                            04:29                     7       the word Kronos here on this page 1-12 and 1— it                04:30
 8          Q. Sure.                                  04:29                            8       seems like in association with Kronos, I once heard          04:30
 9          A. I apologize.                             04:29                          9       the time Project Titan perhaps.                      04:30
10          Q. The tracking stock alternative that Lehman                04:29        10              Remember 1 said Project Apollo was the             04:30
11       Brothers highlighted for Kerr-McGee as having one of                04:2     11       Kemira acquisition and Project Hawk was the HS? You              04:31
12       the negatives that the oil and gas assets would stil 1         04:29         12       know somewhere I vaguely recall, tied in with a look          04:31
13       be attached to the legacy liabilities but not be             04:29           13       at purchasing Kronos, they may have called it Titan          04:31
14       isolated from the legacy liabilities, that was              04:29            14       or something.                                    04:31
15       eliminated by Lehman Brothers as one of the possible                 04:29   15             Maybe I shouldn't even have said that, but           04:31
16       strategic alternatives for Kerr-McGee to pursue as of              04:29     16       I testified earlier I'd never heard Titan. It just       04:31
17       April 2001; correct?                              04:29                      17       dawned on me I may have heard it in association with             04:3 1
18                MR. BILLECK: Objection, form.                       04:29           18       looking at Kronos.                                 04:31
19                WITNESS: That certainly appears to be what              04:29     19             Q. But certainly not in association with a            04- 31
20       the conclusion is on this page.                          04:29             20         possible spinoff of the Chemical operation as of                04:31
21            Q. (BY MR. KASSOF): And spinoff options were                     04:2 21         April of 2001; correct?                               04:31
22       still on the table as of April 2001; correct?              04:29           22            A. Correct.                                  04:31
23            A. Yes, there are two spinoff options                 04:30             23          Q. If y ou can turn to page 1-19, there's an           04:31
24       mentioned.                                    04:30                          24       executive summary provided by Lehman Brothers in this                   04:3 I.
25             1 would like to mention something that this            04:30           25       April 2001 presentation.                             04:31


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    1    what I've said earlier, that they kept talking about       05:09                       1   as Addison Exhibit 18, a memorandum. We identified                      05:11
    2    this pure play oil and gas company, and that it would         05:09                    2   on the top as a draft ofluly 12, 2002 from Simpson                     05:11
    3    be after the proposed spinoff or sale of Chemical,          05:09                      3   Thacher & Bartlett. The Bates numberatthe bottom                        05:11
    4    which later became Tronox.                            05:09                            4   is KMTRX566713.                                    05:1
    5           1 don't recall emphasis being on separating        05:09                        5         Do you have that sit?                      05:11
    6    the legacy liabilities from the oil and gas entity,       05:09                        6      A. I see that, yes.                               05:11
—   7Thu1 it was sort ot understood and a given —ff ? ~05 0
     8    what was occurring. It was also a function of that                    05:10           8   this memorandum were Mr. Filcher and Mr. Wohleber and                          05:1
  9       assignment and assumption agreement , slash,                          05:10           9   Mr. Reichenberger, right?                      05:12
 10       assignment assumption and indemnity agreement , the                      05:10       10      A. Yes, those are listed under the "to'                    05:12
 11       reciprocal agreements.                                     05:10                     11   heading.                                         05:12
 12              So when you say, was I aware of any              05:10                        12      Q. You're not identified; correct?                        05:12
 13       discussion of that, to the extent Ijust mentioned,        05:10                      13      A. Do not appear to be, no.                           05:12
 14       yes, in the 2005 time frame, starting sometime in mid         05:10                  14      Q. And you have no reason to believe that you                     05:12
 15       March, I guess I did hear that.                     05:10                            15   ever got this memo either, true?                             05:12
 16          Q. And you referenced the assignment and                05:10                     16      A. Let me look.                                   05:12
 17       assumption and the indemnity agreement and the               05:10                   17         I need to mention that the memo itself                   05:12
 18       conversations about separating net the oil and gas          05:10                    18   doesn't l ook at ail familiar, neither do the — or              05:13
 19       assets from the legacy liabilities in 2005, because                  05:10           19   the exhibits. But in the far back are a number of                 05:13
 20       that would be consistent with the desire to have                     05:10           20   charts showing new entities , things like that , which     05:13
 21       those oil and gas assets dean from the legacy                       05:10            21   seem vaguely familiar as Project Focus was at one            05:13
 22       liabilities; correct?                                05:10                           22   time explained to me or something.                     05:13
 23          A. I'm going to say yes.                05:10                                     23          1 mean, should I hold these up for the          05:13
 24                               I8 marked).
                 (Addison Exhibit No.                      05:11                               24   camera? I don't know what they really even say here.          05:13
 25          Q. (BY MR. KASSOF): Mr. Addison, I'm marking,                              05:1   25   Maybe FEE look at this page number. Some of this            05:13

                                                                         Page 284                                                                                   Page 285
    1     stuff looicsfamiliar.                                05:13                            1   chart listing various steps of a revised transaction                   05:14
    2        Q. Well, let me help you out.                         05:13                        2   step plan under a memo by Simpson Thacher in July of                           05:1
    3        A. Okay.                                        05:13                              3   2002; right?                                          05:14
  4          Q. Let me help you tart.                     05:13                                 4       A. Yeah, the revised transaction step plan          05:14
  5          A. But 1 don't remember ever seeing the memo.                      05:13           5   appears to be annex B to the memo.                     05:14
    6        Q. You've got -- attached to this memo is a                     05:13              6       Q. And we're in --just again to orient            05:15
  7       step-by-step plan, revised transaction plan, with a                  05:13            7   ourselves on the time line, we're in July 2002, which       05:15
  8       number of organizational charts; is that right?                     05:13             8   is smack dab in themiddle of Project Focus, right,         05:15
  9              MR. BILLECK: Objection, form.                               0513               9   which lasted from January of 2002 through -- well, at        05:15
 10          Q. (BY MR. KASSOF): Is that correct, sir? is                       05:13          10   least the closing — I'll put that in quotes—was        05:15
 11       that how you see it? Is that how you read it?                      05:13             11   December 31, 2002; right?                                      05:15
 12          A. You know, I didn't even look at all those                    05:13             12      A.    I think so.                                 05:15
 13       pages. 1 just recognized, l think, some of the                     05:13             13      Q. And this is —                                    05:15
 14       revised transaction stop plan sheets that are in                   05:14             14      A. You keep asking me about Project Focus. My           05:15
 15      annex B.                                            05:14                             15   recollection is, I had — even though I got these       05:15
16           Q. Right. And you'll recall, when we looked           05:14                       16   memos, l had very, very little involvement. It was       05:15
17       back at both the Project Titan spinoff checklist that      05:14                      17   primarily Dwayne Morris.                           05:15
18       Simpson Thacker put together in 2001 and the Project          05:14                   18           This was the time I was moving from                          05:15
19       Focus reorganization checklist that Simpson Thacher           05:14                   19   business transactions   to the Chemical Division            05:15
20       put together, which you saw in 2005, there was an           05:14                     20   assistant general counsel and was tasked with trying          05:15
21       identification of putting together detailed steps to     05:14                        21   to sell some assets there. I'd get copied in on this       05:15
22       effectuate this reorganization; correct?              05.14                           22   stuff but did not spend much time or investment or            05:15
23              MR. BILLECK: Objection, form.                   05:14                          23   intellectual curiosity at all in it.                 05:15
24              WITNESS: Yes.                                    05:14                         24      Q. My question was a little more focused.               05:16
25           Q. (BY MR. KASSOF): And on this         memoranda        is a              05: I4 25      A. Okay.                                          05:16


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                                                                           Page 286                                                                            Page 287
      1          Q. I said, Project Focus kicked off in January           05:16                  1         A. Yes.                                      05:17
      2      of 2002, which we saw; right?                           05:16                       2         Q. And then the next bulletsays -- has a               05:17
      3          A. Yes.                                    05:16                                3     reference to how to effectuate a straight spinoff of           05:17
      4          Q. You know, from the backdating of the                   05:16                 4     Titan, the Chemical business, and how to effectuate              05:17
      S      assignment, assumption and indemnity agreement, that                05:1            5     that; right?                                     05:17 -
      6      it purported to close on December 31, 2002; right?               05:16              6             MR. BILLECK: Objection, form.                        05:17
                                                 ettect'ive --- 05-1-ti               --     -   7             WNESSrTI31'8sththltseems it      to snow.         --   05-17-
  8         December 31, 2002.                                    05:16                       8        yes.                                          05:17
  9              Q. This memo 1 just put in front of you as              05:16                9           Q. (BY MR. KASSOF): So during the middle of                     05:1
 10         Addison Exhibit 18 is dated July 12, 2002; right?                05:16           10        Project Focus, Simpson Thacher & Bartlett is                   05:17
 11              A. Yes.                                    05:16                            11        providing a memorandum to certain people at                     05:17
 12              Q. Right in the middle of Project Focus?                05:16               12        Kerr-McGee — not you — describing the steps of                  05:17
 13              A. That's correct.                            05:16                         13        Project Focus and also how to, upon completion of                05:17
 14              Q. And ifyou look at the first paragraph,              05:16               14         Project Focus, effectuate a straight spinoff of the           05:17
 15,        what Simpson Thacher is describing is an analysis            - 05:16            15         chemical operations; true?                             05:17
 16         that they did of debt covenants and restrictions that           05:16           16                MR. BILLECK: Objection, form.                        05:17
 17         were imposed on the consummation of certain specified                05:1       17            Q. (BY MR. KASSOF): Is that what it appears to                 05:17
 18         corporate transactions following the completion of               Q5:16          16        be to you, sir?                                    05:17
 19         Project Focus. Do you see that?                          05:16                  19            A. Yes.                                      05:17
 20             A. Yes.                                     05:16                           20            Q. And if you look at the — do you see that              05:17
 21             Q. And the first bullet talks about Project            05:16                21        Project Focus is described as having I1 steps in that            05:18
 22         Focus will include steps I through 11; right?                 05:16             22        first bullet by Simpson Thacher?                          05:18
 23             A. Thafswhatitsays,yes.                           05:17                     23            A. Yes.                                      05:18
 24             Q. It says that's attached as annex B, which             05:17              24            Q. if you look after step 1 1. and the page on            05:18
 25         we looked at earlier, right?                          05:17                     25        the document ends in Bates number 736, do you sec                  05:1
                                                                          Page 288                                                                             Page 289
  1           that?                                         05:18                            1             A. They do seem related, yes.                     05:19
  2              A. Let me get then:. I do see it.                   05:18                   2             Q. Simpson Thacker is emphasizing this in               05:19
  3              Q. There is a note, and its in bold, that             05:18                 3        March of 2002 and again in July of 2002; right?                05:19
  4       ' says, confirm that KMOGC is a, quote, dean corporate                 05:18       4                They are emphasizing the need to confirm             05:19
  5           entity for purposes of holding company structure.              05:18            5       that the oil and gas corporation is quote/unquote            05:19
  6                  Do you see that?                            05:18                        6       clean from the environmental legacy liabilities;             05:19
  7              A. Yes.                                     05:18                           7        right?                                        05:19
  a              Q. That is a note that Simpson Thacher                   05:18              8                MR. B1 LLECK: Objection, form.                     05:19
 9           Bartlett put on this memo to Mr. Pitcher,                   05:18               9            Q. (BY MR- KASSOF): Right, sir? Is that how                  05:19
10           Mr. Wohleber, and Mr. Reichenberger; right?                     05:18          10        it appears to you?                                05:19
11                   MR. BILLECK: Objection to form.                       05:18            11            A. It appears, yes. I'm just -- the               05:20
12               Q. (BY MR. KASSOF): That's the way it appears                  05:18       12        handwritten note from the unidentified person is on             05:20
13           to you, sir?                                    05:18                          13        something dated —well, its undated, but appears to            05:20
14               A. That's what it appears to say, yes.                05:18                14        be as of March 22nd, and this Simpson Thacher thing                05:20
 15              Q. And the confirmation that's requested by               05:18            15        is a few months later, in July.                      05:20
 16         Simpson Thacher that Kerr-McGee Oil & Gas Corporation                   05:1    16            Q. One of the people who received the memo in               05:20
17          is quote/unquote clean at the end of Project Focus is            05:18          17       July was Mr. Filcher; right?                          05:20
18          entirely consistent with the note that we just looked           05:19           18               MR. BI LLECK: Objection, form.                     05:20
19          at on the Project Focus checklist that said that             05:19              19               WITNESS: Yes, he's the principal                  05:20
20          Simpson Thacher wants to know if Kerr-McGee Oil & Gas                   05: 1   20       recipient.                                     05:20
21         Corporation is quote/unquote clean from the legacy                 05:19         21            Q. (BY MR. KASSOF): So that takes us midway                    05:2
22          liabilities; right?                               05:19                         22       through 2002. Project Focus continues throughout the               05:20
23                  MR. BILLECK: Objection, form.                        05:19              23       rest of 2002 at least, right, to your knowledge?             05:21
24              Q. (BY MR. KASSOF): Is that how it appears to                 05:19         24            A. You know, I don't remember. I don't even              05:21
25         you, sir?                                       05:19                            25       recall. I was consumed with other things.                  05:21

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                                                                     Page 302                                                                               Page 303
     1   sorts ofreferences to Spinco and spinoff and                     05:36                1           WITNESS: I had absolutely no idea.                 05:37
     2   movemem of assets and liabilities in connection with                05:36             2       Q. (BY MR. KASSOF): And the first time you're                   05:37
     3   a spinoff true?                                  05:36                                3    hearing anything about Simpson Thacher providing the             05:3
     4         MR BILLECK: Object to the form.                          05:36                  4    very similar analysis in both 2001 and then again            05:38
     5     WITNESS: I'm flipping through the                 05:36                             5    after 2002, in Project Focus, right immediately in           05:38
  6  document 1 mean, there's a responsible parties            05:36                           6    2003, is right now sitting here answering my                05:38
— 7 co lonvirtually
        un            every page -1-dbcmake — --0535 "                                              questions;air.                              --`05:38 —
  8  repeated mention to a Spinco.                       05:36                                 8          MR. BILLECK: Objection, form.                        05:38
  9     Q. (BY MR. KASSOF): That's in the 2003 version             05:37                    9             WITNESS: That is correct.                        05:38
 10  and the 2001 version, but its deleted from the 2002        05:37                      10          Q. (BY MR KASSOF): Before right now, you had                     05:3
 11      Project Focus version; right?                            05:37                    11       absolutely no idea that Project Focus did, in fact,         05:38
 12             MR. BILLECK: Objection, form.                           05:37              12       have everything to do about the steps to be taken in          05:38
 13             WITNESS: I think you're correct. Let me                  05:37             13       connection with it spinoff of the Chemical business;         05:38
 14      just make a quick.-! don't recall ever seeing                  05:37              14       true?                                       05:38
 15       Spinco in the Project Focus version, which is -- just          05:37             15             MR. BILLECK: Objection, form.                      05:38
 16      to be clear, its in Exhibit t 1. It's in the other         05:37                  16             WITNESS: "That's correct.                      05:38
 17      two. Yes, Exhibit 11. Project Focus.               05:37                          17          Q. (BY MR. KASSOF): And you agree with my                        05:3
 18         Q. (BY MR. KASSOF): Sir, when you testified in         05:37                   18       characterization based on the documents that you are           05:38
 19      response to questions from Anadarko and Kerr-McGee's        05:Y                 19        seeing for the first time here today under oath;           05:38
 20      counsel about Project Focus, did you have any idea       Q5:37                   20        right?                                        05:38
 21      that both before and after Project Focus, Simpson       05:37                    21              MR BILLECK: Objection, form.                        05:38
 22      Thacher was advising Kerr-McGee about steps to be                      05:37     22              WITNESS: Yes, but it also fits with the             05:38
 23      taken to effectuate a spinoffofthe Chemical                    05:37             23        memo Mr. Pitcher did about the legitimate business             05:39
 24      operations?                                     05:37                            24        purposes, also. Imean--                           05:39
 25            MR BILLECK: Objection, form.                           05:37               25           Q.' (BY MR. KASSOF): Which is entirely                    05:39

                                                                    Page 304                                                                               Page 305
     1   consistent with the advice that Lehman Brothers gave                   05:39      1       STATE OF OKLAHOMA
  2      to Kerr-McGee about coming up with a valid business                     05:39                        )SS
  3      purpose when you want to perform a spinoff company         -             05:3     2       COUNTY OF
  4      a spinoff of dic Chemical business to leave the                   05:39           3
  5      legacy liabilities behind and have them totally                  05:39            4       CORRECTIONS NOTED
                                                                                           55      NO CORRECTIONS NOTED _________
 6       unattached to the oil and gas assets; true?                  05:39
                                                                                           6
 7             MR. BILLECK: Objection, form.                           05:39               7              1, ROGER ADDISON, do hereby state under oath
 8             WITNESS: I think that's correct, yes.                  05:39                8       that I have read the above and foregoing deposition
 9             MR. KASSOF: Why don't we break for the                      0539            9       in its entirety and that the same is a full, true and
10       evening and pick up in the morning?                          05:39               10       correct transcription of my testimony so given at
11             MR. WALTERS: Nine o'clock?                              05:39              11       said time and place, except for the corrections
12             MR. BILLECK: Sounds good.                              05:39               12       noted.
13             MR. WALTERS: We'll be here.                              05:39             13
14             VIDEOGRAPHER: Going off the record. The                            05:39
                                                                                          15
15       time is now 5:38 p.m.                                05:39
                                                                                          16                       ROGER ADDISON
16                 (DEPOSITION CONCLUDED)                                   05:39         17
17                                                                                        18             Subscribed and sworn to before me, the
18                                                                                        19       Notary Public in and for the State of Oklahoma, by
19                                                                                        20       said witness on this the          day of
20                                                                                        21       2010.
21                                                                                        22
22
                                                                                          23                         NOTARY PUBLIC
23
                                                                                          24
24
                                                                                                   My Commission       Expires:
25                                                                                        25

                                                                                                                          77 (Pages 302 to 305)
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                                                                 Page 306                                                    Page 307
  1                ERRATA SHEET
  2               DEPOSITION OF ROGER ADDISON
                                                                             1            CERTIFICATE
  3          REPORTER: Slant S. G, b6& CSR RPR. RMR, RDR, CRR                2
  4             DATE DEPOSr71ON TAKEN: July 13, ZOlD
                                                                             3   STATE OF OKLAHOMA)
     6       Page   >n             Cana a+
                                                                                           ) SS
 7                                                                           4   COUNTY OF OKLAHOMA)
 8                                                                           5                 -
 9       -                                                                     –     -I,SHERRLS.-GRUBBS,-Certified-Shonband----.-
                                                                             7   Reporter within and for the State of Oklahoma, do
10
                                                                             8   hereby certify that the above-named ROGER ADDISON was
11                                                                           9   by me first duly sworn to testify the truth, the
12                                                                          10   whole truth, and nothing but the truth, in the case
~3                                                                          11   aforesaid; that the above and foregoing deposition
                                                                            12   was by me taken in shorthand and thereafter
14
                                                                            13   transcribed; that the same was taken on July 13,
is                                                                          14   2010, in Oklahoma City, Oklahoma, pursuant to
16                                                                          15   agreement, and under the stipulations hereinbefore
17                                                                          16   set out; and that i am not an attorney for nor
is                                                                          17   relative of any of said parties or otherwise
                                                                            18   interested in the event of said action.
19                                                                          19          IN WITNESS WHEREOF, J have hereunto set my
20                                                                          20   band and official seal this 14th day of July, 2010.
21                                                                          21
22
                                                                            22
                                                                            23             SHERRI GRUBBS, CSR, R.PR, RMR, RDR
23
                                                                                           State of Oklahoma CSR No. 1232
24                                                                          24
2s                                                                          25




                                                                                                  78 (Pages 306 to 307)
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                                                                     Page 308
  1                IN THE UNITED STATES BANKRUPTCY COURT
  2                FOR THE SOUTHERN DISTRICT OF OKLAHOMA
  3
      IN RE:                                ) Chapter 11

           Debtors.                         ) Jointly Administered
  5                                         )


      TRONOX INCORPORATED, TRONOX
  6   WORLDWIDE LLC, f/k/a KERR-MCGEE
      CHEMICAL WORLDWIDE LLC, and
  7   TRONOX LLC, f/k/a KERR-MCGEE    )
      CHEMICAL, LLC,
  8        Plaintiffs,                ) Adversary Proceeding
      -vs-                            ) No. 09-01198 (ALG)
  9   ANADARKO PETROLEUM CORPORATION
      and KERR-MCGEE CORPORATION,
 10        Defendants.

 11   THE UNITED STATES OF AMERICA,
           Plaintiff-Intervenor,
 12   -vs-
      TRONOX INC., TRONOX WORLDWIDE
 13   LLC, TRONOX LLC, KERR-MCGEE
      CORPORATION, and ANADARKO
 14   PETROLEUM CORPORATION,
           Defendants.
 15
 16
 17        VIDEOTAPED DEPOSITION OF ROGER ADDISON, VOLUME II
 18                      TAKEN ON BEHALF OF THE TRONOX
 19                        IN OKLAHOMA CITY, OKLAHOMA
 20                             ON JULY 14, 2010
 21
 22
 23                         TSG REPORTING, INC.
                             NEW YORK, NEW YORK
 24            REPORTED BY: LORI A. JOHNSTON, CSR, RPR, CLR
 25            TSG JOB NO.:   31426


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         1
                            APPEARANCES
                                                                                             1       FOR UNSECURED CREDITORS COMMITTEE:
         2                                                                                   2            Ross G. Shank
         3    FOR TRONOX.
                   Andrew A. Kassof
                                                                                                          Attorney at Law
                   David H. DeCelles                                                         3            Kasowitz, Benson, Torres & Friedman
         5         AttomcyeetLew
                   Kirkland & Ellis LLP
                                                                                                           1633 Broadway
         6         300 North LxSaHe                                                          4            New York, NY I0019-1800
                   Chicoga,B, 60654
     7
                                                                                             5       FOR THE WITNESS:
              FOR ANADARKO PETROLEUM CORPORATION:                                            6            Kevin Donelson
     6
                     Jawn W. B8Ie Jc
                                                                                                          .lay Walters
         9           Attaeey at Lea     –                 --          ---   –        – —7                Attorn
                                                                                                             ey                     -------
                                                                                                                                     a                             --   —
                     Wo1 Godnl &Maegs LLP
 10                  700Leuisiana
                                                                                                                  Fellers Snider Blankenship Bailey & Tippens
                     suite 16e                                                               8                    1700 Chase Tower
 31                  Ho       Tx 77002
                                                                                                                  100 North Broadway
 12                  JessioB. Mishkin                                                        9                    Oklahoma City, OK 73102
                     Anoreeyet Law
 13                  Weil Go steel & Menges
                                                                                        10           ALSO PRESENT:
                     767 Fifth Ayoue                                                    11                        Robert Rusch, Videographer
 14                  New York, NY 10153-0119
                                                                                        12
 15               Duke R.K. McCall. 61                                                  13
                   Attorney at Law                                                      14
 16               Bingham McCutchen LLP
                  2020 K Street, NW                                                     15
 17               Washington, DC 29366-1806
                      -and-
                                                                                        16
 18               JtAlNfer Edwirdi                                                      17
                  Seaicr Attorney                                                       18
 19               Aoodarko Pettolenm Company
                  1201 Lake Rebbies Drive                                               19
 20               TheWaodlantra,nt 77380
 21          FOR UNITED STATES DEPARTi,4Trr OF JUSTICE                                  20
 22               Katherine M. Kane                                                     21
                  Thal Attornry
 23               US Department el Jmtice                                               22
                  ENJlD Mailroom, Room 2121                                             23
 24               601 D Street, NW
                  Washirrgtoa. D.C. 20094                                               24
 25                                                                                     25
                                                                            Page 311                                                                                        Page 312
     1                       INDEX                                                           1                Peter Nickles
     2                                   Page                                                                 ForJdentireation                    363:21
     3               Roger- Addison                                                      2
                     CONTINUED DIRECT EXAMINATION by MR. KASSOF              316:8                Exhibit32 e-mail from Mr.Hombura dated
     4                                                                                       3             December 27th, 1999, to Mr.Reicbetbergu and
                                EXHIBITS                                                                   Mr. Addison
     5                                                                                   4                 For Identification               3698
             For Deposition:                                                                      Exhibit 33 summary of a meeting with the
     6                                                                                                     Georgia EnvironnnenW Protection Department
                                                                                                           Georgia
                             rot ness emtemont 0f Roger                                      6             dated
             Exh ibit I
                                                                                                           For ldrntilicaiion               370:18
 7                        Addison
                                o from th
                                        the Kcrira arbitration
                          Previously Marked                    349:20                        7
                                                                                                  Exhibit 34 email sent toJoe Flake
 8
                                                                                         8                 copied to Harold Homburg and John
             Exhibit 23 E-mail from Roger Addison to                                                       Reichenberger on December -7 1999, by Roger
 9                    John Rn ohenberger, Bill Lxythorl, Justin                          9                 Addison
                      Byrne, May 9, 2005                                                                   For Identification               374:11
10                    For Identification                  321:9                         1D
31           Exhibit 24 email from Roger Addison to Bill Laython and                             Exhibit 3$ e-mail from Mr.Pilcherto
                      Justin Byrne For Identification           323:20                  I1                Roger Addison, dated June 24th, 2005,
12                                                                                                        attaching a summery of Apollo management bid
             Exhibit 2$ sating ofa-mails dfated July                                    12                For-Identification                378:13
13                    15 to July I8. 2005                                               13       Exhibit 36 e-mail from Roger Addison to
                      For Identification                    339:13                                        Mr.J'ileher on June 24th. 20D5
14                                                                                      14                For Identification                37815
             Exhibit 26 n -mail dated April 6th 2005                                    15       Exhibit 37 e-mail string between Roger
15                    For Identification                  342:6                                           Addison and MrPilchcr starting and ending an
16           Exhibit 27 letter from the EPA on April                                    16                September 10th, 2005
                      8th, 2005, associated with Manville                                                  For Identification               38919
17                    For Identification                  342:8                         17
IS           Exhibit 28 sub equ..t draft of the                                                  Exhibit 38     e-mail, April 15th. 2005. from
                      assigranec and asstnnptioe agreement dated                        18
19                    Apnl 18th                                                                          Mar Identification
                                                                                                             ga Lewn                             396:14
                      For Identification                  342:12                        19
                                                                                                 Exhibit 39 July 28Cr, 2005, e-mail from
20
                                                                                        20                Roger Addison to Mr.Reidtenberge,, Gornson,
             Exhibit 29 offer from Kerr-McGee
                                                                                                          and Mr. Cabbage
21                     Corporation regarding, savatradn atnd Bolted
                                                                                        2I                For ldcmirleVion                398:12
                       facilities
                                                                                        22       Exhibit40 covet c-mail fromAoger
22                     For Identification                  3d8:21
                                                                                                          A r- Ideo rl eatr Cabbage
23           Exhibit 30 memormulum that Mr.Montgmtety                                   23                For lderxification              491;13
                       sent to Peter Nickles                                            24
24                    For ldentifcation                    355:9                                 Exbibit4l memorandum from Mr. Cabbage to
25           Exhibit 31    email from B.J. Montgomery to                                25               Roar Addison dated July 28th_ 2005                404:1


                                                                                                                                    2 (Pages 309 to 312)
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                                                                                  Page 313                                                                                          Page 314
           1                                                                                          1       Exhibit 57   Felxuary 5th, 2003 mcmomndtmh
                Exhibit 43     administrative order on                                                                 For Identification              5041
        2                consent from the United States Enviromnental                                 2
                         Protection Agency, dated March 31, 2000                                              Exhibit 58     July 16th, 2002, mono by Sam
        3                For Identification                417:21                                     3                 Haywood to Elliott Schuldtr
        4       Exhibit 44 c-r ail that Roger Addisoc sent                                                              For ldentifrcetion                  509:3
                         to Mary Mikkelson on or about January 22nd,                                  4
        5                2005                                                                                Exhibit 60 memo. dated My 7th, 2005
                                                              437:17                              5                   Fa Identification                 521:7
                         For tdettificatiou
        6                                                                                         6          Exhibit 61   e-mail friar Michael Chambers
                                                                                                                      at Akin Gnmp to Addison. Byrne, and M&kclson
        Exhibit 45 e - mail string                                                                7                                                        330:17
                                                                                                                     Forldaatifxation
   7              Forldeuficadrn                              441:13
                                                                                                          -_.ExhibiL62_ ams0-t`~u~o
- —8— 'Ercpt' S>?46-'diuly 6L'9~006               fo be                        - ---°                                For Idanlifiation                      53 5:9 — °---'----                     -'
                  dated July 6 , 2006                                                             y
       9                 For Identification            449:13                                                Exhibit 63      ootail s
    10          Exhibit 47 Covingt on & Burling memorandum                                    10                       For Identification                  543:9
                         For Identification            463:1                                  11             Exhibit 64      e-mail train than begins of
    11                                                                                                                 October 13th, 2005, and goes through October
                Exhibit 48     later than the United States                                   12                       17th,
    12                   Envirotunenro( Protection Agency to Kerr-McGee                                                For Identification                  549:22
                         Corporation                                                          13
    13                   For Ideeti8cation                    467:11                                         Exhibit 65 e,enail string again that went
    14          Exhibit 49 letter from the EPA , dated                                        14                      frvrt Mr-Chaotbersup thrpgh Mc R bents, to
                         July 6 • 1999, to Kcn Md ee Corporation                                                       Roger Addison
   15                    For Identification               468:2                               15                       For Idcmificatioo                   551:8
   16           Exhibit 52 July 25th, 2002 Covington &                                        16             Exhibit 66 cover c-trail from Melody Wafee
                         Burning memo                                                                                 to individuals, mduding Roger Addison
   17                    For Identification                485:3                              17                      Ferldeotifiation                    5606
   18           Exhibit 53 mena rmhdum by Covington &                                         18             Fxhibit67 EPA unilateral administrative
                         Burling dated September lath, 2000                                                            order for removal options at West Chicago
                                                                                              19                       Ferldastification                   566:14
   19                   For Identification                    48724
                                                                                              20             Exhibit 68 monoran3an from Lawrnsec Young
   20          Exhibit 54 May 1016, 2005 , manor nduur by                                                             to Greg Pildter, dated November 19th, 1998
                        Covington & Burling                                                   23                                                           573:10
                                                                                                                       Faldentifxmtion
   21                   Forldeetificatson                     493:3
                                                                                              22            Exhibit 69 memocarvhx attaching a
   22          Exhibit 55 Covington & Btxling memo dated                                                             preune bon, whi ch I believe is by Arthur
                        Noverbcr 22nd , 2002                                                  23                     Andersen
   23                   Foridemification             501:12                                                            Fnridentifieation                   576:7
   24          Exhibit 56 March 11 , 2003 memo from                                           24
                        Covington & Burling                                                                 Exhibielo e-mail from Addison to
   25                   For Identification                    502:23                          25                     Mr.O.ea dated Sc    ba27              2007       584:15

                                                                                 Page 315                                                                                           Page 316
       1                                                                                          1                     TIME VIDEOGRAPHER: Going back on the record                            0852:
                Exhibit 7l      e-mail exchange between
       2                 Addison and JamesCeumplcy , copied to Mary                               2           The time is now 9:11 a.m.
                         Mikkelson                                                                3                               ROGER ADDISON                                08:52:09
       3                 For I -mail from                   587:15                             4               Of lawful age, having been first duly sworn, deposes and                   08:52:09
       4        Exhibit 72 e-mail fromMr. Crumpky to
                         Mary Mikkelson                                                           5           says in reply to the questions propounded as follows:
   `5                    For Identification                 58821
                                                                                                  6                        CONTINUED DIRECT EXAMINATION                                        08:52:0
    6           Exhibit 73 e-mail from Ms.Mikkcison to
                        James Crtmtpley and others at the McKinney                                7           BY MR . KASSOF :                                             08:52:09
    7                   Stringer                                                              8                                                                                   09:12:59
                                                                                                                   Q       Good morning Mr. Addison .
                        For identificatitnt                59 0- 23
    8                                                                                         9                    A       Good morning-                                 09:12:59
                Exhibit 74 e-mail exchange with the Bales                                     10                   Q       You understand you're still under oath ,                09:13:01
       9                 numbers TRX-TAMM-t 18999 through '9000
                            For Identification                   593:18                      11               correct, sill
  10                                                                                         12                            Yes, I do.                               09:13:03
                                                                                                                   A
               Exhibit 37       Adams compilation of a number of
  11                     presentations                                                       13                    Q AI I right. Yesterday , we talked about the                   09:13:05
                         Previously Marked                            426:18                 14               assignment assumption and indemnity agreement" Co you
  12
               Exhibit 43      Adams Adams Exhibit 43                                        15               remember that?
  13                     Previously Marked                   419: 12                         16                   A Are you talking about the one that tied in with                  09:13:16
  14           Exhibit 76 Adams purchase and sale of real
                        property agreement was for four parcels of                           17               Project Focus and related back to, I think, the date of
  15                    land in Henderson , Nevada                                           18               December 31st, 2002? That agreemenl? Yes.
                        Previously Marked                   425:18
  i6                                                                                         19                    Q      Absolutelycorrect.                            09:13:25
  17                                                                                         20                        Can you hand - can you put in front of you                  09 :13:27
  18
  19                                                                                         21               what we marked previously as Exhibit 5?
  20                                                                                         22                    A      IT find it. Yeah.                           09- 13:30
  21
  22                                                                                         23                    Q      This   one (indicating).                       09:13:31
  23                                                                                         24                    A Thank you.                                       09:13:31
  24
  25                                                                                         25                   Q And you testified earlier you were not The                     09:13:33


                                                                                                                                               3 (Pages 313 to 316)
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                                                                        Page 357                                                                                          Page 358
         1     2000 ."                                                                          1            A    Are you   —   are you just continuing on?               10:07:41
   2                  That was before the closing; right?              10:06:45                2           Q Yes, sir.                                10:07:42
   3                  MR. BILLECK: Objection to form.                     10:06:47             3           A The sentence beginning "I was never told'?              10:07:44
  4                   THE WITNESS: Yes. They hadn't closed by then.             10:06:5        4          Q No. No. I'm sorry. Next paragraph I had                 10:07:47
  5               Q (By Mr. Kassof) And he said: "I met with Rob              10:0652          5     John Magyard —
  6            Roberts, Bob Scanlon and Graham Harcourt to get a feel for                      6          A Executive —                                 10:07:49
  7            how the place was being operated . I specifically asked                         7          Q '— and David Marshall with me on subsequent                10:07:52
  8           about any problems with OSHA. Roberts and Scanlon told m e                       8     visits prior to closing. Do you see th at?    _
  9            that OSHA pretty much left them alone . There were two                       9             A Okay. Yes. I see that.                          10:07:54
 10            Hispanics named Santiago and Sanchez as OSHA reps m the                     10             Q And if you skip a little bit down, he writes,          10:07:55
 11            area. I spent a lot of time walking around the chloride                     11        quote, "We soon found the chloride plant was operating
 12            plant that week and noted that either Kemira was 'eying or                  12        totally out of control and maintenance at the facility was
 13            Santiago and Sanchez must be blind ."                                       13        haphazard at best."
 14                      Do you see that?                       10:07:14                   14                    Do you see that?                              10:08:05
 15                    MR. BILLECK: Objection to form.                    10:07:15         15                MR. BILLECK: Objection to form                      10:0806
 16                    THE WITNESS: Yes. I see that language.               1007:17        16                THE WITNESS: Yes.                               10.08:07
 17                 Q (By Mr. Kassof) And this is the —                 10:07:19           17             Q (By Mr. Kassof) I ndicating from Mr. Montgomery             10:08:
 18           Mr. Montgomery indicating to Mr. Nickles what he noticed                     18        to Mr. Nickles of something that he identified with the
 19           before closing; true?                                                        19        chloride plant prior to closing; true?
 20                    MR BILLECK: Objection to form.                     10:07:27         20                MR BILLECK: Object to the form.                     10:08:16
 21                   THE WITNESS: Yes. It certainly appears to say           10:07:29     21                THE WITNESS: That's what it says.                   10,08:18
 22           that.                                                                        22             Q (By Mr. Kasso~And Mr. Momgome ry goes onto                  10:08:2
 23                 Q (By Mr. Kassof ) And then the next paragraph            10:07:31     23        talk about oxidation reactions that he was noting with
 24           says — he goes on to talk about other visits that he took                    24        respect to the planL Do you see that, sill
 25           prior to closing. Do you see the first sentence?                             25                MR. BILLECK: Objection to form.                     10.08:28

                                                                       Page 359                                                                                          Page 360
     1                THE WITNESS: Are you ret'erring to the sentence         10:08:2       1        spent his time in March tryingto determine how we soul d
     2        that says: 'We also determined that the oxidation                             2        rectify the oxidizer problems as well as die vent system
     3        reactions..."                                                                 3        design flaws. The complexity of the problem was enormous.'
     4             Q (By Mr. Kassof) Yes.                       10:08:35                    4                 Do you see that?                          10:09:21
     5            A      Yes.                               10:08:35                        5            A       Yes,                                         10:09:22
  6                Q And do you see, then, the two sentences later,         10:08:36        6            Q All identified as information that                 10:09:23
  7            he says, quote, "This was a dangerous condition to anyone                    7       Mr. Montgomery found at the Savannah plant prior to
  B            wonting in that area.`                                                       8       closing; correct?
  9                    Do you see that?                         1008:42                     9                MR. BILLECK: Object to the form.                    10:09:29
10                     MR. BILLECK: Object to the form                   10:08:42         10                 THE WITNESS: Yes.                               10:09:29
11                    THE WITNESS: Yes, I see that.                    10:08:43           11             Q (By Mr. Kassol) He goes onto say: "We kept                 10, 09:31
12                 Q (By Mr. Kassof) Another point that                 10:08:44          12        making notes of things we found, and the list was getting
13            Mr. Montgomery noted to Mr. Nickles that Kerr-McGee ,                       13        longer. I advised John Talpos by phone in late March,
14            identified prior to closing; correct?                                       14        prior to closing, that there were a lot more problems than
15                    MR. BILLECK: Object to the form.                   10:08:51         15        we had seen in the original tour of Savannah."
16                    THE WITNESS: That's what this says. Yes.              10:08:53      16                Do you see that, sir?                     . 10:09:45
17                 Q (By Mr. Kassof) Then he goes onto say "I              10:08:54       17            A Yes.                                      10:09:45
18           told John Magyard that we had to rectify the problems with                   18                MR. DONELSON: Object to the form.                       10:09:46
19           the oxidizers or we could never make that plant work                         19            Q (By Mr. Kassof) No reason to dispu to that;              10:09:48
20           safely."                                                                     20        right?
21                   Do you see that?                       10:09:03                      21             A No. That's what it says.                        10:09:49
22                   MR. BILLECK: Objection to form.                 10:09:04             22             Q And who is John Talpos?                             10:09:55
23                   THE WITNESS: Yes. "The plant safely." But,          10:09:06         23             A At that time, he was a contractor or a                10:09:59
24           essentially, that's what it says.                                            24        consultant in a fairly high level within chemical to fill a
25               Q (By Mr. Kassof) And it goes on to say: "John         10:09:09          25        position that was vacant. So he was probably — though he

                                                                                                                                 14 (Pages 357 to 360)
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                                                                                       Page 593                                                                                         Page 594
         1     individuals as senior management?                                                                    I   e-mail, that's an e-mail that Mary Mikkelson sent to you;
         2                 MR. BILLECK: Objection to form.                             17:21:38                 2       right?
         3                 THE WITNESS: I -- I don't know. t think they                   17:21:42              3            A     Yes.                                  17:26:06
         4     would assume that they were senior management, but I don't                                       4            Q     No reason to believe you didn't get that;            17:26:09
         5     know who they considered senior management_                                                      5       correct?
         6            Q     (By Mr. Kassof) And Ms. Mikkelson said that                     17:2I:48            6            A     Correct                                17:26:11
         7     those are the folks       —   or she checked with senior                                         7            Q     And in it, she's talking about how one of the         1726:15
         8     management fir st. K er r- McG ee senior management, be fo re s he                               8       points in the MSA was that there needed to be a provision
         9     could go and send to Tronox's -- the lawyer that had been                                        9       regarding the amount of cash that would be left in Tronox
 10            purportedly hired to represent Tronox's interests, she had                                   I0          at the IPO date, which I understand to be $40 million. Do
 11            to chock with Kerr-McGee senior management before she could                                  11          you see that?
 12            go and send a document that the own lawyers had asked for                                    12               A     Yes-                                  17:26:27
 13            correct?                                                                                     13              Q      And then you went and forwarded that comment to            17:263
 14                       MR BILLECK: Objection to form.                               17:22:15             14          Andrew Muratore; right?
 15                       THE WITNESS: Appears yes. It may have meant                           17:22:29    15               A     Yes.                                  17:26:35
 16           just her boss, butt don't know.                                                               16               Q     Andrew Muratore was a lawyer at Covington        &         17:26:38
 17                Q (By Mr. Kassot) (Inc more document, Mr. Addison.                            17:24:2    17          Burling; correct?
 18           Pve marked as Addison Exhibit 74 an a-mail exchange with                                      18              A      Yes                                   17:26:40
 19           the Bates numbers TRX-TAMM-118999 through'9000. And if                                        19              Q      And he then forwarded this string on even more,          17:26:43
 20           you would look, sir, this is an e-mail string on which you                                    20          and then it came back to you. Do you see that? On October
 21           are at the very bottom.                                                                       21          18th, 2005 at 9:59 a.m.?
 22                A       Okay. Okay.                                     17:25:52                         22              A      Correct.                               17:26:50
 23                Q       Have you read this e-mail string?                         17:25:55               23              Q      And the e-mail that was sent toyou said: 'It          1726:53
 24                A       Yes.                                     17:25:55                                24          was agreed this morning between Tronox and Kerr-McGee that
 25                Q       All right. And if you would look at the bottom                17:25:59           25          555 mil lion in cash would be left in the Tronox entities at

                                                                                      Page 595                                                                                          Page 596
     1        the IPO date."                                                                                    1                             ERRATA SHEET
     2                    Do you see that?                                17:27:00                              2                  WITNESS: Roger Addison, Volume 2
     3            A Yes.                                           17:27:01                                 3                      CASE STYLE: In Re: Tronox
     4            Q And then 37 minutes later, Ms. Poos corrects                        17:27:04            4                      REPORTER: Lori A. Johnston, CSR, RPR, CLR
     5        the e-mail and says 'It was agreed this morning that 40                                       5           PAGE LINE               CORRECTION AND REASON
     6        million in cash would be Tel in the Tronox entities."                                         6                       _
     7                 Do you see that?                                   17:27:11                          7
     8            A Yes.                                           17:27:11                                 8
     9            Q And then the a-mail gets forwarded—                              1727:14                9                       _
10           Ms Mikketson responds to the e-mail, quote, she giveth and                                    10
11           she takeths away. Do you see that?                                                            11
12                A       Yes                                      17:27:24                                12
13                Q       And that   —   that comment that the $15 million             172728              13
14           was lost in that 37-minute span was consistent with your                                      14
15           recollection that Kerr-McGee Corporation was dictating the                                    15
16           amount of money that would be left in Tronox at the time of                                   16
17           the spin, Correct?                                                                            17           —
18                     MR. BILLECK: Objection to form.                               17:27:48              18                                                                                            -
19                     THE WITNESS: Yes.                                      17:27:50                     19
20                     MR. KASSOF: I'm done with this line of                         17:27:51             20
21           questioning, if you want to take a break for The evening                                      21
22                     MR WALTERS. Sounds good                                       17:27:55              22
23                    THE VIDEOGRAPHER: Going off the record. The                               1727:5     23
24           time is now 5:26 p.m.                                                                         24
25            (Deposition concluded at 5:26 p.m. and witness excused)                      17:28:03        25


                                                                                                                                                 73 (Pages 593 to 596)
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                                                                    Page 597                                                   Page 598
 I                         JURAT                                                I           CERTIFICATE
 2            t, Roger Addison, do hereby state under oath that 1               2   STATE OF OKLAHOMA)
 3       have read the above and foregoing deposition in its                                ) SS:
     4   entirety and that the same is a full, true, and correct          3         COUNTY OF OKLAHOMA)
  5      transcription of my testimony so given at said time and           4
  6      place, except for the corrections noted.                         5          I, Lori A. Johnston, a Certified Shorthand Reporter
  7                                                                        6    for the State of Oklahoma, certify that Roger Addison was
  8                                                                       7     by me sworn to testify the truth; that the deposition was
— g—                                  --                          — - -- 8--4aken tsy-me in sienoty wand-therea r-transesibed-by-
10                                                                        9     computer and is a true and correct transcript of the
11                                                                       10     testimony of the witness; that the deposition was taken by
12           Subscribed and sworn to before me, the undersigned          11     me on July 14, 2010, at 9:02 a.m., at 100 Park Avenue,
13       Notary Public in and for the State of Oklahoma, on this,        12     Oklahoma City, Oklahoma; and that I am not an attorney for
14       the        day of                    , 2010                     13     or relative of either party or otherwise interested in this
15                                                                       14     action.
16                                                                       15          Witness my hand and seal of office on this 15th day
                                                                         16     of July, 2010.
17                                                                      17
                              NOTARY PUBLIC
                                                                        18
18                                                                             19
19
                                                                                                 Lori A. Johnston, CSR, RPR, CLR
20                                                                             20                CSR # 01726 NCRA # 053265
21       My Commission Expires-                                                21
22       My Commission Number.                                                 22
23                                                                             23
24                                                                             24
25       Reported by: Lori A. Johnston, CSR, RPR, CLR                          25




                                                                                                 74 (Pages 597 to 598)
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                 EXHIBIT C
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                CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER

                                                                     Page 599
      1           IN THE UNITED STATES BANKRUPTCY COURT
   2            FOR THE SOUTHERN DISTRICT OF OKLAHOMA
   3

   4   TRONOX INCORPORATED, et al.,         ) No. 09-10156
            Debtors.                        ) Jointly
   5 Administered

  6 TRONOX INCORPORATED, TRONOX
      WORLDWIDE LLC, f/k/a KERR-MCGEE
  7   CHEMICAL WORLDWIDE LLC, and
      TRONOX LLC, f/k/a KERR-MCGEE
  8   CHEMICAL, LLC,
           Plaintiffs,                ) Adversary
  9   Proceeding
      -vs-                            ) No. 09-01198 (ALG)
 10 ANADARKO PETROLEUM CORPORATION
      and KERR-MCGEE CORPORATION,
 11        Defendants.
                                            }



 12 THE UNITED STATES OF AMERICA,
           Plaintiff-Intervenor,
 13   -vs-
      TRONOX INC., TRONOX WORLDWIDE
 14 LLC, TRONOX LLC, KERR-MCGEE
      CORPORATION, and ANADARKO
 15 PETROLEUM CORPORATION,
           Defendants.
 16
 17        CONFIDENTIAL - SUBJECT TO A PROTECTIVE ORDER
 18       VIDEOTAPED DEPOSITION OF ROGER ADDISON, VOLUME III
 19                   TAKEN ON BEHALF OF TRONOX
 20                   IN OKLAHOMA CITY, OKLAHOMA
 21                         ON JULY 15, 2010
 22                       TSG REPORTING, INC.
                           NEW YORK, NEW YORK
 23                       www.tsgreporting.com
 24         REPORTED BY: KIM GLOVER, CSR, RPR, RMR, CLR
 25         TSG JOB NO. 31427


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                                                                        Page 600                                                                Page 601
         1                APPEARANCES                                                      1    FOR UNSECURED CREDITORSCOMMrTTEE:
         2     FORTRON
         3             AND RE W A. KASSOF                                                  2           ROSS G. SHANK
                       DAVID H, DECELLES                                                            Attorney at Law
         4             Atmmgs      ° Law                                                   3        Kasowitz, Benson, Tones & Friedman
                       Kirkland A Ellis LLP
         5             30DNorthLSellc                                                               1633 Broadway
                       Chicago IL     6065.4                                               4        New York, NY 10019
         6
              FOR ANADARKO PETROLEUM CORP ORAT70N:                                         5   FOR THE WITNESS:
         7                                                                                 6        Kevin Donelson
_                      An -c g         t~b1S _—
         8             Wei      a Law
                                                                   ---------                   —      tOley8llay
                         s t Gasohol & Mngc LL                                             7                            nshii p Bailey &
                                                                                                    Fellers Snder Blankensh
     9                 7W '°4' —                                                                    Tippers
                       Sodas o, T                                                                   1700 Chase Tower
                       Hotatat ,T xrwoz                                                 8
 10                                                                                                 100 North Broadway
 11                    IESSIE R MISIIRJN                                                9           Oklahoma City, OK 73102
                       Anonrey as Law
 12                    Weil Gotshal & Mmiges LLP                                       10
                       767 Fifth Avmoe                                                 11       FOR THE EQUITY COMMITTEE:
 13                    NcwYorkNewYork 10153
 24                                                                                    12            DAVID A. CRICHLOW
                       DUKE IC MCCALL, In                                                             Attorney at Law
                       Atwmey at Law                                                   13              Pillsbury Winthrop Shaw Pittman
 15                    Bi.St— M,Culthen LLP
                       2020 K Sire" NW                                                                 1540   Broadway
                       Wndofl800a .DC 20006                                            14             New York, Ncw York 10036
 16
 17                    JENNIFER EDWARDS                                                15       VIDEOGRAPHER:
                       Senior Anon-y                                                   16             ROBERT RUSCH
 18                    Anadarko PeaoI o,,                                              17
                       1201 Lke Robbins Drive
                    The Woo6MSdc, TX 777130                                            18
 19                                                                                    19
 20           FOR UNITED STATES DEPARTMENT OF JUSTICE:
                       (Appeungby p8c'><)
                                                                                       20
 21                    KATHERINEM. KA7$                                                21
                       Trial Attorney
                                                                                       22
 22                  ENRDMailroagRrwn,2121
                     601 D Svcs, NW                                                    23
 23                  Wadtiegton, D.C. 20004                                        24
 24
 25                                                                                25

                                                                       Page 602                                                                 Page 603

     1                          EMBITS                                                 1          Exhibit 87 e-mail from Neal Covage
     2                                                                                            For Identification           764:2
              For Trmo,:                                                               2
             Exhibi175         prsacnlabongivealo                                      3          Exhibit 88      e-mail from a Samuel Boxerman
     4       u.dcrwrit— with a cover e-mail dating
             Scptember of 2005                                                                    For Identification                 784:3
     5       For Identification            613:4
     6       Exhibit 76    --mail fray Kamm Hantady
                                                                                       4
              For Idenlifiraticn                  616:5                                5          Exhibit 89      cover memo with an attached
 7
             Exhibit 77             l-xth ,,,g-                                        6          assignment agreement
 8           Forldontiftation               632:8                                      7          For Identification                 837:10
 9           Exhibir 78   n-mall again Boon Mr.Hamady
             For Idemification              6329                                       8
10                                                                                     9
             Exhibit 79 e-mail string             643:24
11            FOr ldemifiealia,                                                    10
12           Exhibit 80     prownlatico that you and 7om
             Adams gave- to Anadarko on Scptenrber 26.                             11
13           2007                                                                  12
             For rderrtificarion               655:20
14                                                                                 1
                                                                                   13
             Exhibit 81        e-mail from yw to 1oc Rake and
                                                                                   14
15           pet- Woodward in connection with the
             mmgtati                                                               15
16           Forideniftcodon                      692:11
17           Exhibit 62   a-mail that Tom Adams aeat to                            16
             yoo and to o0 , crs on Septero6er 27th                                17
18           For Idtndllation                   69720
I9           Exhibit 83   e-mail Wing                                              18
             For Identifiratia,                 700:10
                                                                                   19
20
             Exhibit 84 --mail from Akin Gump and Mike-                            2   0
21           Chambers
             For Idcnuliation             716:3       S                            21
22                                                                                 22
             Exhibit 85  Lo man Brothers document
23           Fortdentiftcnion              743:14                                  23
24           Fxhibit86 omafl
                                                                                   24
             ForidenrifcnJiOn             751:10
25                                                                                 25


                                                                                                                       2 (Pages 600 to 603)
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                                                                Page 604                                                                    Page 605
      1          PROCEEDINGS                              08:41:21                  1   that presented it.
      2              THE VIDEOGRAPHER: The time                    08:4121          2         Q Well, but in April 2005   —                 08:42:17
      3is now 839 am.                                                               3         A Yes, they were currently                    08:42:19
   4             CONTINUED DIRECT EXAMINATION                           08:41:2     4   employees.
   5 BY MR KASSOF:                                         08:4125                  5        Q All righL So in April 2005                   08:42:20
   6         Q Morning, Mr. Addison.                       08:41:26                 6   Kerr-McGee employees presented a management
   7 — _—A—Ys               ______.__08:41:26..._._.._                             ,____presentation- tapotential-buyers-in-thesal e        --        --


   8         Q You understand you're still under              08:41:27              8 process of Kerr-McGee; correct?
   9 oath?                                                                          9        A Yes.                                  08:42:29
  10        A Yes, sir.                             08:41:30                      10          Q T7rese were third parties who                 08:4229
 11         Q I have marked the or what 1
                                     —                      08:41:31              11 would have an opportunity to conduct due
 12 have put before you is what's been previously                                 12 diligence in the arms length process?
 13 marked in this case as Adams Exhibit 37. There's                              13         A Yes.                                  08:42:37
 14    a tab one of Exhibit 37 Adams and it is the                                14         Q And they were third parties who                 08:42:40
 15 April 2005 managing presentation. I think we                                  15 Kerr McGee gave a presentation in the hopes that
 16 were talking about this a little bit earlier.                                 16 they could generate interest in acquiring the
 17   Do you recall that?                                                         17 chemical division; is that fair?
 18         A Yes.                                 08:41.50                       18         A That was my understanding of the                 08:42:52
 19         Q All right. And this presentation              08:41:52              19 presentation.
 20 was presented to potential buyers in the sale                                 20         Q And you helped present the Legacy                 08:42:5
 21    process by Kerr-McGee management in April of                               21 side -- Legacy site and legal portion of the
 22 2005?                                                                         22 presentation; is that right?
 23         A When you said Kerr McGee                        08:42:07            23         A I know I did the legal portion_               08:43:07
 24   management, it was prospective Tronox                                       24 The Legacy site I think was perhaps Pat Corbett,
 25 management, but yes, it was Kerr McGee employees                              25 but I may have commented on it also.
                                                                Page 606                                                                    Page 607
  1              Q All right. Fair enough. If you                 08:43:13          1    sites by site, but with the what the
                                                                                                         —          —


  2        look at page 3 of the April 2005 presentation in                         2    slides are showing me, they talk about topic or
  3        the agenda, you will see that you're correct,                            3    type of product or business.
  4        both you and Pat Corbett are listed in the                               4          Q They also talk about sites, too.              08:45:05
  5        Legacy sites and legal section of the                                    5    In addition -- you are correct about that and
  6        presentation.                                                            6    they also talk about sites, too. If you look at
  7             A Yes.                                    08:43:28                  7    slides 114 through 119, for example, you see at
  a             Q And if I can ask you to turn to                  08:43:31         8    the top there is a reference "site location."
  9        the beginning of the Legacy sites and legal                              9          A Yes, I see that.                        08:45:22
 10        presentation which starts at slide number III.                         10           Q All right. And that's the case               08:45:23
 11        Slide III is the cover pact to this portion of                         11     for 114 through slide 119 of the presentation;
 12        the presentation; correct?                                             12     correct? With the last one just saying numerous
 13             A It appears to be, yes.                      08:43:48            13    sites?
 14             Q All right. And ifyou took,                     08:43:52         14          A That appears to be correct.                  08:45:41
 15       there are a total often slides presented to the                         15          Q All right. And in particular, if             08:45:43
16         potential buyers in the sale process on Legacy                         16    you look at slide 114 presented to potential
17        issues: correct?                                                        17    buyers in April of 2005 by management was a
18              A I'm counting, but it appears to                 08:44:20        18    slide on Thorium Manufacturing with respect to
19        be, yes.                                                                19    the west Chicago site; correct?
20              Q And in the April 2005                         08:44:22          20          A Are you speaking of slide 114?                   08:46:04
21        presentation to potential buyers included in                            21    You just said Thorium Manufacturing? This
22        these slides were slides with details on                                22    speaks of processing Thorium lvlanufacturing, yes.
23        specific Legacy sites and liabilities; correct?                         23    I'm not trying to be pretentious but I'm just
24              A I5n trying to refresh my memory.                   08:44:47     24    trying to clarify what you're asking.
25        Yes. It appears well, I'm not sure they name
                          —                                                       25          Q What I'm asking you is the -- to                08:46:21

                                                                                                               3 (Pages 604 to 607)
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                                                           Page 680                                                                     Page 681
   1     environmental costs, the 200,000 figure rather                       1                 MR. BILLECK: Objection to                  10:37:41
   2     than the 100,000, yes.                                               2     form.
   3          Q (By Mr. Kassof) Right And what                   10:36:2      3                  THE WITNESS: That appears                  10:37:42
   4    you understood the MSA provided was that Tronox                       4     to be what I'm saying.
   5    would not be entitled to reimbursement of                            5            Q (By Mr. Kassof) And, in fact,                 10:37:44
   6    amounts of certain environmental remediation                         6      you said that having $100,000 over the reserve
        cnxts 6tomKerzMcG.ee.itnleslhe uounLoaa .                            7      amonn,.in.youvords,.didnlappear.tojnake...
   8    site by site basis exceeded the reserve amount                       8      sense; correct?
   9    that was specified in the document by more than                      9            A That is howl read this, yes.                10:37:58
  10    $200,000; correct?                                                  10            Q And not only was the $100,000 not                10:38:04
  11                  MR. BILLECK: Object to the               10:36:58     11      eliminated from the final version of the MSA,
 12     form.                                                               12      but it became $200,000; correct?
 13                   THE WITNESS: That's what                 10:37:07     13                   MR. B ILLECK: Object to the              10:38:14
 14     Section 2.5 of the Master Separation Agreement                      14      form.
 15     on page I0 appear to say, yes.                                     15                    THE WITNESS: It certainly                I0:3&15
 16           Q (By Mr. Kassof) And how you                     10:37:12   16      appears to be 200,000 in the final version, yes.
 17     understood it; correct?                                            17             Q (By Mr. Kassof) And Kerr-McGee                    10:38:2
 18          A I would say yes.                         10:37:21           18      mandated that $200,000 amount; correct?
 19          Q And what you were telling                     10:37:23      19            A I would certainly think yes.                 10:38:4)
 20    Mr. Crumpley back in your attachment —                              20            Q Do you recall Mr. Crumpley                     10:38:42
 21    Mr. Muratori and then Mr. Crumpley, which you                       21      agreeing with you or disagreeing with you on
 22    forwarded to Mr. Crumpley on September 19th,                        22      this section, whether he agreed with you that
 23    2005, was that you were not at all certain that                     23      there should not be any amount over the reserve
 24    any amount over the reserve amount made any                         24      amount before Tronox could access its
 25    sense to ask; correct?                                              25      reimbursement from Kerr-McGee?
                                                          Page 682                                                                     Page 683
   1        A No. As I mentioned yesterday, 1                  10:3903     1             Q And you certainly cannot identify                 10:40:26
   2 didn't even remember working with Mr. Crump Icy                       2        anything sitting here today that Mr. Crumpley or
   3 until you showed me an e-mail. Obviously 1                            3        someone at his firm wanted, advocated for in the
   4 have, but I don't recall any conversations with                       4        MSA on behalf of Tronox that made its way into
   5 him or discussions. Obviously I had them. 1                           5       the final version of the MSA. Is that fair?
   6 just don't recall them.                                               6             A No. That's not                            10:40.44
   7        Q Sitting here today, you can't                 10:39:17       7             Q Can you identify something that                   10:40:45
   8  identify any conversations from Mr. Crumpley or                     8        Mr. Crumpley or someone from his firm wanted
   9  anyone at his firm in which Mr. Crumpley or                         9        that made its way into the MSA sitting here
 10   anyone at his firm advocated for better terms in                   10        today?
 11   the MSA for Tronox. Is that fair?                                  11              A I was told anecdotally sometime                   10:40:58
 12         A 1 remember dealing extensively                   I0:39:42 12         that Martin Stringer got the 100 million dollar
 13 with Mr. Crumpley on a totally unrelated matter.                     13        reimbursement provision in there. That was not
 14   It had nothing to do with this. I don't — he's                     14        originally in there.
15    a thorough attorney. if I sent him comments, he                    15              Q You agree with me, sir, that                   10:41:24
16 probably commented back, but I don't remember                        16         Martin Stringer could not have advocated for the
17   anything from James Crumpley.                                      17        $100,000 reimbursement provision —
18         Q So the answer to my question is,                 10:40:00 18                A 100 million dollars. I'm sorry.                10:41:39
19 correct, you don't— sitting here today, you                          19               Q All right- Martin Stringer could                10:41:43
20   can't identify anything that Mr" Crumpley or                       20        not have advocated for the 100 million dollar
21   anyone in his film sent to you advocating — or                     21        reimbursement provision before he was retained
22   anyone else advocating on behalf of Tronox                         22        to work on the case; correct?
23   interest in the MSA. Is that fair?                                 23                      MR. BILLECK: Object to the                  10:41:53
24         A At that time, correct. That is                10.40:24     24        fbrnt.
25   correct                                                            25                      THE WITNESS: I can't                     10:41:58

                                                                                                        22 (Pages 680 to 683)
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      I  imagine how he could or how he would even know                              I just telling you what I was told.
      2  to have a comment or opinion, so yes.                                       2        Q (By Mr. Kassol) And if we look                   10:43:11
      3       Q (By Mr. Kassoi) All right. And                         10:42:03      3 at No. 12 ofyour comments, to Mr. Crumpley in
      4 you are not saying that you have first hand                                  4 September of2005, Exhibit 7I     —
      5 specific knowledge that Mr. Stringer came up                                 5        A Al! right_                             10:43:23
      6 with the 100 mil lion dollar reimbursement                                   6        Q If you look, there is a section               10:43:25
_   _2_ p oalsion con ect2              __                                           1 -"in_the which_made.its-way-into-the-final-MSA,.
      8       A No. I'm just telling you what 1                       10:42:19       8 2.5H dealing with a release and covenant not to
      9 remember, what I was told after the fact by Tom                              9 sue. You can look at the final version if you
    10  Adams.                                                                     10 like.
    11        Q And if Mr. Stringer was retained                        10:42:26   11        A All right.                              10:43:43
    12  actually after the 100 million dollars was put                             12         Q And if you look at the last                  10:43:45
    13  into the MSA drafts by Kerr-McGee, you would                               13 sentence, one of the things that you said that
    14  have no reason to dispute that; true?                                      14   there should be an exception or carve out for
    15        A Could you please say that again?                       10:42:43    15 claims by Tronox against the parent meaning
    16        Q Sure. You would have if 1      —                     10:42:44      16 Kerr-McGee for claims arising out of allegations
    17  said to you that Mr. Stringer was actually                                 17 of fraud; correct?
    18  retained after the 100 million dollar provision                            18        A Okay. Which cotmne t again? I'm                     10:44:03
    19 was put into the MSA by Kerr-McGee, you would                               19 not supposed to be marking on this document but
    20  have no factual basis to dispute that Is that                              20 I'm on No. 10.                                         -
    21  fair?                                                                      21        Q No. 12. 2.5}1. If 1 can ask you                 10:44:12
    22               MR. BILLECK: Object to the                        10:43:00    22 to look at your comments to Mr. Crumpley.
    23  form.                                                                      23        A Okay.                                   10:44:15
    24               THE WITNESS: Correct.                            10:43:02     24        Q In paragraph 12 of your comments                   10:44:16
    25  Because I remember it was already in there. I'm                            25 to Mr. Crumpley     —
                                                                  Page 686                                                                   Page 687
      1          A Yes.                                      10:44:18                1    section there is no carve out for claims arising
      2          Q -- you identify for both                        10:44:21          2    out of allegations of fraud; correct?
      3    Mr. Muratori and then you forwarded it to                                 3         A Let me look at the whole thing                   10:46:20 '.
      4    Mr. Crumpley your view that there should be a                             4                                           '
                                                                                                    In subparagraph H, it does not              10:46:22
     .5    carve out in the rel ease and covenant not to sue                         5    appear that there is one.
      6    provided to Kerr-McGee by Tronox for claims                               6         Q That proposal that you made in                   10:46:26
      7    arising out ofallegations of fraud against                                7    September 2005 was rejected by Kerr-McGee;
      B    Kerr-McGee; correct?                                                      8    correct?
      9          A I believe that's what it says,                   10:45:03         9                 MR. BILLECK: Object to the                 10:46:32
    10     yes.                                                                    10    form_
    11           Q And because you thought that                        10:45:06     11                 THE WITNESS: I don't know                   10:46:41
    12     having a carve out for claims arising out of                            12    that they rejected it, but that follows.
    13     allegations of fraud would have been                                    13          Q (By Mr. Kassof) And it                        10:46:44
    14    appropriate; correct? That's why you                                     14    especially follows since Mr. Pitcher received
    15    recommended it?                                                          15    your comments also on September 19, 2005; true?
    16          A Appropriate or inappropriate?                       10:45:15     16    If you look at your a-mail.
    17          Q Would have been appropriate,                         10:45:18    17                           —
                                                                                               A I'm trying to okay. He is on                   10:47:01
    18    appropriate to have a carve out for claims                               18    the copy. Yes:
    19    arising out of allegations of fraud.                                     19          Q This is another example where                    10:47:05    -
    20          A Based on this language and at the                     10:45:33   20    Kerr-McGee, as you put it, was calling the shots
    21    time, apparently yes.                                                    21    on the MSA; right?
    22          Q All right. If you can Iook at                     10:45:36       22          A Did I use the phrase "calling the               10:47:19
    23    Section 2.5H ofthe final executed MSA.                                   23    shots'?
    24          A Uh-huh.                                     10:45:45             24          Q You sure did.                             10:47:22
    25          Q You will note that in this                       10:45:47        25          A Okay. Then III say yes.                      10:47:43

                                                                                                               23 (Pages 684 to 687)
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     1      defenses for both the liability and amount of                              1 connection with either the assignment assumption
    2       the remedy sought by the EPA against Tronox in                            2 and indemnity agreement, the assignment
    3       connection with Manville?                                                 3 agreement, and Project Focus?
     4                   MR. KASSOF: Okay. 1'11                     13:50:40          4        A I seem to recall Bill Lathan,              13;52:27
    5      allow it.                                                                  5 inhouse attorney in the oil and gas division,
    6            Q (By Mr. Billeck) And in fact,                    13:50:42          6 somewhere immediately before or immediately soon
— —7       It onDxs...eaunseLsubrnitted.to-aatarbitrato r                            3_ —afer theJP-Osaying.either_they4iscoveredsome-
    8      Tronox's position that Tronox had strong and                               8 minor oil and gas property they should have
    9      viable defenses both as to the liability and to                            9 gotten and didn't or that they — some minor
   10      the amount ofremedy the EPA was seeking from                             10 chemical related or Tronox related thing they
   11      Tronox in connection with the Manville site as                           11 somehow retained but certainly nothing
   12      late as the 4th quarter of2006; correct?                                 12 significant.
  13             A Yes.                                    13:51:05                 13         Q And that's the only thing you can            13:52:52
  14             Q And you would not have allowed                       13:51:06    14   remember as you sit here today?
  15       counsel for Tronox to send such a statement to                           15             Like I said, its not a memory           13:52:57
  16      an arbitrator or mediator unless you believed it                          16 test. I don't want you to guess or speculate.
  17      to be true and correct; correct?                                          17        A I want to make sure 1 understand              13:53:01
  18             A That's correct Yes.                         13:51:17             1B   what you're saying also because there is a big
  19             Q Okay. And this is -- this isn't                13:51:31          19 schedule I think on that assignment assumption
  20      a memory test, but I just — I'm curious on                                20 and indemnity agreement, but I think it was
  21      there. As you sit here today, can you identify                            21 listing things that already had gone or were
  22      any specific oil and gas asset or liability or                            22 supposed to have gone.
  23      chemical division asset or liability that were                            23            As I said, we discussed this            13:53:11
  24      transferred between and among the oil and gas                             24   yesterday. It was a clean-up doctanent. Here's
  25      E & P division and the chemical division in                   13:51:57    25 what we have done and anything else we may have
                                                                 Page 790                                                                        Page 791
    1     missed. And then I think Bill Lathan came back                              1          Q And you have testified that you                  13:54:43
    2     and said, "i think we missed one.' But I can't                              2    had never seen these documents before your
    3     remember which way it went.                                                 3    deposition yesterday — or I'm sorry-- your
    4                There might be something else but               13:53:23         4    deposition on Tuesday of this week; correct?
    5     1 do not remember as of today.                                              5         A Are these the ones talking about                  13:54:57
    6           Q Okay. And you don't remember                        13:53:2         6    the possible spin-off of chemical, right, or
    7     what the --I think you said smaller immaterial                              7    something? They called it Titan. Wasn't that
    8     assets or liabilities that may have been                                   8     it?
    9    transferred that you recall what they were;                                 9          Q In part.                               13:55:07
  10      correct?                                                                  10          A Yes.                                   13:55:07
  11                    MR. KASSOF: Object to the                   13:53:36        11          Q Okay.                                   13:55:08
  12      form.                                                                     12          A Never recalled — I don't think t                13:55:10
  13                    THE WITNESS: No, I really                   13:53:44        13     — I'm certain I never saw these until I was
  14     don't-                                                                     14    showed them during this deposition.
 15            Q (By Mr. Billeck) Okay. Will you                     13:53:45       15          Q Okay. Terrific. And as a                      13:55:16
 16      pull out Addison Exhibit 14, 15, and 16?                                   16    result, you have no personal knowledge, do you,
 17            A I think I had those.                         13:54:19             17     about who or if anyone at Kerr-McGee ever
 18            Q Ready?                                    13:54:20                18     received or reviewed these documents; correct?
 19            A Yeah.                                    13:54:20                 19           A No, I have no personal knowledge.                   13:55:32
 20           Q You recognize these lobe what                       13:54:23       20           Q You have no personal knowledge as                    13:55:3
 21      Tronox's counsel represented to you to be Lehman                          21     to whether Lehman Brothers even presented these
 22      Brother documents from — Addison 14, September                            22     documents to Kerr-McGee; correct?
 23      7, 2000; Addison 15, January 1st, 2001; and                               23          A No, I have no idea.                          13:55:43
 24      Addison 16, April 16, 2001; correct?                                      24          Q And you have no personal                         13:55:44
 25           A Yes.                                     13:54:42                  25     knowledge regarding whether Lehman Brothers was

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   1  providing to Kerr-McGee the advice,                                      1 than that you saw them for the first time on
  2 representations of statements in Exhibits 14,                              2 Tuesday of this week; correct?
  3    15, or 16 to Kerr-McGee; correct?                                       3       A That's what I'm testifying, yes.         13:56:54
  4         A Could you please ask that again?                    13:56:01     4       Q So any time Tronox's counsel               13:56:58
  5         Q Sure. You have no personal                         13:56:02      5 asked you in any of his questionsbased on these
  6   knowledge as to whether or not in the time                               6 documents that Lehman Brothers was recommending
--2-- petiod.of2000,20{11_2002,-or-2003-Lehman                                Z—or_ pointin&onLor-highlighting.oLconduding
  8   Brothers was actually providing the advice,                              8 certain things, you were merely reading what he
  9 representations or statements in Exhibits 14,                              9 was pointing you to in these documents; correct?
 10   l5, or 16 to Kerr-McGee; correct?                                      10                MR. KASSOF: Object to the            13:57:16
 11                 MR. KASSOF: Object to tlx:                    13:56:20   11  form of the question.
 12   form.                                                                  12                THE WITNESS: Yeah.                  13:57:22
 13                 THE WITNESS: That's                         13:56:21     13 Essentially, yes. He was pointing out certain
 14  correct I don't know.                                                   14  sections and reading them and asking me if
 15         Q (By Mr. Billeck) We can sort of                     13:56:27   15 that's what 1 saw or what it said and I would
 16 short circuit this. You have no personal                                 16 agree what it was.
17   knowledge about anything regarding exhibits --                          17       Q (By Mr. Billeck) And you were                13:57:33
18          A I never saw them before today.                     13:56:32    18  merely agreeing that something was contained or
19         Q —Addison 14, 15 and 16;                           13:56:34      19 not contained in the documents? That was all
20   correct?                                                                20 you were agreeing to; correct?
21         A Was it Tuesday? I have never                        13:56:37    21                MR. KASSOF: Object to the            13:57:38
22   seen them before, that I know, that I recall.                           22  form of the question. What testimony are you
23         Q As a result of the — so you had                    13:56:40     23 talking about?
24   no--you have no personal knowledge regarding                            24       Q (By Mr. Billeck) I'm talking              13:57:40
25   Adams 14, 15, or 16 in any way whatsoever other                         25  about all testimony that you gave regarding the
                                                            Page 794                                                                    Page 795
  1     contents of Exhibits 14, 15 and 16.                                    1    you are referring to sitting at this table here
  2                   MR. KASSOF: Object to the                 13:57:48       2    at your deposition this week to look at these
  3     form of the question.                                                  3     documents?
  4           Q (By Mr. Billeck) With respect to                13:57:51       4         A Yes. Today, yesterday or the day                   13:59:02
  5     this testimony, you were merely —                                      5    before, yes.
  6           A I can't remember every single                  13:57:55        6         Q Can you pull out Exhibit 18 —                    13:59:17
  7    question he asked. So can I ask you to perhaps                         7     actually hang on one second. Exhibit 18. And t
  8    rephrase yours in light of that?                                        8    would like to short circuit this, if possible.
 9            Q You bet. The testimony you gave                  13:58:14      9    If we could get 18 and 13 and 22.
10     regarding Exhibits 14, 15 and 16, was not based                       10          A 1 believe I have those three                   13:59:59
11     on your personal knowledge but instead was based                      11     exhibits. You got yours?
12     on you reading selected excerpts that Tronox's                        12                  MR. KASSOF: I'll be good                  14:00:06
13     counsel pointed out to you for the first time on                      13          Q (By Mr. Billeck) And again these                   14:00:06
14    Tuesday of this week; correct?                                         14     are documents that you testified yesterday that
15                   MR. KASSOF: Object to the                 13:58:34      15     you had never seen prior to your deposition on
16     form.                                                                 16     Tuesday of this week; correct?
17                   THE WITNESS: Yeah. I'm not                  13:58:37    17          A I get confiised. I testified                 14:00:30
18    trying to be difficult here. I mean, it was my                         18    yesterday or Tuesday that I hadn't seen them
19    personal knowledge that I was, in fact, sitting                        19    prior to Tuesday.
20    at this table looking at these documents.                              20          Q I'm sorry?                               14:00:34
21           Q (By Mr. Billeck) But outside of                 13:58:47      21          A I think I testified Tuesday 1                 14:00:36
22    that, you had no other personal knowledge?                             22    hadn't seen them prior to Tuesday.
23           A That is correct.                         13:58:50             23          Q That's right. So the first time               14:00:39
24           Q And when you say you were sitting                  13:58:51   24    you ever saw Addison Exhibits 13, 22 or 18 was
25    at this table and looking at these documents,                          25    in your deposition in this lawsuit; correct?

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       1           A Certainly as to 22 and 13_ Let                  14:00:55         1          Q (By Mr. Billeck) I just want to                14:02:39
       2     me doublccheck 18. 1 don't remember seeing                               2    be sure_ Your testimony — when] referred to
       3     this. Did we discuss Addison I S in here?                                3    "your testimony," your testimony in this
       4            Q    We did.                            14:01:12                  4    deposition regarding these documents was not
     5        A We did?                                        I4:01:27               5    based on your personal knowledge but it was
     6        Q And my questions are similar to                        14:01:29       6    instead based on you reading the selected
__ . 7 - th -questions_thativeslid_withihelehmaa_                .----.               .Z—excespts_ofihe~xhihits9ddisonlx 22_and
       8    parties .                                                                  8 that Tronox ' s counsel pointed out to you?
       9                You had seen these documents that                 14:01:36    9                 MR. KASSOF: Object to the                  14:03:04
   10       were Exhibits 14, 15 and 16?                                             10    form.
   11               A  Uh-huh.                           14:01:39                    11                  THE WITNESS: Yes. 1                      14:03:08
   12               Q  With respect to these Exhibits           14:01:40             12    testified and I still believe I had never seen
   13       13,22 and iS, you had no personal knowledge                              13    these documents before.
  14        regarding these documents or their contents                              14          Q (By Mr. Billeck) And you have no                  14:03: I
  15        prior to your testimony in this lawsuit this                             15    personal knowledge of whether or not Exhibits
  16        week; correct?                                                           16    18, 33 or 22 were ever provided to Kerr-McGee;
   17            A      That is correct.                       14:02:02              17   correct?
  18             Q And your testimony in this                       14:02:04         18        A      Okay. Hang on a second. 18?                   14:03:33
  19        lawsuit was based not on personal knowledge but                          19        Q       18, 13 and 22.                        14:03:37
  20        instead on reading the excerpted portions of the                         20        A      t thought you said 33.                    14:03:39
  21        documents that Tronox's counsel pointed you to;                          21        Q      I may have.                           14:03:39
  22        correct?                                                                 22              You have no personal knowledge of               14:03:41
  23                      MR. KASSOF: Object to the                   14:02:16       23   whether 18, 13 and 22 were ever provided to
  24        form-                                                                    24   Kerr-McGee; correct?
  25                      THE WITNESS: I think, yes.                 14:02:38        25        A They all say drafts. Maybe they                   14:03:49
                                                                  Page 798                                                                     Page 799
   1        never got here. I don't know one way the other.                        1        A Even though I was heavily                         14:05:34
   2              Q You have no personal knowledge                      14;03:51 2 involved in the arbitration claim, which
   3        whether or not anybody at Kerr-McGee ever                              3 relates, I don't recall ever having seen this
   4        actually reviewed documents 18 — Addison 18, 13                        4  before this deposition.
   5        and 22; correct?                                                       5        Q And you have no personal                          14:05:40
   6              A Yeah. I guess I do not.                      14:04:05          6 knowledge of whether B J. Montgomery actually
   7              Q And you have -- as you mentioned,                   14:04:0   7 drafted this document or not?
   8        each of these sa y draft You have no personal                         8         A No, I don't know that he did or                   14:05:48
   9        knowledge as to whether or not the statements                          9 not.
  10        contained in Addison 18, 13 or 22 were final                         10         Q You have no personal knowledge as                      14:05:
  11        work products that reached ultimate conclusions                      11  to whether or not these were the oparions or
  12        or were working drafts; correct?                                     12  conclusions or beliefs held by B. J.
  13              A 1 guess thaxs correct.                     14:04:27          13 Montgomery; correct?
  14              Q Okay. Let's look at Exhibit 30.                 14:05:00     14        A I don't think he ever confirmed                     14:06:09
 15                   Do you have it?                         14:05:02           15  to it personally and I don't recall ever
 16              A Yes, I do.                               14:05:02            16 speaking with him about this.
 17              Q Do you recognize this to be an                   14:05:05    17         Q So you have no personal knowledge                      14:06:16
 18        unsigned— it appears to be a letter of some                          18 whether or not he held the opinions and
 19        sort by B. J. Montgomery.                                            19 conclusions and beliefs; correct? Personal
 20              A This appears to be an e-mail or                  14:05:17    20 knowledge.
 21        something from -- to Peter Nichols from B. J.                        21         A 1 sat through a big arbitration                  14:06:27
 22        Montgomery.                                                          22 proceeding. I'm trying to think ifsome of this
 23              Q And prior to your deposition in                  14:05:24    23 might have been introduced then or something. I
 24        this lawsuit this week, you had never seen                           24 just don't remember. I guess that wouldn't be
 25        Addison Exhibit 30; correct?                                         25 personal knowledge anyway if something like this

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1  — these allegations had been mentioned in the                               I             Its possible-- or you do not            14:07:50
2  arbitration proceeding. So I don't remember                                 2    know whether Mr. Crumpley, Mr_ Stringer or their
3  this. I really don't                                                        3    associates at the McKinney Stringer firm
4        Q So you do not have any personal                     14:06:43        4    provided advice or counsel to Tronox in
5  knowledge as to whether B. J. Montgomery holds                              5    connection with the MSA or the dual track
6  the opinions or conclusions contained in Addison                            6    process or the spin-off that was not provided to
7 ~.xhl4at 3 p ct'                                                           .._ you or o -A tic1tyouu_wrxenot-rrmde-aware-o€,       -----
  6         A I'm going to say yes.                       14:06:58          8 correct, meaning they could have provided — let
  9         Q And you have no personal                        14:06:59      9 me say it again.
10    knowledge of whether or not this document was                       10                McKinney Stringer and its lawyers             14:08:26
11    actually ever sent to Peter Nichols; correct?                       11 could have provided advice to Tom Adams or Mary
12         A I don't remember Peter Nichols                   14:07:16    12 Mikkelson and not have copied you on it;
13    ever telling me he got anything from B. J.                          13 correct?
14    Montgomery so, yeah, I don't know.                                  14            A Thai's correct                          14:08:43
15          Q I have very few left and I'll try             14:07:25      15            Q You also were asked some                       14:08:46
16    to do it quickly.                                                   16 questions about a DEO report regarding Manville.
17              Earlier you testified that you            14:07:29        17            A Yes.                                 14:08.52
18    did not know whetherMcKinney Stringer or its                        18            Q You never read that report;                  14:08:53
19    lawyers provided certain types of advice to                         19 correct?
20    Tronox in connection with the separation                            20            A I don't how they compare. I know                 14:08:54
21    agreement or what advice they provided; correct?                    21 a gas report.
22                 MR. KASSOF: Object to the                  14:07:41    22            Q So you have no idea what the                   14:08:56
23    form.                                                               23 conclusions were or were not in that report;
24         Q (By Mr. Billeck) Let me state it                14:07:42     24 correct?
25    again.                                                              25            A No. We asked Terry Reid for help                 14:090 .
                                                          Page 802                                                                          Page 803
 1    and I don 't know if he was able to help .                           1       clean-up document would obviously relate back to
 2          Q You also talked about the fact                14:09:08       2       the same closing date or be effective on that
 3    that the assignment assumption and indemnity                         3       date. That was the goal of it to make it
 4    agreement and the assignment agreement were                          4       effective as of that date.
 5    drafted in 2005; correct?                                            5                      MR. BILLECK: Can we take                   14:10:37
 6          A I feel extremely comfortable the               14:09:20      6       five minutes?
 7    first time I saw then was in April or May of                         7                      MR. KASSOF: Of course.                    14:10:39
 8    2005.                                                                8                      THE VIDEOGRAPHER: Going off                     14:10:
 9          Q Fair point. The first time you               14:09:26        9       the record, the time is now 2:09 pm.
10    saw them was in May or April of 2005; correct?                      10                      (Short break)                     14:25:01
11          A At this deposition somebody told                14:09:32    11                      THE VIDEOGRAPHER: Going                        14:25:02
12    me they had seen an earlier -- and I won't even                     12       back on the record , the time is now 2 : 23 p.m.
13    say that The earliest I saw them was April or                       13             Q (By Mr. Billeck) Mr. Addison, as                  14:25:09
14    May of 2005_                                                        14       we said each time after a break, you realize
15          Q Now, you know when they were                     14:09:4    15       you' re still under oath?
16    signed, they were dated effective December 31,                      16            A      Yes_                              14:25:13
17    2002; correct?                                                      17           Q You remember the April 2005                         14:25:15
18           A Yes, year end 2002 .                      14:09:54         18       management presentation that was marked as
19          Q      Did you view that as improper or          14:09:59     19       Exhibit —
20    inappropriate to date the documents effective                       20                   MR. KASSOF: Adams 37?                   14:25:30
21    December 31, 2002 in connection with your                           21                   THE WITNESS: By                      14:25:31
22    drafting or preparation of these documents?                         22       happenstance it's in front of me.
23          A No. As I told you, I understood               14:10:14      23           Q (By Mr. Bilteck) Let me see.                14:25:35
24    it to be a clean-up document for a transaction                      24       Exactly. Perfect In that presentation you
25    that was closed on December 31st, 2002. So a                        25       remember Tronox's counsel showed you a couple of

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       1   because I remember it very well.                                             1 happening after the IPO." On that basis, I said
       2             When I was asked to visit with                15:19:03             2 1 would attend the meeting. I also relayed that
       3 your law firm on behalf of Trorrox, on account of                              3 premeeting conversation to Mr. Owens and said
       4  this Litigation, I was concerned I would be                                   4  after the meeting! would call him and let him
       5  asked questions prior to the 1PO date of                                      5 know generally what occurred.
       6 November 28th, 2005 and I was concerned as 1                                   6         Q Did you tell Mr. Owens what             15:20:33
      Z._ha       een.here_as-m}.counset.made.an_opeming—_—__—._                    _ 7 questions.or. hings-you.lalkedabout with-Mr,---.-----
      8   statement about attorney client privilege                                     8 Zott and Mr. Zeiger?
      9 matters and confidentiality. So 1 wanted to see                                 9        A Can I finish my first answer           15:2038
     10   what Mr. Owens, what counsel for the other side                             10   first?
     11   thought of privilege issues and also wanted to                              11          Q I'm sorry. No. I thought you          15:20:40
     12   alert him that 1 had been — they wanted to                                  12   were done.
     13   question me.                                                                13         A No. I proceeded to meet with            15:20:45
     14             And his response to me, "See if                15:19:45           14  Mr. Zoti and Mr. Zeiger, I believe Lisa, the
    15    they will meet with us jointly in the same room                             15   paralegal, and Mike Foster were also there on
    16   at the same time so I only have to discuss this                              16 behalf ofTronox. We had our approximately four
    17   once" which I relayed to Michael Foste , at                                  17  hour discussion with them on various matters.
    18   Tronox, the then general counsel, still general                              18 They said, "Fine. Let's get ready to go." And
    19   counsel, and I believe he called back and said,                              19 I remember— Oh, I told David Owens 1 would
    20   ' 1 have checked with Kirkland -- Is that your                               20 fill him in on the conversation. I wanted to be
    21   firm?                                                                       21   open, honest, not taking sides so I knocked on
    22         Q Yeah.                                    15:20:06                   22 the door to tell Mr. Zeiger did he mind if 1
    23         A -- and that they would rather                   15:20:06            23 would give— if I would relay our discussions
    24   speak with you alone without Kerr-McGee Anadarko                            24   of that day with Mr. Owens and he said.- he
    25   but we'll limit the conversation to matters                                 25   thought a moment and he said, "No, go ahead",
                                                                   Page 846                                                                       Page 847
      1     like it was no big deal.                                                 1                  MR. KASSOF: I have no                     15:27:21
      2           Q Okay.                                  15:21:26                  2    further questions. Thank you very much, sir.
      3           A I decided I wouldn't call Dave                  15:21:28         3                  MR. BILLECK: No further                   15:27:24
      4    Owens and I never spoke with him since. I never                           4    questions.
      5    had another discussion except with these two                              5                  MR. DONELSON: On behalf of                   15:27:26
      6    here six weeks ago.                                                       6    Mr. Addison, he is going to read and sign.
      7           Q     Fair enough. Give me a couple                15:21:10        7    However he — to the extent he has arty rights
     8     minutes to see film all done.                                             8    which I don't know under any of the protective
•    9                   THE VIDEOGRAPHER: Going off                      15:21:4    9    orders that have been entered in this case, he
    10     the record. The time is now 3:19.                                        10    would request that his deposition be designated
    11                   (Short break)                      15:2625                 11   as confidential and he would similarly make the
    12                   THE VIDEOGRAPHER: Going                         15:26:26   12    request to the extent he has no standing, that
    13     back on the record, the time is now 3:25 PM.                             13    the parties designate his deposition as
    I4           Q     (By Mr. Kassof) Mr. Addison, do                15:26:33      14   confidential.
     15    you know who the financial adviser was for the                           15                 MR. KASSOF: Okay. Thank                      15:27:52
    16     HS Resources deal on behalf of Kerr-McGee?                               16   you.
     17          A Oil and gas deal, summer of 2001.                  15:27:05      17                 THEVtDEOGRAPHER: Going off                       15:27:5
    18    Wilson Baxter was the law firm. We switched                               18   the record, this concludes the deposition of
    19    from Credit Suisse to Lehman Brothers somewhere                           19   Roger Addison. The time is now 3:26 p.m.
    20    in 2000 or 2001. 1 don't know i f there was au                            20                                                 1528:00
    21    overlap or not. I don't remember.                                         21                                                 15:28:00
    22          Q Either Lehman Brothers or Credit                   15:27:16       22                                                 15:28:00
    23    Suisse would be to the best of your                                       23                                                 15:28:00
    24    recollection?                                                             24                                                 15:28:00
    25          A Yes.                                   15:27:2J                   25                                                 15:28:00

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     1             ERRATA SHEET                                         I                     JURAT
     2        WITNESS: Roger Addison, Volume 3                          2        1, Roger Addison, do hereby state under oath that 1
     3        CASE STYLE: In Re: Tronox                                 3   have read the above and foregoing deposition in its
     4        REPORTER: KIM GLOVER, CSR, RPR, RMR, CLR                  4   entirety and that the same is a full, true, and correct
     5   PAGE LINE    CORRECTION AND REASON                             5   transcription of my testimony so given at said time and
     6                                                                  6   place, except for the corrections noted.



 10
     8
     9   __                                                             8
                                                                        9
                                                                       10
 11                                                                    11
 12                                                                    12       Subscribed and sworn to before me, the undersigned
 13                                                                    13   Notary Public in and for the State of Oklahoma, on this,
 14                                                                    14   the day of              ,              2010.
 15                                                                    15
 16
 17
 18
         _
         __    _
                                                                       16
                                                                       17
                                                                       16                        NOTARY PUBLIC
 19                                                                    19
20                                                                     20
21                                                                     21
22                                                                     22   My Commission Expires
23                                                                     23   My Commission Number:
24                                                                     24
25                                                                     25

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  1      Reported by: KIM GLOVER, CSR, RPR, RMR, CLR
  2                CERTIFICATE


 5
  3
  4               SS:)
         STATE OF OKLAHOMA)

         COUNTY OF OKLAHOMA)
 6
  7           1, KIM GLOVER, a Certified Shorthand Reporter
  8      for the State of Oklahoma, certify that Roger Addison was
  9      by me sworn to testify the truth; that the deposition was
10       taken by me in stenotype and thereafter transcribed by
11       computer and is a true and correct transcript of the
12       testimony of the witness; that the deposition was taken by
13       me on July 14, 2010, at 100 Park Avenue,
14       Oklahoma City, Oklahoma; and that I am not an attorney for
15       or relative of either party or otherwise interested in this
16       action.
17            Witness my hand and seal of office on this 16th day
18       ofJuly,2010.
19
20
21
                          KIM GLOVER, CSR, RPR, RMR, CLR
22
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                              In the Matter of Arbitration No. 3439




                        KERR-McGEE CHEMICAL WORLDWIDE LLC
                            as a successor to Kerr-McGee Corporation
                              and KERR-McGEE CHEMICAL LLC
                         (hereafter jointly referred to as "Kerr-McGee"),

                                           Claimants,

                                               V.


                         KEMIRA PIGMENTS OY and KEMIRA OYJ,

                                          Respondents.




               WITNESS STATEMENT OF W.P. "PETE" WOODWARD




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                  A.     Personal Background.

                          My name is W.P. "Pete" Woodward. I served as President of Ken-McGee

          Chemical LLC and Kerr-McGee Chemical Worldwide LLC, and Senior Vice President of their

          parent company, Kerr-McGee Corporation, from 1997 through September 17, 2004, when I took

          voluntary retirement. Kerr-McGee Corporation is a worldwide energy and inorganic chemical

          company with its headquarters in Oklahoma City, Oklahoma, United States. Kerr-McGee

          Corporation's total annual sales, including its oil and gas operations, exceed $4 billion, and its

          total assets are more than $14 billion. Kerr-McGee's chemicals businesses have annual sales of

          approximately $1.3 billion.

                         As President of Kerr-McGee Chemical LLC and Kerr-McGee Chemical

          Worldwide LLC I was in charge of Kerr-McGee's worldwide chemical operations, including all

          of its titanium dioxide facilities.. I was the senior-most executive directly involved in Kerr-

          McGee's purchase from Kemira of the Savannah, Georgia titanium dioxide facilities that are at

          issue in this arbitration. I was also the senior-most executive directly involved in Kerr-McGee's

          purchase of three other titanium dioxide facilities--the Uerdingen, Germany and Antwerp,

          Belgium facilities purchased from Bayer in 1998, and the Botlek, Netherlands facility purchased

          from Kemira in 2000.

                         I am 55 years old. I received a Bachelor of Science degree in chemistry from the

          University of Central Oklahoma in 1972, and went to work for Kerr-McGee that year.

                        My first jobs at the company were in its agricultural -chemicals division, and

         included technical, sales and operating responsibilities. My work for that division culminated in

         my service as a plant manager. I then moved to the Company's industrial products division,

         holding a variety of positions in the Soda Products Division, and then the Electrolytic Products

         Group.

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                         In 1990, I became Vice President of Quality for Kerr-McGee's chemical

          businesses, and was promoted to the Business Manager of the Company's titanium dioxide

          pigments business in 1993. Titanium dioxide is the world's preferred opacifier and whitening

          agent for paint, coatings, plastics, paper and numerous other consumer products.

                         At the time I became Business Manager, Kerr-McGee's pigments businesses

          included two titanium dioxide production facilities, one a wholly owned facility in Hamilton,

          Mississippi,_ and the other the Tiwest joint venture in western Australia. Kerr-McGee also owned
          a synthetic rutile facility in Mobile, Alabama, which produced feedstocks for the production of
          titanium dioxide.
                         In 1996 I was promoted to Vice President of Sales and Marketing for the
          pigments division. In 1997 I was appointed to my positions as President of worldwide chemical

          operations and Senior Vice President of Kerr-McGee Corporation.
                         As President of worldwide chemical operations and Senior Vice President of

          Kerr-McGee Corporation I was in charge of all of Kerr-McGee's chemical businesses including
          the titanium dioxide division, which currently includes production facilities in Hamilton,
          Mississippi; Savannah, Georgia; Uerdingen, Germany, BotIek, Netherlands; and the Tiwest joint
          venture plant outside of Perth in western Australia. In .addition, as part of the Tiwest joint
          venture in Australia, Kerr-McGee has -a 50% interest in a 500,000 tonne per year mineral sands

          mine, and a 200,000 tonne per year synthetic rutile plant. The Mobile and Antwerp facilities

          previously mentioned have been closed_

                        Kerr-McGee is currently the third largest titanium dioxide producer in the world.

         Kerr-McGee supplies titanium dioxide to customers in over 100 countries. As President of Kerr-




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          McGee Chemical LLC and Kerr-McGee Chemical Worldwide LLC, I was also in charge . of

          Kerr-McGee's electrolytic and specialty chemicals businesses.

                 B.      The Two Kinds of Titanium Dioxide Plants.

                         The Savannah facility consists of two different plants, one that makes titanium

          dioxide using the sulfate process, and the other using the chloride process. Although the two

          plants shared some common facilities (such as parts of the water supply system), they use

          different inputs and processes, and most of the physical equipment is completely separate.

          Titanium dioxide produced by the chloride method has optical properties generally preferred by

          the market place. About 60 percent of titanium dioxide produced around the world is produced

          through the chloride method.

                         The Savannah chloride plant is significantly newer than the sulfate plant. The

          lion's share of the value of the Savannah facilities is on the chloride side; I will give more detail

          about that as I proceed.

                 C.      Contacts With Kemira Regarding The Possible Purchase Of The Savannah
                         Facility.

                         Kerr-McGee's first contact with Kemira regarding that company's possible

          interest in selling some or all of its titanium dioxide production facilities took place in March

          1997. At that time, Kemira owned three facilities, one in Pori, Finland, one in Botlek,

         Netherlands, and the Savannah, Georgia facility. Joe Flake, then the Manager of Analysis and

         Evaluation for Kerr-McGee's chemicals business, David Ezell, the pigments business director,

         and I met briefly in Atlanta with Risto Keranen, President of Kemira Pigments Oy, and Risto

         Ojala, President of Kemira's Savannah facility, to discuss whether Kemira might be interested in

         selling the Savannah facility. Soon after that meeting, Mr. Keranen called and indicated that

         Kemira Pigments was not interested in a sale at that time.



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                                     in June .1999, ne'spaper reports quoted Heimo Karinen, the chief

          executive of the paten c mpany, Kem           yj, to the effect that he foresaw changes in Kemira's

          corporate strategy as a s ' ding retirement and replacement by the head of

          Kemira's agricultural chemicals business. He stated that Kemira intended to focus on "core

          businesses."

                          Mr. Flake and I interpreted this public disclosure to suggest that Kemira might be

          shifting its strategy and that it might now be interested in selling some or all of its titanium

          dioxide facilities. I therefore arranged a meeting with the incoming President of Kemira Oyj,

          Tauno Pihlava, to coincide with my late September 1999 trip to our European facilities.

                          I had a preliminary meeting with Mr. Pihlava and Kemira Executive Vice

          President Essa Tirkkonen in Helsinki on or about September 27, 1999. Mr. Pihlava indicated

          that Kemira was indeed considering the possibility of selling some or all of its titanium dioxide

          facilities. He agreed to provide some financial information regarding those businesses, and we

          agreed to meet again after Kerr-McGee had had the chance to review this data.

                  D.      The Limitations Imposed By Kemira On The Due Diligence Process.

                          Prior to that second meeting, Kerr-McGee and Kemira entered into a "Secrecy

          Agreement" that was drafted by Kemira. (Exh. 465). The Agreement stated that the companies

          would be meeting to discuss, among other possibilities, the sale of production units or

          businesses. (Paragraph 1). The Agreement provided that "neither Party nor its advisers shall,

          regarding the transaction, contact or communicate with any officers, employees, consultants,

          advisers, customers or suppliers [of the other party] without the prior written consent of the other

          Party_" (Paragraph 3).

                          As I will be discussing in this Statement, Kemira continued to insist on these

          kinds of restriction on contacts with Kemira personnel throughout the transaction regarding the

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         Savannah facility, up to and including the April 6, 2000 closing. While such restrictions are not

         unusual in the business world, they do inhibit a purchaser's ability to develop its own insights

         into the business that is being purchased. These kinds of restrictions force the buyer to rely on

         the accuracy of the sellers' information and therefore require that strong contractual warranties,

         representations and indemnifications be included in the purchase agreement.
                         The second meeting between Kerr-McGee and Kernira took place in Finland on or

         about October 8, 1999. Attending for Kerr-McGee were Mr. Flake, Assistant General Counsel
         Roger Addison, and I. Attending for Kemira were Mr. Pihlava and Mr. Tirkkonen, and perhaps
         one or two others as well. At the October 8, 1999 meeting, Kemira indicated an interest in
         selling all three of its titanium dioxide plants.
                         In late October and into November 1999, Kemira and Kerr-McGee corresponded
         regarding the possible sales transaction, and I provided Kerr-McGee's preliminary valuation of
         the facilities in question. (Exh. 466). In that letter, I sought Kemira's agreement to a 60-day
         period during which Kerr-McGee would be the exclusive party bargaining with Kemira.
                         However, through its investment bankers, Salomon Smith Barney, Kemira in a

         letter to me dated November 15, 1999, declined Kerr-McGee's request. Solomon Smith Barney
         stated that Kemira instead had decided to engage in an "auction" process in which several
         unnamed potential buyers other than Kerr-McGee would participate. (Exh. 7). Kemira also

         indicated it had decided not to sell the Pori facility.
                         Solomon Smith Barney's subsequent November 22, 1999 letter to me stated that it

         would provide a draft purchase agreement on November 26, 1999, and that Kerr-McGee's

         binding offer, indicating the purchase price as well as any necessary changes to this draft

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         agreement, would be due by January 10, 2000 (a deadline later extended to January 26, 2000).

         (Exh. 460; Exh. 470).

                        In both the November 15, 1999 and November 22, 1999 letters, Salomon Smith

         Barney, acting on behalf of Kemira, set forth the restrictions that would be placed on Kerr-

         McGee's access to the Savannah Plant, plant personnel, and relevant documentation during the

         "due diligence" process leading up to the signing of a binding contract. In the November 15,
         1999 letter, Salomon Smith Barney instructed: "Please do not contact Kemira management

         directly under [any) circumstance for matters relating to this process." Salomon Smith Barney

         indicated that it would instead arrange for a Plant visit, and would place certain written materials
         into a "data room" that Kerr-McGee would be able to review.
                        Both then and later, Kemira justified these restrictions on the ground that Kerr-

         McGee could not be given any advantages over the other bidders: thus, Kerr-McGee's access to
         "senior management and data room would be on equal basis vis-a vis the other parties selected to

         proceed."
                        The limitations on Kerr-McGee's due diligence were further spelled out in
         Salomon Smith Barney's November 22, 1999 letter to me. The letter stated: "You are reminded
         not to contact (with regard to this transaction) (i) the Seller and its personnel; (ii) Salomon Smith

         Barney (other than individuals listed in the Contact Sheet attached herewith); or (iii) any other

         interested third parties (e.g. without limitation, suppliers or customer). All communications or

         enquiries relating to the transaction involving the Companies should be directed only to the

         Salomon Smith Barney employees listed in the Contact Sheet."

                        The November 22, 1999 letter also provided all due diligence would have to

         be completed prior to Kerr-McGee's submission of its offer: "Your obligation to consummate




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         the transaction must not be contingent upon obtaining financing, additional corporate approvals

         or additional due diligence. You must have completed all due diligence prior to the

         submission of your offer." (Paragraph vi). As noted above, this offer was due on January 26,

         2000.

                         This kind of investment banker-driven and controlled process for the sale of a

         facility or business is not unique to this transaction. In fact, Bayer had used a similar process in

         connection with its January 1998 sale to Kerr-McGee of the Uerdingen and Antwerp facilities.

         But when a seller imposes these kinds of heavy restrictions on the prospective buyer, it becomes

         essential that the buyer obtain strong contractual representations as a substitute for conducting its

         own extensive due diligence.

                        Kemira and Salomon Smith Barney enforced the restrictions they had imposed on

         Kerr-McGee. At one point I placed a telephone call to Kemira Oyj Chief Executive Officer

         Tauno Pihiava in an effort to discuss an aspect of the proposed transaction. We typically like to

         deal with the company principals in a deal, in that they are typically "subject matter experts";

         investment bankers typically are not. Unfortunately, he referred me back to the bankers.

                        Of course, Kerr-McGee did not intend to. rely entirely on Kemira's contractual

         representations. On November 17, 1999, I sent Solomon Smith Barney a seven-page list of

         materials Kerr-McGee wanted to see in the data room. (Exh. 467). Among the materials Kerr-

         McGee requested were the following:

                        --"Provide additional detail for all pending and threatened litigation, claims or

         assessments;

                        --Asbestos surveys (1994 through present);

                        --Detail of any OSHA (or other agency) citations, reports or notices of violation."




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                        These specific requests all relate to issues that have now given rise to several of

         Kerr-McGee's claims asserted against Kemira in this arbitration.. As I will describe further in

         this statement, the responses Kemira provided to these requests, and to Kerr-McGee's follow-up

         inquiries, were false and misleading.

                        Salomon Smith Barney scheduled for December 9-11, 1999, a review of the

         documents in the data room, and a one-day visit to the Savannah Plant on December 9, 1999.
         (Exh. 461). As reflected in the written schedule prepared by Salomon Smith Barney, the
         morning of the December 9, 1999 Savannah visit was limited to an introduction and safety video,
         followed by an oral management presentation and lunch. The actual Plant visit did not begin
         until 1:30 in the afternoon, and ended that same day.
                        Salomon Smith Barney also instructed that "participants will be permitted to
          interview Kemira personnel only if scheduled in advance." (Exh. 464)
                        The review of the data room, and Plant visit, proceeded as scheduled. I am aware

         that Kemira has suggested that Kerr-McGee did, or should have, discovered the multitude of
         Plant defects that underlie this arbitration during that visit. This is not true. The Savannah

         facility is very large, covering approximately 1,600 acres (650 hectares) on an approximately
         three-quarter-mile (1.2 kilometer) stretch of the southern bank of the Savannah River in
         Savannah, Georgia. The facility includes four large, primary operational buildings, and several

         dozen support buildings and structures. The size of the Plant, and limited time for a visit, made a

         detailed physical inspection impossible. I know this because I personally participated in the tour.

                        After Kerr-McGee took over the PIant, I was shown an internal memorandum by

         Kemira personnel that carefully outlines ; step by step, the route that Kernira personnel were

         instructed to take when escorting Kerr-McGee personnel on the tour. (Exh. 463).



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                                There is no way that anyone could gain more than a superficial impression of the

              facility during a brief, guided ,tour. This is especially true ich Kerr-

             McGee was concentrating its efforts during the Plant visit.

                               Kerr-McGee was particularly concerned                   entr onznental legacies it

             would be inheriting were it to purchase the Plant. The               utilizes large setjtfg ponds to

             handle waste material, which were nearly full and presented signtfzcantp fential environmental

             concerns. In addition, an undeveloped part of the Plant property contained a former municipal

              landfill, which had been the subject of extensive, government investigations. These and other

              environmental issues were among the focal points of attention during the visit.

                               We were also keenly interested during the Plant visit in assessing the technology

             being used by the Savannah Plant. As I have mentioned, there are two different plants at

              Savannah, the older sulfate plant and the newer chloride plant chloride plant. While we

             anticipated a profitable operation of the sulfate plant, the real "value" of the Savannah facility lay

             mostly in the chloride plant In fact, Kerr-McGee's internal financial analyses placed almost

             75% of the total value on the chloride plant. (Exhibit 325 line 56; Exhibit 326 line 48; Exhibit

              327, line 47).

                               While our plans were to operate the older sulfate    plant at approximately status
             quo output levels, our plans were to expand significantly the output of the newer chloride plant.

             The ability to ramp up production rates at the chloride plant quickly therefore lay at the heart of

             Kerr-McGee's purchase decision. Thus, the technological status quo of the chloride plant, and

             its potential, was a primary area of interest to Kerr-McGee during the tour.

                               The Savannah Plant had licensed its chloride technology from Kerr-McGee

             during the I960s. Kerr-McGee needed to learn what changes Kemira had made in that




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          technology in the ensuing decades, in order to understand how Kerr-McGee could go about

          increasing production capacity through the installation of additional and improved process

          equipment

                         I have a particularly negative reaction to Kemira's suggestion that Kerr-McGee's

          limited due diligence should have been directed at finding out whether the Savannah Plant was

          operating in a lawful manner. Any chemical plant operating in the United States, and especially
          one like Savannah that handles hazardous materials, is presumed to be operating within legal

          limits with respect to its operating permits, and to be in conformity with legal requirements such
         as the Process Safety Management ("PSM") rules established by the U.S. Occupational Safety

         and Health Administration; and the Risk Management Program ("RMP") for the site as required
         by the U.S. Environmental Protection Agency.
                         Prior to encountering the problems we later identified at the Savannah Plant, I

         would never have believed that the U.S. operations of a major international company could have
         been conducted with such a blatant disregard for U.S. law. It was certainly not our attitude
         during the December 9 Plant tour, or thereafter, that we needed to dedicate ourselves to making
         an independent determination that Kemira was in compliance with its basic and important legal
         and ethical obligations.

                        As a result, I was not aware then, or at any time prior to Closing, of the falsity of
         any of the representations that Kemira Iater made in the Stock Purchase Agreement.

                        Kerr-McGee's December 1999 review of materials in the data room generated
         two lists of follow up requests for documents and information. (Exh. 468, Exh. 469). Kerr-

         McGee pressed for additional information regarding any asbestos at the Plant. (Exh. 469, p. 3).

         Nothing in the responses provided by Kemira to these requests suggested the presence of friable



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         asbestos at the Plant, or hinted at the falsity of any of the representations that Kemira Iater made

         in the Stock Purchase Agreement regarding asbestos and other matters.

                         During the negotiations with Kemira, Kerr-McGee adjusted its valuation of the

         Savannah Plant to reflect its continual updating of its forecasts of the profitability of the Plant

         under its planned expansion of the chloride plant. These changes were based on continuing

         refinements of the estimated capital necessary to increase capacity in line with our plan. While

         we incorporated some expenditures       in our planning for plant maintenance, we never received
         information that caused us to anticipate the tens of millions of dollars of expenditure that are now

         reflected in Kerr-McGee's claims in this case.

                 E.      The Negotiations Of Kemira's Representations And Warranties.

                         While Kerr-McGee. was preparing for the Plant tour and its review of the

         materials in the data room, it was also reviewing the draft of the stock purchase agreement that

         Kemira had provided on December 2, 1999. (Exh. 474, transmitting Exh. 10). Kerr-McGee was

          in the process of preparing its counter proposal.

                         Kerr-McGee General Counsel Greg Pilcher and Assistant General Counsel Roger

         Addison were involved in the details of the negotiation of the Stock Purchase Agreement, and

         will testify in greater detail as to those matters. From my perspective as a businessman, what

         were essential was that the contract contain appropriate representations and warranties on the

          following subjects:

                         1. Lawful and. permitted operations. The agreement bad to include a

         representation by Kemira that the Plant had, and was in compliance with, all necessary permits,

         and that the Plant and its operations were in compliance with all laws. It would make no sense

         for Kerr-McGee to step into a situation in which it was operating an unlawful plant on day one.




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                         2. Maintenance of. the Plant in good physical condition. For obvious reasons,

          we wanted Kemira to represent that the Plant was in a well-maintained, operable state and

          without material defect. Kemira would also have to commit to continue to perform maintenance

          to the Plant to ensure sound, operable conditions between the date the contract was signed and

          the date of closing, when Kerr-McGee took physical possession of the Plant.

                         3. No friable asbestos. For many decades, asbestos was widely used in insulation

          in plants, offices and other buildings. But asbestos that is friable (i.e., that is easily broken into

         small pieces or reduced to powder) has since been proven to be a potentially deadly carcinogen.

         Asbestos claims by those injured, or allegedly injured, as a result of exposure to asbestos in the

         workplace have led to tens of thousands of personal injury lawsuits in the United States.

         Companies have paid billions of dollars of court judgments and settlements, and a large number

         have been driven into bankruptcy.

                          Anyone involved in the chemical business in the United States is acutely aware

         of the risks involving the disposal of hazardous materials, especially asbestos. Plants that had

         friable asbestos have undertaken substantial asbestos abatement programs in remedy this issue.

         Kerr-McGee has done so at its own plants. Because of the state of asbestos litigation in the

         United States, Kerr-McGee was and is acutely aware of the potential liability represented by

         friable asbestos. Kerr-McGee has walked away from potential transactions over the years

         because of liability concerns over hazardous materials and would not have knowingly taken on

         the enormous burden of potential asbestos claims and litigation.

                         Given this history, we asked that the stock purchase agreement include a

         representation that the Plant did not contain any friable asbestos.




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                         4. No hazardous materials exposure. While asbestos has been the most

         notorious industrial workplace hazardous material, others, such as lead, have also led to

         significant litigation and claims payouts. It was therefore critical to me that the purchase

         agreement include a representation that no hazardous materials had been disposed at or by the

         Plant in a manner that could give rise to a future liability. Simply stated, Kerr-McGee was not

         going to take on the kind of exposure that these substances represent.

                         5. Clear and manageable exposure to other environmental liabilities. The

         agreement had to include a full disclosure of all other environmental liabilities, and

         indemnification for any undisclosed items. Kerr-McGee knew that the Savannah Plant faced

         environmental issues, such as those surrounding its settling ponds. Ken-McGee needed to be

         sure that Kemira had fully disclosed all such matters, so that Kerr-McGee could assess its

         potential financial liabilities. Of course, all of these representations had to be backed up by

         Kemira's written promise to indemnify Kerr-McGee for any expense Kerr-McGee incurred if

         any representation proved not to be true.

                        These environmental matters were sufficiently significant to cause Kerr-McGee

         personnel to meet with the relevant environmental state enforcement officials prior to signing the

         contract. (Exh. 473). Kerr-McGee did so in order to gain further insights into its potential

         liabilities and clean up obligations: This meeting did not reveal the problems with asbestos,

         vanadium or dioxins that have given rise to the environmental claims that Kerr-McGee has

         asserted in this arbitration (along with many non-environmental claims).

                        Through the counterproposal that Kerr-McGee submitted to Kemira on January

         26, 2000, and the negotiations that followed in London, Kerr-McGee in fact did secure in the




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         final Stock Purchase Agreement the representations it needed with respect to each of the items I

         have discussed above:

                         1. Lawful and permitted operations. The initial draft stock purchase agreement

         drafted by Kemira contained a representation that the Savannah Plant was in material compliance

         with applicable laws "to the knowledge of Seller." (Exh. I0, Section 3.13). I specifically recall

         thinking that these were "weasel words," and I personally told Kemira and its lawyers that this

         representation would not be enough. I explained that either the Savannah Plant was in

         compliance with all applicable laws, or it was not, and that Kemira could not rely upon lack of

         knowledge as a defense to a claim for indemnification if the Plant were not in compliance with

         all applicable laws.

                        Kemira ultimately acceded to my position, and provided a blanket representation

         that the Plant was in compliance with all laws. (Exh. 9, Section 3.13(a)). At my insistence,

         Kemira also agreed to add a specific representation that it possessed, and was in compliance

         with, all necessary permits. (Exh. 9, Section 3.13(b)).

                        2. Maintenance of the Plant in good physical condition. Kemira in its own

         draft agreement included a representation that the improvements on the real property were free

         from any material structural defects. (Exh. 10, Section 3.8(a)(iv). At Kerr-McGee's behest, this

         representation was expanded, to cover all of the plants, buildings,. structures, and improvements

         on the property, as we were prevented from a detailed examination of the plant premise. (Exh. 9,

         Section 3.8(a)(iv)(D)). At Kerr-McGee's insistence, Kemira also agreed to maintain the Plant in

         good condition during the period between the date the contract was signed and the date of

         closing. (Exh. 9, Section 5.1(a), (1)). With this language, Kerr-McGee would be assured that as




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          of the time it took control of the Plant, there would be no major or substantial physical defects in

          the structure of the Plant, including any of its buildings and equipment.

                         Deteriorated and unsafe structures and platforms, leaking equipment, structurally

         unsound pipe racks, and corroded roofing would be material structural defects under any

         reasonable definition of the term

                         3. No friable asbestos. Our concerns over asbestos were fully satisfied by the

         written report provided by Kemira's environmental consultants, Dames and Moore. That report
         was explicitly incorporated into the agreement by reference as one of Kemira's representations.
          (Exh. 9, Schedule 3.18, item 1). The report stated that Dames and Moore had been informed by
         Kemira that all insulation on piping and in the support building site was asbestos free, except for

         asbestos contained in transite, a concrete-like material used for walls or flooring.
                         Asbestos in transite is not friable and therefore is not in a physical form that

         presents a risk of inhalation, except in the event of building demolition. The statements
         contained in the Dames and Moore report therefore meant to me that the Plant was free of friable

         asbestos.
                         I am aware that Kemira claims that the presence of asbestos `would have been
         apparent" to Kerr-McGee. But the fact that the Plant contained asbestos was not "apparent" to
         Kemira's own environmental. experts, Dames & Moore, which reported that insulation "was

         asbestos free" (Exh. 12). Visual inspection cannot distinguish asbestos-containing insulation

         from non-asbestos-containing insulation.

                         Kemira also mentions that Kerr-McGee's environmental consultant, Arthur D.

         Little, Inc., urged Kerr-McGee to conduct an asbestos survey. But the Arthur D. Little report

         explicitly relied on and quoted the "asbestos free" Ianguage of the Dames & Moore report. (Exh.



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          361 at 3-16.) The Arthur D. Little report in fact stated that an asbestos survey would be needed

          to quantify with precision the cost of asbestos abatement in the event of "construction,

          demolition, or renovation."      (Exh. 361 at E-5. (emphasis added).) Arthur D. Little was thus

          focusing on the potential impact of asbestos-containing transite in the event of major building

          renovation or demolition. This was the asbestos that Kemira had properly disclosed through the

          Dames and Moore report, not the other, dangerous friable asbestos whose presence was

          concealed from Kerr-McGee.
                          4. No hazardous materials exposure.                 Kerr-McGee required a greatly

          strengthened representation from Kemira regarding hazardous materials. Kemira's initial draft
          had merely provided that Kemira was not subject to any pending -claim, investigation or
          proceeding relating to hazardous materials. (Exh. 10, Section 3.18(b)). This provision was

          extensively re-written, to include broad 'representations that no hazardous materials existed at the
          Plant, or had been generated or disposed of at or from the Plant, that could reasonably be
          .expected to give rise to a material liability. (Exh. 9, Sec. 3.18(a)(iv), (v)).

                          5. Clear and manageable exposure to other environmental liabilities.
                          Kemira's initial draft agreement only contained a representation that the Plant was
          "currently" in material compliance with all environmental laws.            (Exh. 10,   Section 3.18(a)).
          Kerr-McGee insisted upon, and obtained, a representation that Kemira was currently, and at all

          relevant times since July I. 1985 had been, in material compliance with all environmental laws.

                          These changes were secured through extensive negotiations, which were

          conducted virtually non-stop for seven days. in London (followed by the separate negotiations

          with respect to the Botlek plant). The negotiations were extremely hard fought. But in the end,




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          Kerr-McGee secured the representations and indemnifications it needed in light of the limited

          due diligence that Kemira had afforded.

                           To drive home the limited nature of the due diligence that had taken place, Kerr-

          McGee insisted that Kemira's proposed contractual language--stating that Kerr-McGee had been

          given "access to the personnel, properties, premises and records of' Kemira (Exh_ 10, Section

          5.12)--was changed to state, accurately, that Kerr-McGee had only been given "limited access to

          the personnel, properties, premises and records" of Kemira. (Exh. 9, 3.8(a)(iv)).

                          No contract negotiations took place regarding what has turned out to be one of

          the biggest sources of Kerr-McGee's claims against Kemira—the OSHA Complaint. As I have

          already mentioned, Kerr-McGee had specifically insisted that documentation regarding any

          OSHA report, citation or notice of violation be placed in the data room.

                         The data room materials had revealed that a large number of hazardous conditions

          at the Savannah Plant had been identified in OSHA Complaint Number 20080410. Kemira's

          initial response to the OSHA Complaint, including hundreds of pages of attachments describing

          numerous essential equipment repairs and replacements, was also included in the data room

          materials. However, in the draft Schedules to the Stock Purchase Agreement that Kemira

          provided to Kerr-McGee on January 19, 2000, Kemira represented as follows: "OSHA

          Complaint Number 200894210 regarding potential violations. Process instituted to fully address

          hazardous conditions with final abatement date of January 31, 2000." (Exh_ 34, p. I I of 43).

                         I understood this language in the only way possible--as Kemira's representation

          that the hazardous conditions identified in the OSHA complaint would be fully eliminated by

          January 31, 2000. From my perspective, that meant that the majority of the issues in the

         complaint had already been addressed and abated, and the rest soon would be. This meant that



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         we could forget about the OSHA issues and move on to other things. The language Kemira had

         drafted therefore was included in the final Stock Purchase Agreement without change. (Exh. 9,

         Schedule 3.12).

                           Because Kemira had promised in the draft Schedules that it was almost finished

         with the final abatement of the hazards identified in the OSHA Complaint, I saw no reason to

         have anyone from Kerr-McGee meet with OSHA prior to the Closing. Contrary to what Kemira

         has said in some of its papers. I am not aware of any Kerr-McGee employees or representative

         who met or talked with OSHA regarding the Savannah facility prior to the April 6, 2000 closing.

                        I was not aware that, both before and after the Stock Purchase Agreement was

         signed, Kemira was engaged in correspondence with OSHA that clearly indicated that the

         hazardous conditions were not close to being fully abated and that Kemira was requesting from

         OSHA additional time merely to come up with a schedule for final abatement.

                F.      The Period Between The Signing Of The Stock Purchase Agreement And
                        The Closing.

                        Kemira has suggested that Kerr-McGee did, or should have, learned of the falsity

         of its representations during the seven and a half week period between the signing of the Stock

         Purchase Agreement on February 13, 2000 and the closing of the transaction on April 6, 2000.

         But as I have already discussed, Kemira had made it an explicit condition of the transaction that

         all due diligence be completed before Kerr-McGee made its purchase offer on January 26, 20

         And in fact, Kerr-McGee did not see the need to conduct further due diligence after th

         Agreement was signed on February 13, 2000, relying instead on the representations made by

         Kemira.

                        Kerr-McGee was fully occupied with other things during this short time period.

         Kerr-McGee witness Joe Flake was in charge of Kerr-McGee's pre-closing efforts and will


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          discuss them in detail in his testimony. But as should be clear to anyone, seven and a half weeks

          is barely enough time to perform the transitional steps essential to taking possession of a massive

          facility like the Savannah Plant.

                         Among the dozens of tasks faced by Kerr-McGee, the company had to decide

          which of its own employees to bring to Savannah, and in what capacities;. decide which Kemira

          employees to retain; decide what kind of severance packages to offer those Kemira employees

         whom Kerr-McGee would not be retaining; review all major contracts and arrange for the

          transition from Kemira to Kerr-McGee; develop ore supply strategies; and work out a game plan

          for addressing environmental issues.

                         Kerr-McGee's bands were especially full during this seven and a half week period

         because it was also busy completing the negotiation of the purchase agreement with Kemira for

         the Botlek plant, which was also signed on February 13, 2000, and preparing for its takeover of

         that plant.

                         As I have already noted, Kemira had insisted that Kerr-McGee not use this post

         contract period to conduct further due diligence. Kerr-McGee had no reason to believe Kemira

         had engaged in massive misrepresentations that it needed to try to uncover.

                 G.      Kerr-McGee's Plans For The Savannah Plant.

                         Kemira has claimed that the numerous physical and operational defects at the

         Plant do not matter because Kerr-McGee supposedly intended to tear down the Plant anyway and

         build a new plant. That is simply not true. Indeed, the very idea is absurd. Why would Kerr-

         McGee spend $282 million for a plant it was going to tear down? If Kerr-McGee bad wanted to

         build a new plant, it would have expended a modest sum to buy open land in some rural location

         and started from scratch.




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                         Kerr-McGee did plan to invest significant amounts of money at the chloride Plant

         in order to put into place technological process upgrades and, in some cases, more advanced

         processing equipment. Kerr-McGee's decision to purchase the Plant and its associated market

         share, and the amount it paid, were b            upo detailed financial analyses of the higher

         production, and cost savings, tha could be achi          through these chloride Plant upgrades.

         These analyses were, called they Project Apollo" I       ials, after the code name used by Kerr-

         McGee for the proposed Savann          a acn,,;4iti

                         The technological upgrades were intended to build upon the existing
         infrastructure, which Kemira had (falsely) represented to be in good working and physical
         condition. Kerr-McGee's expenditures for technological upgrades have nothing to do with Kerr-

         McGee's independent and wholly unexpected need to spend tens of millions of dollars to fix the
         Plant conditions that were inconsistent with the representations Kemira bad made in the Stock

         Purchase Agreement.

                 H.      Kemira's Fraud.
                         The Savannah PIant turned out to be much different than Kemira's
         representations. Other witnesses, including Plant Manager Dick Dean, and Engineering Manager

         David Ferraro, will testify in detail regarding the many ways in which the Plant fell short. The

         list is nearly endless--numerous hazards identified in the OSHA complaint had not been "fully,"
         or even partially, abated. OSHA inspectors found that the Plant was out of compliance with

         more than a dozen bedrock PSM requirements. Many legally required facilities were non-

         functioning: the waning system was inoperable, the drinking water was contaminated by process

         water; and the fire water system did not work. The Plant suffered from numerous material

         structural defects.



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                          I disagree completely with Kemira's notion that the age of the Savannah Plant

         provides an excuse for its condition. None of the laws and regulations applicable to a titanium

         dioxide plant varies depending upon its age, and Kemira represented that the Plant was in full

         compliance with those laws and regulations. The age of the Plant also has nothing to do with the

          specific representations made by Kemira regarding the final- abatement of the OSHA Complaint,

          or the absence of non-transite asbestos. Nor does a well-maintained plant       sutler from material
          structural defects.

                          Finally, Kemira exaggerates the relative age of the Savannah Plant. The chloride

         process side of the Plant was built relatively recently, in 1970, and the'sulfate process side of the

         Plant is of the same approximate vintage as many other such titanium dioxide plants around the

         world, including, Millennium's Thann, France, plant, built in 1923; Kronos's Leverkusen,

         Germany, plant, rebuilt in 1950 after World War II; Ishihara's Yokkaichi, Japan, plant, built in

          1954; Kerr-McGee's Uerdingen, Germany, plant, built (by Bayer) in 1957; Millennium's

         LeHavre, France, plant, also built in 1957; and Kemira's Pori, Finland, plant, built in 1961.

                          Upon taking possession, Kerr-McGee was forced to make immediate

         infrastructure improvements, and to devote enormous efforts and expenditures to get the Plant

         and its personnel up to minimum standards from a safety and operational perspective. I

         understand that the quantification of Kerr-McGee's damages will be addressed in a later phase of

         the arbitration, so I will not describe in detail here all of the losses Kerr-McGee has suffered.

                          But I will point out that if the Plant's true conditions had been known, Kerr-

         McGee would have recognized that that the Plant posed major safety hazards that would have to

         be addressed in the first years following acquisition. Kerr-McGee would also have known that it

         would inherit a work force that lacked adequate training, including training in compliance with




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          regulatory requirements for programs such as PSM and RMP. Kerr-McGee would have

          recognized that it would have to spend additional time, money and effort for several years to

          correct the numerous material structural defects and unlawful conditions found throughout the

          Plant.
                           If these facts had been known, Kerr-McGee would have realized that the Plant

          would not be in the position upon acquisition to achieve the rapid chloride plant production

          increases that underlay the Project Apollo financial modeling. Kerr-McGee would have known
          that it would take a number of years and millions of dollars before the chloride plant would
          achieve significant production increases. Pmject Apollo modeling would have reflected those

          years of delay, and would have calculated a much lower purchase price for the Savannah facility.
          Kerr-McGee ended up overpaying for the Savannah facility by tens of millions of dollars based

          on the false   representations made by Kemira
                           The falsity of Kemira's representations has definitely had a material adverse
          effect on the assets, operating results and businesses of the Kerr-McGee subsidiary that owns the
          Savannah Plant. (That subsidiary is named Kerr-McGee Pigments (Savannah), Inc., and was
          formerly known as Kemira Pigments, Inc.) This is true both in general and with respect to the
          specific representation that the hazards identified in the OSHA complaint had been fully abated.

          The falsity of that specific representation has not only caused Kerr-McGee to incur more than $4
          million of repair costs, but has greatly impeded Kerr-McGee's plans to make important Plant

          improvement in a timely fashion.
                           While it was clear early on that the Plant was in violation of numerous contractual

          representations, I had no reason to believe that Kerr-McGee and Kemira would not be able to

          work out their differences. This has always been Kerr-McGee's experience with respect to other



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          transactions. Kerr-McGee did not have to initiate arbitrations or lawsuits with respect to any of

          the other acquisitions with which I have been involved in my thirty plus years with the company.

          We did not do so with respect to Uerdingen, or Antwerp, or Botlek. With minor exceptions,

          those plants lived up to the representations that had been made by the sellers.

                         In September 2001, Kerr-McGee put Kemira on notice that the Plant did not meet

          the representations Kemira had made. There then ensued a rather drawn out process during

          which the parties exchanged correspondence, jointly interviewed a few key witnesses, and Kerr-

          McGee responded to Kemira's requests for additional documentation.

                         It was not until late in the game that I became convinced that Kemira had engaged

          in actual fraud. In the first week of March 2003, Kerr-McGee and Kemira arranged to have

          high-level executives meet in London to try to see whether they could settle the disputes that had

          arisen as a result of the condition of the Plant. Kerr-McGee's general counsel Greg Pilcher and I

         met with Kemira's general counsel Juhani Karl and Kemira Pigments Oy President Risto

         Keranen.

                         During the meeting I referred to the representations Kemira had made that had

         proven false. Greg Pilcher specifically referenced by way of example Kemira's representation

          that the Plant was asbestos free except for transite. I said that I thought Kemira had misled Kerr-

         McGee on these and other matters.

                         Mr. Keranen's response was: "You shouldn't have believed what we said."

                         Needless to say, I was dumbfounded. All major business transactions are

         conducted through written representations. A selling company will always know more about its

         own business than the counterparty with which it is dealing can find out on its own. Without

         contractual representations, and the right to rely on them, business transactions would be



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         severely inhibited Kerr-McGee had a right to rely on the representations Kemira had made to it,

         just like Kemira had the right to rely on Kerr-McGee's representations.

                        Given this attitude by Kemira, I directed that a foil-blown investigation be

         conducted to determine whether a basis for asserting fraud existed. An exhaustive review of

         Kemira internal documents and witness interviews then took place.

                        I was told that, based on these inquiries, a valid fraud claim did exist. As soon as

         that answer was provided, I gave the go ahead to bring the claim.




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                  The contents of this statement are true to the best of my information and belief.




                                                                        W.P. "Pete" Woodward




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